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         EXHIBIT R
Case 2:18-cv-11450-LJM-MKM ECF No. 10-19 filed 06/01/18   PageID.668   Page 2 of 59




                            In the Matter Of:


         HAYSE vs CITY OF MELVINDALE, ET AL.
       LIEUTENANT MICHAEL L.· WELCH, JUNIOR
                               March 28, 2018
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 ·2   · · · · · ·EASTERN DISTRICT OF MICHIGAN                                ·2
 ·3   · · · · · · · · SOUTHERN DIVISION
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 ·4
 ·5   CHAD HAYSE,                                                            ·4
 · · ·· · ·Plaintiff,                                                        ·5   LIEUTENANT MICHAEL L. WELCH, JUNIOR
 ·6   -vs-· · · · · · · · · · · · · · ·Case No.: 17-cv-13294
                                                                             ·6
 · · ·CITY OF MELVINDALE, a political· Hon. Linda V. Parker
                                                                             ·7   · · ·Examination by Ms. Gordon· · · · · · · · · · 4
 ·7   Subdivision of the State;· · · · Mag. Elizabeth A. Stafford
 · · ·MELVINDALE CITY COUNCIL, a                                             ·8   · · ·Examination by Ms. Balian· · · · · · · · · 149
 ·8   legislative body of the City of                                        ·9   · · ·Re-Examination by Ms. Marzotto Taylor· · · 205
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                                                                             10   · · ·Re-Examination by Ms. Balian· · · · · · · ·217
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 10   LOUVET, and STEVEN DENSMORE,                                           12
 · · ·individuals, sued in their
                                                                             13   EXHIBITS (Attached):· · · · · · · · · · · · ·IDENTIFIED
 11   official and personal capacities,
                                                                             14
 · · ·· · ·Defendants.
 12   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~/                                      15   · · ·Exhibit 1· · ·Letter from City of· · · · · 119
 13   DEPONENT:· · ·LIEUTENANT MICHAEL L. WELCH, JUNIOR                      16   · · · · · · · · · ·Melvindale Public Safety
 14   DATE:· · · · ·Wednesday, March 28, 2018
                                                                             17   · · · · · · · · · ·Commission dated 1-11-18
 15   TIME:· · · · ·10:04 a.m.
                                                                             18   · · · · · · · · · ·with attachment
 16   LOCATION:· · ·Deborah Gordon Law
 17   · · · · · · · 33 Bloomfield Hills Parkway, Suite 220                   19   · · ·Exhibit 2· · ·Letter from McDaniel dated· ·159
 18   · · · · · · · Bloomfield Hills, Michigan                               20   · · · · · · · · · ·9-21-16
 19
                                                                             21
 20   REPORTER:· · ·John J. Slatin, RPR, CSR-5180
 21   · · · · · · · Certified Shorthand Reporter                             22
 22                                                                          23
 23   · · · · · (Appearances listed on page 2)
                                                                             24
 24
                                                                             25
 25

                                                                    Page 2                                                                   Page 4
 ·1   APPEARANCES:
                                                                             ·1   · · · · · · · · · · · · · · · · · Wednesday, March 28, 2018
 ·2
                                                                             ·2   · · · · · · · · · · · · · · · · · Bloomfield Hills, Michigan
 ·3   · · ·DEBORAH L. GORDON (P27058)
                                                                             ·3   · · · · · · · · · · · · · · · · · 10:04 a.m.
 ·4   · · ·ELIZABETH MARZOTTO TAYLOR (P82061)
                                                                             ·4   · · · · · · · · · · · ·*· ·*· ·*
 ·5   · · ·Deborah Gordon Law
                                                                             ·5   · · · · · LIEUTENANT MICHAEL L. WELCH, JUNIOR,
 ·6   · · ·33 Bloomfield Hills Parkway, Suite 220
                                                                             ·6   · · ·having been first duly sworn, was examined and testified
 ·7   · · ·Bloomfield Hills, Michigan· 48304
                                                                             ·7   · · ·as follows:
 ·8   · · ·(248) 258-2500
                                                                             ·8   · · · · · · · · · · · EXAMINATION
 ·9   · · ·dgordon@deborahgordonlaw.com
                                                                             ·9   BY MS. GORDON:
 10   · · ·emarzottotaylor@deborahgordonlaw.com
                                                                             10   Q.· ·I'll call you "Lieutenant" for the record.
 11   · · · · · Appearing on behalf of the Plaintiff.
                                                                             11   A.· ·Okay.
 12
                                                                             12   Q.· ·Hi, Lieutenant.· I'm Deborah Gordon.· We met a few
 13   · · ·MELINDA BALIAN (P55744)
                                                                             13   · · ·minutes ago this morning.· As you know, I represent Chad
 14   · · ·Foley & Mansfield, PLLP
                                                                             14   · · ·Hayse.
 15   · · ·130 E. Nine Mile Road
                                                                             15   · · · · · If you don't understand my questions, if you want
 16   · · ·Ferndale, Michigan· 48220
                                                                             16   · · ·me to repeat or rephrase, just let me know; okay?
 17   · · ·(248) 721-8183
                                                                             17   A.· ·Yes.
 18   · · ·mbalian@foleymansfield.com
                                                                             18   Q.· ·If you need something -- you know, a question restated,
 19   · · · · · Appearing on behalf of the Defendants.
                                                                             19   · · ·just want to be sure that you understand what you're
 20
                                                                             20   · · ·being asked and you have a chance to give your answer;
 21   · · · · · ALSO PRESENT:· Chad Hayse
                                                                             21   · · ·okay?
 22
                                                                             22   A.· ·Okay.· Yes.
 23
                                                                             23   Q.· ·All right.· So, what is your current status
 24
                                                                             24   · · ·employment-wise today?
 25
                                                                             25   A.· ·Today, I'm considered an inactive employee.· I was

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 ·1   ··    ·employed as a lieutenant with the Melvindale Police        ·1   ··    ·I think, for most of 2010.
 ·2   ··    ·Department.· We have the option to use accrued sick and    ·2   Q.·   ·Okay.· And what's the next thing that happened with
 ·3   ··    ·vacation time towards our retirement.· I took that         ·3   ··    ·regard to your duties?
 ·4   ··    ·option earlier in the year.· January 2nd was the last      ·4   A.·   ·I was back on road patrol.
 ·5   ··    ·day that I was on the schedule, and they just pay me       ·5   Q.·   ·Okay.
 ·6   ··    ·every two weeks of my accrued time.                        ·6   A.·   ·And then a spot opened back up, I believe, end of 2011,
 ·7   Q.·   ·Okay.· And then will there come a time when you're         ·7   ··    ·and I returned to the detective bureau.
 ·8   ··    ·retired?                                                   ·8   Q.·   ·Who were you reporting to at that time?· Who was your
 ·9   A.·   ·My retirement date is August 30th of this year.            ·9   ··    ·boss?
 10   Q.·   ·Okay.· So, August 30, '18?                                 10   A.·   ·Chad Hayse.
 11   A.·   ·Yes.                                                       11   Q.·   ·Okay.· And how long then were you in the detective
 12   Q.·   ·And then you'll begin drawing your retirement benefits?    12   ··    ·bureau at that point?
 13   A.·   ·Yes.                                                       13   A.·   ·Got promoted to sergeant -- I believe it was in 2012.
 14   Q.·   ·Do you intend to seek other employment at some point, or   14   Q.·   ·Okay.
 15   ··    ·you're going to be retired from work?                      15   A.·   ·And then I went back to the road patrol.
 16   A.·   ·I don't have any plans as of yet.                          16   Q.·   ·As a sergeant?
 17   Q.·   ·Okay.· When did you become employed by the City of         17   A.·   ·Yes.
 18   ··    ·Melvindale?                                                18   Q.·   ·Were you on the road as a sergeant?
 19   A.·   ·June of 1998.                                              19   A.·   ·Part of my duties was the road and some of them were the
 20   Q.·   ·And when did you first become a police officer?            20   ··    ·desk, depending on the staffing that day.
 21   A.·   ·I started with the Wayne County Sheriff's Department in    21   Q.·   ·Okay.· And how long were you in that position as
 22   ··    ·April of 1992.                                             22   ··    ·sergeant?
 23   Q.·   ·Okay.· Were you right out of the academy at that time?     23   A.·   ·I think I was a sergeant for two, two and a half years
 24   A.·   ·Well, I hired in originally as a jailer, and then I        24   ··    ·maybe.
 25   ··    ·worked in the jails for about three years, and then the    25   Q.·   ·Then what happened?
                                                               Page 6                                                                   Page 8
 ·1   ··    ·sheriff's department put me through their academy.         ·1   A.·   ·I was promoted to lieutenant.
 ·2   Q.·   ·Okay.· And did you actually -- were you a deputy for the   ·2   Q.·   ·What was the process to become promoted to lieutenant?
 ·3   ··    ·Wayne County Sheriff's Department?                         ·3   ··    · · · Were you recommended?· Was --
 ·4   A.·   ·Yes.                                                       ·4   A.·   ·Well, no.· What -- how it worked out is, normally
 ·5   Q.·   ·Okay.· And then when did you move to Melvindale?· '98?     ·5   ··    ·there's the testing procedure.· But if there's no one
 ·6   A.·   ·To reside there or work there?                             ·6   ··    ·eligible to be promoted at that time, depending on where
 ·7   Q.·   ·To work there.                                             ·7   ··    ·you were at, they would automatically promote that
 ·8   A.·   ·In June of '98 is when I started with Melvindale.          ·8   ··    ·person.
 ·9   Q.·   ·Okay.· And what was your rank when you joined the force?   ·9   ··    · · · So, because of contractual circumstances, I was
 10   A.·   ·Patrolman.                                                 10   ··    ·promoted to lieutenant at that time.
 11   Q.·   ·And who was the chief at that time?                        11   Q.·   ·Okay.· And that was in 2012?
 12   A.·   ·John Difatta.                                              12   ··    · · · I'm sorry.· I missed the year.
 13   Q.·   ·So, what was the next change in rank that you had?         13   ··    · · · You were promoted to sergeant in 2012, back to road
 14   A.·   ·2006, I obtained the position in the detective bureau.     14   ··    ·patrol.
 15   Q.·   ·What title goes with that?· Detective?                     15   ··    · · · So, what was the year for lieutenant?
 16   A.·   ·Detective, yes.                                            16   A.·   ·Had to have been closer to '14, though.
 17   Q.·   ·Okay.· And prior to that, were you a patrol officer?       17   ··    · · · I can't think of it off the top of my head.
 18   A.·   ·Yes.                                                       18   Q.·   ·Okay.· Fair enough.
 19   Q.·   ·Okay.· And who was chief at that time?                     19   ··    · · · And were there other lieutenants in the department
 20   A.·   ·Rick Cadez.                                                20   ··    ·at that time?
 21   Q.·   ·Spell that last name, if you would.                        21   A.·   ·Yes.
 22   A.·   ·C-a-d-e-z.                                                 22   Q.·   ·And who else was a lieutenant at that time?
 23   Q.·   ·Okay.· And how long were you in the detective bureau?      23   A.·   ·At the time that I was promoted?
 24   A.·   ·2006 through, I believe, the end of 2009.· They had to     24   Q.·   ·Yes.
 25   ··    ·shuffle some people around, so I went back on the road,    25   A.·   ·John Bajorek, Don Meador -- that replaced Bill Clemens.

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                                                               Page 9                                                                  Page 11
 ·1   ··    · · · So, I'm trying to think who the other person was.     ·1   Q.·   ·Okay.· And you were overseeing officers who were doing
 ·2   ··    ·It's escaping me at the moment.· If you want to let me     ·2   ··    ·the day-to-day work on putting together those
 ·3   ··    ·think about it.                                            ·3   ··    ·investigations?
 ·4   Q.·   ·Okay.· Maybe you'll think about it later.· Maybe it will   ·4   A.·   ·That's correct.
 ·5   ··    ·come to mind.                                              ·5   Q.·   ·Okay.· And then would you assist in making decisions as
 ·6   A.·   ·Okay.                                                      ·6   ··    ·to whether or not the case should be moved to the
 ·7   Q.·   ·And you --                                                 ·7   ··    ·prosecutor?
 ·8   A.·   ·Oh, I'm sorry.                                             ·8   A.·   ·If the detectives needed any insight on the case or
 ·9   Q.·   ·Go ahead.                                                  ·9   ··    ·requested anything from me, I would get that to them,
 10   A.·   ·John Allen.                                                10   ··    ·yes.
 11   Q.·   ·Oh, yeah.· Okay.                                           11   Q.·   ·Okay.· And during that time period, did the lieutenants
 12   A.·   ·Right.                                                     12   ··    ·meet with the chief on any kind of a regular basis?
 13   Q.·   ·So, you held the rank of lieutenant until the time you     13   A.·   ·Occasionally, we would have staff meetings with the
 14   ··    ·went out on leave, as you've already described?            14   ··    ·lieutenants, yes.
 15   A.·   ·Yes.                                                       15   Q.·   ·Okay.· And how did you get along with the other
 16   Q.·   ·Okay.· What's your educational background?                 16   ··    ·lieutenants at that time?
 17   A.·   ·I've got -- I graduated from Huron High School in New      17   A.·   ·Good.
 18   ··    ·Boston, and I achieved a two-year degree from Henry Ford   18   Q.·   ·Okay.· And then at another point in time, you were a
 19   ··    ·Community College in criminal justice.                     19   ··    ·lieutenant with regard to road patrol?
 20   Q.·   ·Okay.· And you're married?                                 20   A.·   ·Yes.
 21   A.·   ·Yes.                                                       21   Q.·   ·So, tell me your duties there.
 22   Q.·   ·How long have you been married?                            22   A.·   ·The road patrol lieutenant worked the front desk.· They
 23   A.·   ·Fifteen years.                                             23   ··    ·handled answering the phones.· They dispatched cars.
 24   Q.·   ·Children?                                                  24   ··    ·They monitored the jail.· And they approved reports.
 25   A.·   ·Two.                                                       25   ··    ·They did the scheduling, filled any overtime that was --
                                                              Page 10                                                                  Page 12
 ·1   Q.·   ·Okay.· What were the duties when you were a lieutenant?    ·1   ··    ·needed to be filled.
 ·2   ··    · · · What were your duties, you and the other              ·2   Q.·   ·Okay.
 ·3   ··    ·individuals who held that rank?                            ·3   A.·   ·Released vehicles at the desk, took the initial walk-in
 ·4   A.·   ·As a -- as a road lieutenant or as a lieutenant in the     ·4   ··    ·complaints from people coming in.
 ·5   ··    ·detective bureau?                                          ·5   Q.·   ·Okay.· And you did all that?
 ·6   ··    · · · I started off as a road patrol lieutenant.            ·6   A.·   ·Yes.
 ·7   Q.·   ·All right.· Let me ask you this.· You've given me the      ·7   Q.·   ·And you had officers reporting to you?
 ·8   ··    ·names of the lieutenants.                                  ·8   A.·   ·Yes.
 ·9   ··    · · · Did you each have different assignments?              ·9   Q.·   ·As far as you know, up until 2015, had there been any
 10   A.·   ·There -- at the time, there were three road patrol         10   ··    ·performance problems of any significance with regard to
 11   ··    ·lieutenants, one for each shift, and there was a           11   ··    ·your role at the department?
 12   ··    ·lieutenant in charge of the detective bureau.              12   A.·   ·I did have some issues with a couple of officers, yes.
 13   Q.·   ·Okay.· So, were you a lieutenant in charge of the          13   Q.·   ·Okay.· Anything that you were disciplined for?
 14   ··    ·detective bureau at some point?                            14   A.·   ·That I was disciplined for?
 15   A.·   ·Just before I left, the last year of my employment.        15   Q.·   ·Yes.· Yes.· Anything that you received discipline for?
 16   Q.·   ·Okay.· And what did you do in that role?                   16   A.·   ·No.
 17   A.·   ·I oversaw the detectives working under me, supervised      17   Q.·   ·Okay.· So, as of 2015, you had a good record.
 18   ··    ·their cases, did some FOIAs, pretty much anything that     18   ··    · · · Would that be fair to say?
 19   ··    ·needed to be done.· Assist the chief.                      19   A.·   ·I had never been even late for work.
 20   Q.·   ·How many detectives reported to you?                       20   Q.·   ·Okay.· So, as of 2015, you had an excellent record,
 21   A.·   ·At that time, two.                                         21   ··    ·then, as far as you were aware, with the department?
 22   Q.·   ·So, were you involved in investigations --                 22   A.·   ·Yes.
 23   A.·   ·Yes.                                                       23   Q.·   ·Okay.· Okay.· No disciplines on your record, just to
 24   Q.·   ·-- that were being handled by the department?              24   ··    ·clarify that?
 25   A.·   ·Yes.                                                       25   A.·   ·I had never been disciplined.

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                                                              Page 13                                                                  Page 15
 ·1   ··    · · · I think Chief Difatta talked to me one time about     ·1   A.·   ·Probably 2015.
 ·2   ··    ·accidentally damaging a car back in 2000, maybe, but       ·2   Q.·   ·Okay.· And what were the circumstances as best you can
 ·3   ··    ·that's the only time I had been brought into the chief's   ·3   ··    ·recall?
 ·4   ··    ·office to talk about anything.                             ·4   A.·   ·I was working the front desk, and I heard Officer Furman
 ·5   Q.·   ·Anybody ever accused you of lying?                         ·5   ··    ·call for another car.
 ·6   A.·   ·No.                                                        ·6   ··    · · · I believe it was Officer Hinojosa went to respond.
 ·7   Q.·   ·Did you feel you got along with your fellow officers for   ·7   ··    ·Before he got there, he cancelled the backup car.
 ·8   ··    ·the most part?                                             ·8   Q.·   ·Furman did?
 ·9   A.·   ·For the most part, yes.                                    ·9   A.·   ·Yes.
 10   Q.·   ·Okay.· What is a citizen complaint as you came to          10   ··    · · · Apparently what had happened was he pulled this
 11   ··    ·understand it in your role as a lieutenant?                11   ··    ·lady over for not having insurance.· He was going to tow
 12   A.·   ·The process for a citizen complaint is if someone comes    12   ··    ·the car for same, and the tow truck arrived.· The lady
 13   ··    ·into the station, they would speak with the supervisor     13   ··    ·had a young infant in a carrier in the car.· This was on
 14   ··    ·on duty.· They're required to fill out a written form.     14   ··    ·Schaefer Road, near 75.· High traffic area, industrial,
 15   ··    ·And normally how that works is, the complaint is then      15   ··    ·right next to a refinery.
 16   ··    ·forwarded to the chief for the chief to review.            16   ··    · · · She told Officer Furman that she had a ride coming,
 17   ··    · · · If they believe -- if they look into it and they      17   ··    ·and she didn't want to take her baby out in traffic.
 18   ··    ·believe it's warranted at the time, it would be turned     18   ··    · · · He told her to get out of the vehicle immediately.
 19   ··    ·over to the detective bureau, the lieutenant in the        19   ··    ·She refused.· And then he drug her out of the car, threw
 20   ··    ·detective bureau, to conduct an investigation.             20   ··    ·her on the ground and towed the car.
 21   Q.·   ·Did that happen from time to time while you were with      21   Q.·   ·Okay.· And what's -- so this is what you were told --
 22   ··    ·the department?                                            22   ··    ·did she come into the station then?
 23   A.·   ·Yes.                                                       23   A.·   ·Yes.
 24   Q.·   ·And there were investigations?                             24   Q.·   ·Okay.
 25   A.·   ·Yeah.· There's always something going on.                  25   A.·   ·She came into the station.· She was very irate, very
                                                              Page 14                                                                  Page 16
 ·1   Q.·   ·Okay.· And then after the investigation, what would be     ·1   ··    ·upset.· I told her she needed to fill out a form because
 ·2   ··    ·the next step?                                             ·2   ··    ·that was the procedure that we did, and she refused.
 ·3   A.·   ·The chief would decide whether or not the complaint is     ·3   ··    · · · I passed this information on to Chad Hayse.· He was
 ·4   ··    ·credible.· They would probably interview the witness       ·4   ··    ·able to get a hold of her and get a statement from her.
 ·5   ··    ·again.· And if the officer did something wrong, then the   ·5   Q.·   ·Do you know why she refused?· Did she explain that?
 ·6   ··    ·chief would dole out whatever measures or punishment       ·6   A.·   ·She didn't explain why.· She was highly upset, crying
 ·7   ··    ·necessary.                                                 ·7   ··    ·and screaming.
 ·8   Q.·   ·Okay.· Do you remember being involved in any such          ·8   Q.·   ·Okay.
 ·9   ··    ·investigations of citizen complaints?                      ·9   A.·   ·I couldn't get her to calm down.· She stormed out.
 10   A.·   ·Yes.                                                       10   Q.·   ·Okay.· So, what's the next thing that was your
 11   Q.·   ·Okay.· What do you recall?                                 11   ··    ·involvement in that?
 12   A.·   ·I dealt with quite -- a couple of instances with Officer   12   ··    · · · Chad Hayse got a hold of her, and then what
 13   ··    ·Furman and excessive use of force.                         13   ··    ·happened?
 14   Q.·   ·These were after citizen complaints had been made to the   14   A.·   ·Well, it was just one of several incidents right around
 15   ··    ·department and then they worked their way to you?          15   ··    ·that time when we were dealing with him using excessive
 16   A.·   ·Well, some were citizen complaints and some were           16   ··    ·force.
 17   ··    ·complaints by other officers.                              17   ··    · · · It got to a point where he was being investigated
 18   Q.·   ·Okay.· So, let's start with the citizen complaints. I      18   ··    ·for assaulting another person, and it had been turned
 19   ··    ·want to just get the process of what happens.              19   ··    ·over to the state police.· And I don't know if it was
 20   ··    · · · So, what was -- what's the first thing you remember   20   ··    ·that instance or the instance where he tackled a guy in
 21   ··    ·about Officer Furman and a citizen complaint?              21   ··    ·his house that he -- it was determined that he was going
 22   A.·   ·I had one citizen complaint where a lady came into the     22   ··    ·to be suspended and taken off until they could figure
 23   ··    ·station accusing Officer Furman of throwing her on the     23   ··    ·out what to do with him.
 24   ··    ·ground.                                                    24   Q.·   ·Okay.· So, you've got the one woman.
 25   Q.·   ·Okay.· Do you remember when that was?                      25   ··    · · · Do you happen to recall whether her name was

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 ·1   ··    ·Henderson?                                                 ·1   A.·   ·There was -- there was another issue right around the
 ·2   A.·   ·I just remember she was a short white female.              ·2   ··    ·same time.· Officer Ginther, Officer Lane and Officer
 ·3   Q.·   ·Okay.                                                      ·3   ··    ·Furman were dispatched to a house in the city.· It was
 ·4   A.·   ·I don't remember her name, no.                             ·4   ··    ·reported that the gentleman in the house was threatening
 ·5   Q.·   ·Okay.· And then you said he assaulted another person.      ·5   ··    ·his, I believe, sister with a knife down in the
 ·6   ··    · · · What were you referring to there?                     ·6   ··    ·basement.
 ·7   ··    · · · What's your recollection?                             ·7   ··    · · · Officers arrived at the scene.· They talk him out
 ·8   A.·   ·There was an incident where a guy was running on foot      ·8   ··    ·of the basement.· He comes up empty-handed.· He does not
 ·9   ··    ·from officers, that he was possibly a B&E suspect.· And    ·9   ··    ·have a weapon on him.· They had him at gunpoint.
 10   ··    ·Officer Furman slammed his head into the door -- the       10   ··    · · · Officer Lane is the training officer.· Officer
 11   ··    ·inside door of a patrol car in front of Lieutenant         11   ··    ·Ginther is the trainee.· Officer Furman was behind them.
 12   ··    ·Allen.                                                     12   ··    · · · They were ordering him to the ground, and he was
 13   Q.·   ·And what was your role in that?                            13   ··    ·complying.· Officer Furman holstered his gun, pushed
 14   A.·   ·I didn't really have much of a role in that because that   14   ··    ·past Officer Ginther and football tackled the guy and
 15   ··    ·was -- that was with Lieutenant Allen, since he was        15   ··    ·drove his --
 16   ··    ·present at the time.                                       16   Q.·   ·What does that mean?· Can you explain that to us?
 17   ··    · · · I know that he insisted that something be done and    17   A.·   ·Forcibly tackled and knocked him into the ground.
 18   ··    ·insisted to turn that over to the state police.            18   ··    · · · The guy was complying with the officer's commands.
 19   Q.·   ·Lieutenant Allen did?                                      19   Q.·   ·Okay.· So, what became of that one?
 20   A.·   ·Yes.                                                       20   A.·   ·Officer Lane and Officer -- Officer Lane approached me
 21   Q.·   ·Did he discuss that with you?                              21   ··    ·about the incident, and I think I spoke to Officer
 22   A.·   ·I just heard bits and pieces.· I wasn't directly           22   ··    ·Ginther briefly.· I told them that I wanted written
 23   ··    ·involved.                                                  23   ··    ·statements about the incident, and I forwarded them to
 24   ··    · · · I think there was communication between Chad Hayse    24   ··    ·Chad Hayse.
 25   ··    ·and John Allen, and they agreed to turn it over to the     25   Q.·   ·You did obtain written statements?
                                                              Page 18                                                                  Page 20
 ·1   ··    ·State.                                                     ·1   A.·   ·Yes.
 ·2   Q.·   ·Okay.· And do you know whether it was turned over to the   ·2   Q.·   ·Do you remember what year this was?
 ·3   ··    ·State?                                                     ·3   A.·   ·I believe it was in 2015.
 ·4   A.·   ·Yes.· They interviewed me on it.                           ·4   Q.·   ·Okay.· By this time in 2015 --
 ·5   Q.·   ·Who did?                                                   ·5   A.·   ·Let me correct it.
 ·6   A.·   ·The State.                                                 ·6   Q.·   ·Go ahead.
 ·7   Q.·   ·Do you remember who it was?                                ·7   A.·   ·It might have been earlier in '16.
 ·8   A.·   ·I don't know her last name.· Her first name is Sunshine.   ·8   Q.·   ·Okay.· So, by this time, you had observed or became
 ·9   Q.·   ·Okay.· And she asked you about the circumstances of the    ·9   ··    ·aware of several instances where Furman, it appeared,
 10   ··    ·event and so on, and what you knew?                        10   ··    ·may have used excessive force.
 11   A.·   ·Yeah.                                                      11   ··    · · · Do I have that right?
 12   Q.·   ·Do you remember when that was, roughly?                    12   A.·   ·Yes.
 13   A.·   ·I believe it was in 2015 also.                             13   Q.·   ·Was that unusual from what you observed of the other
 14   Q.·   ·Do you know what became of that?                           14   ··    ·officers in the department?
 15   A.·   ·I think they weren't able to get a hold of the guy or      15   A.·   ·Was his use of force more than others?
 16   ··    ·they weren't able to find him.                             16   Q.·   ·Different.· Yes.
 17   Q.·   ·Oh.                                                        17   A.·   ·Yes.
 18   A.·   ·I think that's why the case never went anywhere.           18   Q.·   ·Okay.· When did you first meet Furman?
 19   Q.·   ·Okay.· In other words, the person who had been slammed     19   A.·   ·He had been an officer on my shift.· I think I was his
 20   ··    ·into the -- his head had been slammed into the car, the    20   ··    ·supervisor as a sergeant for a short time, and he was on
 21   ··    ·state police, as far as you understood it, were not able   21   ··    ·day shift as -- when I was a lieutenant for most of the
 22   ··    ·to get a hold of him?                                      22   ··    ·time that I worked the desk.
 23   A.·   ·Right.· I don't think the case went anywhere.              23   Q.·   ·Okay.· And did you -- were you ever at a point when you
 24   Q.·   ·Okay.· Okay.· What else with regard to Furman and this     24   ··    ·were friendly with him or had a cordial relationship?
 25   ··    ·issue of citizen complaints and excessive force?           25   ··    · · · I don't know how that works in --

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 ·1   A.·   ·Yeah.· We -- I think we got along pretty well until I      ·1   ··    · · · I think I put an honest effort in to try and coach
 ·2   ··    ·had to write him up.                                       ·2   ··    ·him and counsel him and try and step back and look at
 ·3   Q.·   ·Okay.· And what did you write him up for?                  ·3   ··    ·things in a different light, but he didn't want to hear
 ·4   A.·   ·Well, I forwarded the information for -- about the         ·4   ··    ·it.
 ·5   ··    ·excessive use of force to the chief.· So, I think he       ·5   Q.·   ·Okay.· Did you have a shift you typically worked?
 ·6   ··    ·felt I was responsible for his problems.                   ·6   A.·   ·As a lieutenant on the -- as a road lieutenant, I worked
 ·7   Q.·   ·And then what happened?                                    ·7   ··    ·day shift, from 8:00 to 4:00.
 ·8   A.·   ·Stopped talking to me and, you know, ignoring me and       ·8   Q.·   ·Who was the city's towing contractor when you joined the
 ·9   ··    ·whatnot.                                                   ·9   ··    ·City?
 10   ··    · · · So, I think I was the bad guy after that.             10   A.·   ·When I first started, it was Howard's Towing.· Back in
 11   Q.·   ·Okay.· So, what did you observe about Furman's             11   ··    ·'98, it was Howard's Towing.
 12   ··    ·personality by 2015-16?                                    12   Q.·   ·Okay.· What was the next company that you recall?
 13   ··    · · · Describe his personality vis-à-vis his role as a      13   A.·   ·It was Brothers Four, but they were actually the prior
 14   ··    ·police officer from what you observed in the department.   14   ··    ·people.· They changed the name of the tow company. I
 15   A.·   ·Well, he was difficult to supervise because he would not   15   ··    ·think they went out of business and came back as
 16   ··    ·take responsibility for anything that he did.· His         16   ··    ·Brothers Four.
 17   ··    ·normal response to any criticism was to deflect and to     17   Q.·   ·It was actually Howard's but the new name?
 18   ··    ·deny.· So, he put good effort into whatever task he was    18   A.·   ·Yeah.· Same people.· Same family.
 19   ··    ·assigned, but he would not accept responsibility if        19   Q.·   ·Okay.· What was the next towing company you recall?
 20   ··    ·something went wrong.                                      20   A.·   ·Gene's Towing.
 21   Q.·   ·Did you observe an attitude in him where he believed he    21   Q.·   ·Okay.· And then Goch comes after Gene's; correct?
 22   ··    ·was more correct than command?                             22   A.·   ·Yes.
 23   A.·   ·Well, he --                                                23   Q.·   ·Okay.· So, as I understand it from this case, I don't
 24   Q.·   ·Or justified in what he had done?                          24   ··    ·know if you're aware of this or not, but when Gene's
 25   A.·   ·Well, he always had -- like I had said, he would deflect   25   ··    ·Towing had the contract, they collected money directly
                                                              Page 22                                                                  Page 24
 ·1   ··    ·or deny any fault in anything.· It didn't matter what it   ·1   ··    ·from the individuals whose cars they towed?
 ·2   ··    ·was.                                                       ·2   A.·   ·Yes.· I was -- I worked the desk at that time.· So, what
 ·3   ··    · · · So, you could tell him, "Hey, you messed this up,"    ·3   ··    ·would happen then with Gene's, when someone would come
 ·4   ··    ·and he would grumble and walk away and, you know, he       ·4   ··    ·and get their vehicle out, they would pay the police
 ·5   ··    ·knew better.· So, in some aspects, he was difficult,       ·5   ··    ·department for the storage because we maintained the
 ·6   ··    ·especially when it came to criticism -- constructive       ·6   ··    ·lot, and then the driver of the vehicle or the vehicle
 ·7   ··    ·criticism or trying to get him to do something he didn't   ·7   ··    ·owner would have to square up with the Gene's driver in
 ·8   ··    ·want to do.                                                ·8   ··    ·the lot.· And then the Gene's driver would take them to
 ·9   Q.·   ·Did he seem to have -- I'll use the word "arrogant" --     ·9   ··    ·our lot and release their vehicle to them.
 10   ··    ·an arrogant personality, or is there a different way you   10   Q.·   ·Okay.· And do you recall what the fee was for towing at
 11   ··    ·would describe it?                                         11   ··    ·that time?
 12   A.·   ·He had issues with talking to people.· People would        12   A.·   ·I think it was $100.
 13   ··    ·complain that he was talking down to them.                 13   ··    · · · Well, it started at $60-something, and then I think
 14   Q.·   ·You mean citizens?                                         14   ··    ·at the end, while Gene's was still there, I think it was
 15   A.·   ·Citizens, yeah.                                            15   ··    ·up to $100.
 16   Q.·   ·Okay.· And you became aware of that?                       16   Q.·   ·And that's what the driver would pay to Gene's?
 17   A.·   ·Yes.                                                       17   A.·   ·The vehicle owner would pay Gene's the $100.· And
 18   Q.·   ·So, did you discuss your concerns about Furman?            18   ··    ·whatever storage had accrued, they would pay us.
 19   ··    · · · I mean, you've talked about some complaints you       19   Q.·   ·Pay the City?
 20   ··    ·actually had to write up.                                  20   A.·   ·Right.
 21   ··    · · · Did you discuss with the chief or the other           21   ··    · · · So, they would come in.· They would get their
 22   ··    ·lieutenants your concerns about Furman or the chief's      22   ··    ·vehicle out.· We would give them a receipt, showing that
 23   ··    ·concerns about Furman?                                     23   ··    ·they paid the storage.· And then the tow driver would
 24   A.·   ·We have had conversations with the chief and with other    24   ··    ·meet them in the parking lot.· They would show them the
 25   ··    ·lieutenants.                                               25   ··    ·receipt that they paid up with us, and then they would

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 ·1   ··    ·pay their tow bill, and then they would release the        ·1   Q.·   ·Okay.
 ·2   ··    ·vehicle for them.                                          ·2   A.·   ·It was an assault in progress or a possible felony, any
 ·3   Q.·   ·Okay.· Now, with regard to road patrol officers whom you   ·3   ··    ·assaultive thing, I would send both officers.
 ·4   ··    ·supervised, what were their day-to-day duties out on the   ·4   Q.·   ·Okay.
 ·5   ··    ·road?                                                      ·5   A.·   ·It depends on the call.
 ·6   A.·   ·They were -- they were on patrol in the neighborhood and   ·6   Q.·   ·And if the officers were not taking calls and reacting
 ·7   ··    ·the side streets, working traffic, responding to calls     ·7   ··    ·to the calls, what were they to be doing during the day?
 ·8   ··    ·for service.                                               ·8   A.·   ·Patrolling and doing traffic enforcement.
 ·9   Q.·   ·Tell me how they were assigned; if they were.              ·9   Q.·   ·Okay.· And was there a system of keeping track of
 10   ··    · · · So, you've got a shift.· You're there --              10   ··    ·citations that were issued and that type of thing?
 11   A.·   ·Well --                                                    11   A.·   ·Well, the -- early on we had a written log that you
 12   Q.·   ·-- on days.                                                12   ··    ·would turn in at the end of the month, and there's also
 13   A.·   ·-- oftentimes on dayshift, I've only got two guys on the   13   ··    ·a daily that you would turn in every day.
 14   ··    ·road.                                                      14   ··    · · · When we came into the newer computer system, that
 15   Q.·   ·Okay.                                                      15   ··    ·kind of eliminated the daily logs because everything was
 16   A.·   ·So, they're running -- a lot of times they may be          16   ··    ·logged on the computer.· So, all your traffic stops, all
 17   ··    ·running from call to call or, you know, on a traffic       17   ··    ·your calls that you went on, you would be able to review
 18   ··    ·stop.· It all depends on how the day plays out.            18   ··    ·everything the officer did that day or everything that
 19   Q.·   ·Well, so give me an example.                               19   ··    ·the shift did that day.
 20   ··    · · · I've had cases with other police departments where    20   Q.·   ·And did you review that as a lieutenant or --
 21   ··    ·people have a particular geographic area --                21   A.·   ·From time to time, yes.
 22   A.·   ·Right.                                                     22   Q.·   ·And your goal was what?· To see what kind of activity
 23   Q.·   ·-- of town.                                                23   ··    ·was occurring?
 24   A.·   ·Well, there's -- technically there's an A zone and a B     24   A.·   ·Yeah.· Productivity.
 25   ··    ·zone, but I didn't typically enforce A zone, B zone        25   ··    · · · And it was also my job to approve the police
                                                              Page 26                                                                  Page 28
 ·1   ··    ·because the city is small enough that I don't think it     ·1   ··    ·reports that were written on my shift also.· So, I would
 ·2   ··    ·really matters.· It's not like a big town that's           ·2   ··    ·review those reports and approve them or send them back
 ·3   ··    ·20-square miles, where you're going to have three or       ·3   ··    ·for clarification or correction.
 ·4   ··    ·four guys piled up in one corner of the town.· You can     ·4   Q.·   ·Okay.· So, if you don't mind, walk me through a traffic
 ·5   ··    ·get anywhere the city within 2 or 3 minutes tops.          ·5   ··    ·stop.
 ·6   Q.·   ·How big is the city?                                       ·6   ··    · · · I'm just out on patrol.· I'm an officer.· I see
 ·7   A.·   ·2.7 square miles.                                          ·7   ··    ·somebody that's speeding.
 ·8   Q.·   ·Okay.· All right.· So, you would have two cars out         ·8   ··    · · · What the protocol?
 ·9   ··    ·there?                                                     ·9   A.·   ·Well, normally what will happen is, the officer will get
 10   A.·   ·Uh-huh.                                                    10   ··    ·behind the vehicle and run the plate, double-check to
 11   Q.·   ·And how many calls a day, just a range?                    11   ··    ·make sure whether or not the vehicle is stolen or not or
 12   A.·   ·It could be anything from five or six calls to 15.         12   ··    ·wanted or the driver is wanted.
 13   ··    · · · It -- you never know what the day is going to play    13   ··    · · · They would log the location of the stop into the
 14   ··    ·out to be.                                                 14   ··    ·computer.· It would come up on the dispatch CAD screen,
 15   Q.·   ·So, then what was the process?                             15   ··    ·and I would know that -- where the officer was and that
 16   ··    · · · A call would come in and --                           16   ··    ·they were on a traffic stop.
 17   A.·   ·A call would come in.· I would take the information. I     17   ··    · · · Officer would approach the vehicle, make contact
 18   ··    ·would enter it in the computer.· While I was entering in   18   ··    ·with the driver, get their information, decide whether
 19   ··    ·the computer, I would get on the radio and I would         19   ··    ·or not they were going to issue a violation and send
 20   ··    ·dispatch the officers to that call.                        20   ··    ·them on their way, and then they would clear the call in
 21   Q.·   ·Okay.· Would you dispatch one of the officers, both of     21   ··    ·the computer.
 22   ··    ·the officers?                                              22   Q.·   ·Okay.· And what if a warrant for an arrest came up on
 23   A.·   ·It depended on the call.· If it was just a general         23   ··    ·the computer in the vehicle at the time of the stop?
 24   ··    ·assistance call or backing the rescue or taking a          24   A.·   ·Well, a lot would depend on the warrant itself.
 25   ··    ·larceny report or whatnot, I would send one.               25   ··    · · · Say, for instance, if the person had Detroit

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 ·1   ··    ·traffic warrants, they would advise them of them because   ·1   A.·   ·Yeah.· It would take the officer maybe 15, 20 minutes to
 ·2   ··    ·Detroit won't take them.· They won't accept people with    ·2   ··    ·do, because they're turning the person over and just
 ·3   ··    ·just traffic warrants normally.                            ·3   ··    ·putting them in the jail, and I would monitor them from
 ·4   Q.·   ·Okay.                                                      ·4   ··    ·there.
 ·5   A.·   ·Sometimes it's even a struggle to get them to take         ·5   Q.·   ·Did you ever learn whether there was any revenue
 ·6   ··    ·someone with a felony.                                     ·6   ··    ·generated for the City by writing traffic citations for
 ·7   Q.·   ·Okay.                                                      ·7   ··    ·moving violations?
 ·8   A.·   ·If there are warrants, they're supposed to bring them in   ·8   ··    · · · In other words, you get a speeding ticket, you go
 ·9   ··    ·because that's outstanding warrants for our department.    ·9   ··    ·to district court.
 10   Q.·   ·Okay.                                                      10   ··    · · · Is there any money that comes back to the City from
 11   A.·   ·If it's another municipality in the area, what the         11   ··    ·that; if you know?
 12   ··    ·officer would do was send me the warrant over CAD, and I   12   A.·   ·If I recall, I believe a third of the cost of the
 13   ··    ·would contact the department to see whether or not they    13   ··    ·citation comes back to the City.· There's a split
 14   ··    ·wanted to pick them up or meet on the road someplace to    14   ··    ·between -- the court gets a piece, and we share a court
 15   ··    ·turn them over.                                            15   ··    ·with Allen Park, so they -- it all goes like into a
 16   Q.·   ·Is that typically what happened then?· They would meet     16   ··    ·kitty and everyone gets a chunk.· So, a third, third,
 17   ··    ·you or you -- they'd pick them up?                         17   ··    ·and a third.
 18   A.·   ·Or they would come right to the station to pick them up,   18   ··    · · · That's the way it was explained to me.
 19   ··    ·yes.· That's what they're supposed to do.                  19   Q.·   ·Okay.· And up until 2015 -- well, strike that.
 20   Q.·   ·So, am I correct that is the protocol for a police         20   ··    · · · So, Matthew Furman was a road patrol officer -- is
 21   ··    ·officer, if there's an outstanding warrant, to -- I        21   ··    ·that correct -- during the time you were with the
 22   ··    ·don't know if the person is actually arrested but          22   ··    ·department?
 23   ··    ·they're picked up or brought back to the station?          23   A.·   ·Yes.
 24   A.·   ·Unless there are some extenuating circumstances -- I       24   Q.·   ·And he was to take calls and do traffic?
 25   ··    ·mean, if you pulled somebody over and they had a           25   A.·   ·Correct.
                                                              Page 30                                                                  Page 32
 ·1   ··    ·couple -- they had a warrant for a speeding ticket and     ·1   Q.·   ·And could the officers decide where they wanted to
 ·2   ··    ·they just had surgery or there's obviously something       ·2   ··    ·patrol vis-à-vis traffic?
 ·3   ··    ·wrong with them that you would not be able to lodge them   ·3   A.·   ·Unless there was -- yes.
 ·4   ··    ·safely, you know, then you would use your discretion and   ·4   ··    · · · Unless there was something going on where I needed
 ·5   ··    ·let them go and advise them of the warrant.                ·5   ··    ·them to have visual presence in the area, I let them
 ·6   Q.·   ·Otherwise it's your duty to take the person into custody   ·6   ··    ·patrol where they wanted.
 ·7   ··    ·or turn them over to another municipality?                 ·7   Q.·   ·Okay.· And prior to 2015, what was the procedure from
 ·8   A.·   ·At least have the person on the desk inquire with the      ·8   ··    ·your end as a lieutenant with regard to impounding
 ·9   ··    ·department that holds the warrant to see if they want      ·9   ··    ·vehicles by the road patrol?
 10   ··    ·them.· You should do that.                                 10   A.·   ·What would happen is the -- the road officer would call
 11   Q.·   ·Okay.· And if it's a Melvindale warrant?                   11   ··    ·on the radio and say they were towing a vehicle for
 12   A.·   ·Unless there's extenuating circumstances, you should       12   ··    ·whatever reason.· I would contact the tow company.· The
 13   ··    ·bring them in.                                             13   ··    ·tow company would respond and tow the vehicle.
 14   Q.·   ·So, that means that if an officer is out on the road and   14   ··    · · · The tow driver would come in, after putting the
 15   ··    ·has stopped somebody for a traffic violation, a warrant    15   ··    ·vehicle in the impound, and give me the keys for the
 16   ··    ·comes up, as an officer, I would give the driver the       16   ··    ·vehicle, and we had a carbon copy slip with the vehicle
 17   ··    ·citation and then bring the individual into the station?   17   ··    ·information on it.· I would keep a copy, and I would
 18   A.·   ·Yeah, bring them in, process them.· We would make          18   ··    ·give a copy to the driver for their records.
 19   ··    ·arrangements to try and let them call for a bond and       19   Q.·   ·Okay.· And what would be the reasons that a car would be
 20   ··    ·then go from there.                                        20   ··    ·impounded at the scene, as you understood it as a
 21   ··    · · · If it's early in the day, we would probably get       21   ··    ·lieutenant?
 22   ··    ·them in front of the judge.· If it's later in the day,     22   A.·   ·If that person was under arrest, if they had a suspended
 23   ··    ·they would have to wait until the next morning.            23   ··    ·license, no insurance, you know, a traffic misdemeanor
 24   Q.·   ·Okay.· And then the officer would turn around and go       24   ··    ·or an arrest for OWI.
 25   ··    ·back out on the road?                                      25   Q.·   ·Okay.· So, if you had no proof of insurance with you,

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 ·1   ··    ·was that an automatic tow or --                            ·1   A.·   ·He said that Mike Goch was his friend, and he was a
 ·2   A.·   ·Well, no proof of insurance is a civil infraction.         ·2   ··    ·really good guy.
 ·3   Q.·   ·Right.                                                     ·3   Q.·   ·Okay.· And at that time, did you know Goch had a towing
 ·4   A.·   ·You would have to determine that they did not have         ·4   ··    ·company?
 ·5   ··    ·insurance at all.                                          ·5   A.·   ·Yes.· He introduced him as --
 ·6   Q.·   ·Okay.· And could you do that from your vehicle?            ·6   Q.·   ·In that way?
 ·7   A.·   ·Well, if they presented -- say they presented a proof of   ·7   A.·   ·-- in that capacity, yes.
 ·8   ··    ·insurance to you and it was expired, you could call the    ·8   Q.·   ·Okay.· And any other way that you knew of Goch other
 ·9   ··    ·insurance company.· They normally have a 1-800 number to   ·9   ··    ·than Easton bringing him into the station prior to the
 10   ··    ·verify whether they had coverage.                          10   ··    ·contract being entered into?
 11   Q.·   ·And did the officers typically do that?                    11   A.·   ·I had seen him at a concert -- at a -- I don't know
 12   A.·   ·Yes.                                                       12   ··    ·if -- I don't know if he had the contract yet.
 13   Q.·   ·Okay.· And prior to the beginning of 2015, what was your   13   ··    · · · I had seen him at an AC/DC concert with Pat Easton.
 14   ··    ·observation with regard to approximately how many cars     14   ··    ·I don't know if it was June of 2015 yet or whether that
 15   ··    ·were being impounded on any given shift or any given       15   ··    ·was later.· But I had seen them in public together,
 16   ··    ·week, however you can think about it?                      16   ··    ·yeah.
 17   A.·   ·Prior to 2015?                                             17   Q.·   ·Okay.· Did he develop some relationships with -- that
 18   Q.·   ·Right.· Prior to Goch & Sons.                              18   ··    ·you ever observed with some city politicians or
 19   A.·   ·I mean, it all depended.· There could be five or six       19   ··    ·officials, anything like that?
 20   ··    ·cars towed in a shift, or there could be none.· It all     20   A.·   ·It seemed -- it seemed fairly apparent that he was
 21   ··    ·depends on what's going on out there.· If someone is out   21   ··    ·friends with the city politicians.· At one of the
 22   ··    ·there actively enforcing traffic, there would be more      22   ··    ·auctions after he got the contract, I observed Katie
 23   ··    ·vehicles towed.· If the officers were tied up on cases     23   ··    ·Pope, who is Mike Goch's girlfriend, approach Dave
 24   ··    ·and in the station doing paperwork and arrests, then       24   ··    ·Cybulski and Wheeler Marsee and tell her -- tell them
 25   ··    ·maybe none.                                                25   ··    ·that they missed them at -- that they missed them at the
                                                              Page 34                                                                  Page 36
 ·1   Q.· ·Okay.                                                        ·1   · · ·bar the night before and gave them hugs.
 ·2   · · · · · MS. GORDON:· Hang on one second, please.                ·2   · · · · · So, I would assume they had a personal
 ·3   · · · · · · ·(Discussion held off the record.)                    ·3   · · ·relationship, yes.
 ·4   BY MS. GORDON:                                                    ·4   Q.· ·Meaning there had been a group at the bar the night
 ·5   Q.· ·So, Goch & Sons took the contract over in 2015 for           ·5   · · ·before but those two had --
 ·6   · · ·towing.· I presume you're aware of that.· Maybe you          ·6   A.· ·I believe it was after a council meeting.
 ·7   · · ·don't recall the exact date.                                 ·7   · · · · · MS. BALIAN:· Objection as to what that meant.
 ·8   A.· ·It was June, maybe.                                          ·8   BY MS. GORDON:
 ·9   Q.· ·Okay.                                                        ·9   Q.· ·Okay.· So, the way you took it was "some of us were
 10   A.· ·Okay.                                                        10   · · ·there, and we missed you last night"?
 11   Q.· ·Did you know of Goch & Sons?                                 11   A.· ·Right.· It appeared to me that they had a personal
 12   A.· ·Yes, I knew of them.                                         12   · · ·relationship.
 13   Q.· ·How did you know of them?                                    13   Q.· ·Okay.· Did you ever discuss Goch & Sons with the city
 14   A.· ·Because he had come -- he had been brought into the          14   · · ·manager Ortiz?
 15   · · ·station by Pat Easton.                                       15   A.· ·Yes.
 16   Q.· ·And who had been brought into the station?                   16   Q.· ·What was that discussion or discussions about?
 17   A.· ·Mike Goch.                                                   17   A.· ·We had -- at one time, I remember we had had a
 18   Q.· ·Okay.· And what was that for?                                18   · · ·conversation -- it was myself, Rich Ortiz and Chad Hayse
 19   A.· ·Introducing him to the guys.                                 19   · · ·in the chief's office, and it was before the time that
 20   Q.· ·Was this prior to the contract --                            20   · · ·the contract was awarded to Goch & Sons.· Chad had done
 21   A.· ·Yes.                                                         21   · · ·an investigation of both companies and went through our
 22   Q.· ·-- being signed?                                             22   · · ·computer system and printed out all the complaints of
 23   A.· ·Yes, it was.                                                 23   · · ·the incidents that we had had with each company.
 24   Q.· ·Was Easton a friend of Goch's, or how did it happen that     24   · · · · · Not too long prior to them getting the contract, we
 25   · · ·they were in the station?                                    25   · · ·had arrested one of their drivers for assaulting someone

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03/28/2018                                                                                                                    Pages 37–40
                                                              Page 37                                                                  Page 39
 ·1   ··    ·in our city.                                               ·1   ··    ·vehicles that were towed, the City got a portion of it
 ·2   Q.·   ·A Goch driver?                                             ·2   ··    ·and the tow company got a portion of it.
 ·3   A.·   ·Yes.                                                       ·3   ··    · · · And when vehicles were auctioned off, the tow
 ·4   Q.·   ·Okay.                                                      ·4   ··    ·company got a percentage of the proceeds of the auction
 ·5   A.·   ·And we had spoke to Rich about the incidents that we had   ·5   ··    ·also.
 ·6   ··    ·had.                                                       ·6   Q.·   ·That was different than previously?
 ·7   Q.·   ·Rich Ortiz?                                                ·7   A.·   ·Right.
 ·8   A.·   ·Rich Ortiz.                                                ·8   ··    · · · And then we were on the hook for paying for the tow
 ·9   ··    · · · And over the years we had had some negative           ·9   ··    ·of the vehicle auctioned, regardless of what the cost
 10   ··    ·dealings with that tow company.· Our motor carrier         10   ··    ·was.
 11   ··    ·officer had towed numerous vehicles that they              11   ··    · · · I think at one time, we had a lady commit suicide
 12   ··    ·were towing, scrap cars, that they weren't licensed to     12   ··    ·by driving her vehicle into the Rouge River, and the tow
 13   ··    ·do, and whatnot.                                           13   ··    ·company hit us for like $1,500 fee to pull it out, and I
 14   ··    · · · So, we had had a little bit of a history with that    14   ··    ·thing we got $150 for it at auction.
 15   ··    ·company.                                                   15   Q.·   ·That was Goch?
 16   ··    · · · And Chad tried to put forth an -- objective reasons   16   A.·   ·Yeah.· We lost a lot of money on that one.
 17   ··    ·why we should or should not take the -- go with that tow   17   Q.·   ·Okay.
 18   ··    ·company.                                                   18   A.·   ·So --
 19   Q.·   ·To Ortiz?                                                  19   Q.·   ·Were you aware of the amount of revenue that the City
 20   A.·   ·Yes.                                                       20   ··    ·was generating from the Goch tows?
 21   Q.·   ·Okay.                                                      21   A.·   ·I didn't know the numbers, but -- I mean the exact money
 22   A.·   ·And I remember Rich saying that he thought that Mike was   22   ··    ·number, but I knew it was substantial because of the
 23   ··    ·a good guy, that he had known him since high school, and   23   ··    ·number of vehicles towed on a daily basis.
 24   ··    ·he wasn't really concerned about it.                       24   Q.·   ·Were you aware that Goch was making very significant
 25   Q.·   ·Okay.· Was there ever any discussion after -- with Ortiz   25   ··    ·amounts of money every month on tows out of Melvindale?
                                                              Page 38                                                                  Page 40
 ·1   ··    ·after Goch came onboard with regard to -- I mean, it's     ·1   A.·   ·Just by the -- I don't know how much, but just by the
 ·2   ··    ·already been established in this case what the towing      ·2   ··    ·number of vehicles towed and released every month that
 ·3   ··    ·numbers were and what the revenue was that the City was    ·3   ··    ·it would be substantial.· There was a lot of money being
 ·4   ··    ·making, and we have documents that show $20,000 a month    ·4   ··    ·made.
 ·5   ··    ·was coming just to the City, sometimes more.               ·5   Q.·   ·And did you ever form the opinion that either the city
 ·6   ··    · · · Did Ortiz ever discuss with you guys possibly         ·6   ··    ·council or Mr. Ortiz wanted tows and -- a lot of tows in
 ·7   ··    ·getting a raise if the towing numbers were up?             ·7   ··    ·order to generate revenue?
 ·8   A.·   ·He made the statement at the front desk before, while      ·8   A.·   ·Well, it was cash money coming in every month.
 ·9   ··    ·both the supervisors in patrol were in contract            ·9   ··    · · · The City was under scrutiny from the State
 10   ··    ·negotiations that, "If you guys keep up the tickets and    10   ··    ·Treasury.
 11   ··    ·the tows, I can probably justify a raise to the city       11   Q.·   ·Deficit Elimination Plan?
 12   ··    ·council for you guys."                                     12   A.·   ·Yeah.· They were in a Deficit Elimination Plan, and they
 13   Q.·   ·Were you aware, after Goch & Sons came in, of the          13   ··    ·were reporting on a regular basis, having to go up to
 14   ··    ·difference in the cost schedule for tows?                  14   ··    ·Lansing.
 15   A.·   ·Well, they changed it.· They added on release fees and     15   ··    · · · I would submit paperwork from the auction, and they
 16   ··    ·whatnot.· The cost for someone getting their vehicle       16   ··    ·would take it to the auditors, and the auditors would
 17   ··    ·towed went up substantially.                               17   ··    ·work it in in the city budget, from what I understand,
 18   Q.·   ·Okay.· And that was paid by the driver, obviously;         18   ··    ·and then present it to the State.
 19   ··    ·correct?                                                   19   Q.·   ·Okay.· And that was different than pre-Goch?
 20   A.·   ·Yes.                                                       20   A.·   ·I don't know what they did before.· I just know that
 21   Q.·   ·And then did you realize that there was going to be a      21   ··    ·Rich had asked me on several occasions for the numbers
 22   ··    ·portion of that towing charge that would be revenue sent   22   ··    ·from the auctions, and that they were using them to give
 23   ··    ·back to the City?                                          23   ··    ·to the auditors.
 24   A.·   ·The -- yes.                                                24   Q.·   ·Okay.· So, this was different as of 2015?· The City was
 25   ··    · · · I don't exactly know how it worked, but the           25   ··    ·now actually generating revenue based on tows --

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WELCH, JUNIOR, LIEUTENANT MICHAEL L.
03/28/2018                                                                                                                    Pages 41–44
                                                              Page 41                                                                  Page 43
 ·1   · · · · · MS. BALIAN:· Objection.· Lack of foundation.            ·1   · · ·city council packet.
 ·2   BY MS. GORDON:                                                    ·2   BY MS. GORDON:
 ·3   Q.· ·-- that went to the City coffers; is that correct?           ·3   Q.· ·Okay.· And you see obviously on the bottom that there's
 ·4   · · · · · MS. BALIAN:· Objection.· Lack of foundation.            ·4   · · ·a revenue figure directly to the city which would be, in
 ·5   A.· ·Well --                                                      ·5   · · ·this case, $19,280.75 --
 ·6   BY MS. GORDON:                                                    ·6   A.· ·Right.
 ·7   Q.· ·Separate and apart from the auctions that you described      ·7   Q.· ·-- for one month; correct?
 ·8   · · ·earlier?                                                     ·8   A.· ·Correct.
 ·9   A.· ·Okay.· Well, they're -- prior to Goch & Sons, we             ·9   · · · · · I did not witness it, but I was told that the tow
 10   · · ·received money from storage, and they -- we would get        10   · · ·company would present this in the city council meetings.
 11   · · ·money from the auctions.                                     11   Q.· ·Okay.· And do you know who presented it from Goch?
 12   Q.· ·But post-Goch & Sons, you were getting revenue from          12   A.· ·Mike Goch.
 13   · · ·every single impound or tow?                                 13   Q.· ·Okay.
 14   A.· ·Well, the amount collected from the drivers went up          14   A.· ·And would critique that, you know, tows were up or tows
 15   · · ·because they added more fees.· So, the cost of getting       15   · · ·were down for the month.
 16   · · ·your vehicle out increased with Goch & Sons versus           16   Q.· ·Okay.· Did you typically attend city council meetings?
 17   · · ·Gene's.                                                      17   A.· ·No.
 18   Q.· ·What would they add in as fees?                              18   Q.· ·So, I don't know if you have any idea what percentage of
 19   A.· ·Like a $35 release fee, and I believe the tow cost more.     19   · · ·the tows of the revenue went to the City as compared to
 20   · · ·There was a release fee that was added and some other        20   · · ·Goch, but with regard to the document I just handed you,
 21   · · ·fees, too.                                                   21   · · ·does that indicate to you how much money Goch would have
 22   · · · · · I think average, if you got it out that day, I          22   · · ·received for Melvindale tows?
 23   · · ·think it was $255 -- $255, where it was significantly        23   A.· ·Well, in the form here it says, "City of Melvindale
 24   · · ·less before.                                                 24   · · ·revenue generated."
 25   Q.· ·Okay.· Were you aware that Officer Furman had a personal     25   · · · · · So, I would assume they're saying that's what the
                                                              Page 42                                                                  Page 44
 ·1   ··    ·relationship of some type with Mike Goch?                  ·1   ··    ·City made.
 ·2   A.·   ·I had heard other people talking, but I did not witness    ·2   Q.·   ·That's correct.
 ·3   ··    ·it myself.                                                 ·3   A.·   ·Okay.
 ·4   Q.·   ·Were you aware that he had been to his home and been on    ·4   Q.·   ·So, do you know the multiplier of what that would mean
 ·5   ··    ·his boat?                                                  ·5   ··    ·Goch would have received?
 ·6   A.·   ·I -- no, I did not know that.                              ·6   A.·   ·I don't know -- I don't know what they would have made
 ·7   Q.·   ·Okay.· Did you ever attend a Goch Christmas party?         ·7   ··    ·out of that for the month, no.
 ·8   A.·   ·No, I did not.                                             ·8   Q.·   ·Okay.· So, I'll hand you Bates 476, which is a December
 ·9   Q.·   ·Were you ever invited to a Goch Christmas party?           ·9   ··    ·revenue statement from Goch & Sons Towing, December 1,
 10   A.·   ·Not that I know of, no.                                    10   ··    ·'15 through December 31, and this has gone up over the
 11   Q.·   ·Okay.· So, we've heard in this case about -- excuse me     11   ··    ·one I've got in front of you by about $10,000.
 12   ··    ·one second.                                                12   ··    · · · Do you know why that would be?
 13   ··    · · · I'll just show you some documents.· I don't know if   13   ··    · · · That's a $29,000-plus month of December.
 14   ··    ·you're familiar with them or not, but these have been      14   A.·   ·I could only conclude that more vehicles were towed that
 15   ··    ·used in this case and produced.                            15   ··    ·month.
 16   ··    · · · This is Hayse Bates stamp 478.· It says the Goch &    16   ··    · · · I don't know.
 17   ··    ·Sons Towing Melvindale revenue statistics 9-1-15 through   17   Q.·   ·Do you know why that many more vehicles would be towed
 18   ··    ·9-30-15, so that's a 30-day period?                        18   ··    ·in December?
 19   A.·   ·Okay.                                                      19   ··    · · · It looks like 99 vehicles were towed that month.
 20   Q.·   ·Does that refresh your recollection with regard to the     20   ··    · · · Do you see that?
 21   ··    ·costs?                                                     21   A.·   ·Yes.
 22   ··    · · · MS. BALIAN:· I'm just going to object as to           22   ··    · · · Someone was towing a lot of vehicles that month, is
 23   ··    ·foundation.· I don't know if he's ever seen this.          23   ··    ·what it would tell me, or more than one officer. I
 24   A.·   ·I -- I don't know if I've seen this particular document    24   ··    ·don't know.
 25   ··    ·before, but I've seen a similar document before in the     25   Q.·   ·Okay.· I'll take that back.

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03/28/2018                                                                                                                    Pages 45–48
                                                              Page 45                                                                  Page 47
 ·1   ··    · · · Did you have any interaction with Mike Goch           ·1   · · ·relationship or friendship with Matthew Furman?
 ·2   ··    ·yourself?                                                  ·2   A.· ·I knew they were friends.
 ·3   A.·   ·I would see him at the auctions, and there were a couple   ·3   Q.· ·Was that known, or was that something --
 ·4   ··    ·times where we were having issues with what the clerical   ·4   A.· ·He -- yeah.· He -- he would stop by while he was working
 ·5   ··    ·staff were trying to charge drivers.· I had met with him   ·5   · · ·and visit with her.
 ·6   ··    ·a couple times in person to try and iron it out.           ·6   Q.· ·How did you know that?
 ·7   Q.·   ·What was that about?                                       ·7   A.· ·Because he said so.· He said, "I stopped by -- I was by
 ·8   A.·   ·There was a whole thing about charging drivers for a       ·8   · · ·and talked to Nicole Barnes," and whatnot.· I knew they
 ·9   ··    ·dolly fee.· It was basically for a service that they       ·9   · · ·were friends.
 10   ··    ·didn't do, and he justified that if he had a different     10   · · · · · And he was -- Nicole Barnes is good friends with
 11   ··    ·truck, he would have had to have done it, so he thought    11   · · ·Pat Easton, too.
 12   ··    ·he could charge it.                                        12   Q.· ·Okay.· Were you aware that Nicole Barnes went out to
 13   Q.·   ·Even though he didn't have it?                             13   · · ·have a drink or a beer or something at a couple of
 14   A.·   ·Even though he did not perform the service.                14   · · ·different local bars with Furman from time to time?
 15   ··    · · · And so we discussed it a couple times.· Chad Hayse    15   A.· ·No.
 16   ··    ·dealt with him on numerous occasions about it.· It was a   16   · · · · · · ·(Discussion held off the record.)
 17   ··    ·big blow up with the city council.· And then they kind     17   BY MS. GORDON:
 18   ··    ·of dropped it.                                             18   Q.· ·I'm going to hand you Bates Hayse 2227.
 19   Q.·   ·What do you mean by "big blow up"?· What were they         19   · · · · · Do you recall this memo coming out from Chad Hayse
 20   ··    ·concerned about?                                           20   · · ·to All Officers?· It's dated June 2nd, 2015.
 21   A.·   ·Well, the City wanted to make sure that they got a piece   21   A.· ·Yes.
 22   ··    ·of it, and they were kind of defending Mike Goch.          22   Q.· ·It's "Re --"
 23   ··    · · · And it was for something that wasn't in their         23   A.· ·I remember it, yes.
 24   ··    ·contract, and they had -- Katie Pope had come in, and we   24   Q.· ·"-- Rules and Regulations," and it says:
 25   ··    ·have it posted up at the front window for people coming    25   · · · · · · · ·"As a reminder, Section 23, Professional
                                                              Page 46                                                                  Page 48
 ·1   · · ·in, the fees.· And she came in with her own fee list         ·1   ··    · · · Conduct and Responsibilities of the Rules and
 ·2   · · ·with it added into it.                                       ·2   ··    · · · Regulations prohibits acceptance of gifts,
 ·3   · · · · · Well, it's not in their contract, so that was taken     ·3   ··    · · · gratuities, fees, loans, et cetera.· Any
 ·4   · · ·down, and the actual fee list from the actual contract       ·4   ··    · · · officer violating this Section will be
 ·5   · · ·was photocopied and put in its place.· And then after        ·5   ··    · · · disciplined up to termination and may face
 ·6   · · ·that, we didn't have that issue any more.                    ·6   ··    · · · criminal charges."
 ·7   Q.· ·Did you form the opinion, after Goch & Sons came             ·7   ··    · · · Were you aware of why this was needed to be sent
 ·8   · · ·onboard, that the city council was very supportive of        ·8   ··    ·out in June of 2015?
 ·9   · · ·them and happy to receive this revenue?                      ·9   A.·   ·I believe it was in regards to issues with the tow
 10   · · · · · MS. BALIAN:· Objection.· Lack of Foundation.            10   ··    ·company wanting to do things and give things to the
 11   BY MS. GORDON:                                                    11   ··    ·department.
 12   Q.· ·Go ahead.                                                    12   ··    · · · I believe at one time that Katie Pope, from Goch &
 13   · · · · · MS. BALIAN:· He didn't attend the city council          13   ··    ·Sons, approached us and wanted to hold a barbecue at the
 14   · · ·meetings.                                                    14   ··    ·department for the officers.· They would come in and
 15   BY MS. GORDON:                                                    15   ··    ·bring muffins, pastries, drinks and whatnot.
 16   Q.· ·Go ahead.                                                    16   Q.·   ·Am I correct that the number of tows done by Melvindale
 17   A.· ·I would assume because of the financial status of the        17   ··    ·police officers had a direct impact on the amount of
 18   · · ·City, they were happy with the revenue generated.            18   ··    ·money made by Goch & Sons?
 19   Q.· ·Did you know any of the city council members?                19   A.·   ·The more vehicles that the officers towed, the more
 20   A.· ·I knew Wheeler Marsee as an acquaintance, you could say.     20   ··    ·money that Goch & Sons made.
 21   · · ·He would come into the station occasionally and speak        21   Q.·   ·Okay.· So, we've got some data from towing, and we see
 22   · · ·with us to see how we were doing and whatnot.                22   ··    ·that the number of tows during the first six months of
 23   · · · · · The other members of the city council, I did not        23   ··    ·2015 was 368.
 24   · · ·know.                                                        24   ··    · · · And then Goch & Sons took over, from Gene's, and
 25   Q.· ·Did you hear that Nicole Barnes had some type of a           25   ··    ·right after that, for the second half of the year, there

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                                                              Page 49                                                                  Page 51
 ·1   ··    ·were 1,137 tows in a six-month time period.                ·1   · · ·that are -- stop your traffic detail and help the other
 ·2   ··    · · · Is that something you would have been cognizant of    ·2   · · ·officers.
 ·3   ··    ·at the time?                                               ·3   · · · · · It's a very serious situation.
 ·4   A.·   ·Yes.· I was doing the paperwork.                           ·4   · · · · · But he wanted to tow the car instead.
 ·5   Q.·   ·Okay.· What happened, from your point of view as a         ·5   Q.· ·Okay.· So, why would he -- I mean, I get that people
 ·6   ··    ·lieutenant?                                                ·6   · · ·may, you know, have -- enjoy doing certain things.· Some
 ·7   A.·   ·Furman had said that his goal was to tow 1,000 cars that   ·7   · · ·people might like traffic.· Some people might like
 ·8   ··    ·year.· And there are days that he would tow 10 cars in a   ·8   · · ·dispatch, whatever.
 ·9   ··    ·shift.                                                     ·9   · · · · · What was the -- I'll use the word --
 10   Q.·   ·Okay.· This was different after Goch & Sons came in?       10   · · ·"obsession" with Furman and the tows as far as you could
 11   A.·   ·He had towed quite a few cars before.                      11   · · ·discern?
 12   Q.·   ·Right.                                                     12   A.· ·I don't know.· He bragged about it.· He talked about it.
 13   A.·   ·But it went up substantially after the Goch & Sons came    13   · · ·He kept a ledger in the inside of his locker where he
 14   ··    ·in.                                                        14   · · ·would log everything at the end of the day.· He liked
 15   Q.·   ·Okay.· All right.· So, let's compare the amount of cars    15   · · ·the attention.· He would tell anybody that would listen.
 16   ··    ·Furman was towing in a day while you were supervising to   16   Q.· ·And the attention was generated because his tows were
 17   ··    ·the other -- there was one other officer on his shift?     17   · · ·generating so much money and revenue for Goch and for
 18   A.·   ·There would be one other officer.· Depending on            18   · · ·the City; is that -- do I have right?
 19   ··    ·scheduling, there might be a third, depending on           19   · · · · · MS. BALIAN:· Objection.· Calls for speculation.
 20   ··    ·officer's days off and whatnot.                            20   BY MS. GORDON:
 21   Q.·   ·Okay.· So, what percentage of those 1,137 tows, in the     21   Q.· ·Is that correct?
 22   ··    ·second half of 2015, would you estimate would have been    22   A.· ·I assume he liked the attention that he was getting.
 23   ··    ·from Mark(sic) Furman as compared to all other officers?   23   Q.· ·Okay.· But when you make a tow, you're literally
 24   A.·   ·My guess would be 75 percent.                              24   · · ·generating money for Goch & Sons and for the City;
 25   Q.·   ·Okay.· So, in order to do eight or ten tows a day, how     25   · · ·correct?
                                                              Page 50                                                                  Page 52
 ·1   ··    ·much -- what percentage of your shift was this taking      ·1   A.·   ·Yes, that's true.
 ·2   ··    ·up?                                                        ·2   Q.·   ·But when you go out on an armed robbery run, you are not
 ·3   A.·   ·It was taking up most of his shift.                        ·3   ··    ·generating money?
 ·4   ··    · · · And I was getting complaints that, you know, the      ·4   A.·   ·Well, no.· This was an officer safety issue.
 ·5   ··    ·other officers were taking all the report calls while he   ·5   ··    · · · He was not assigned to the road that day.· He was
 ·6   ··    ·was towing cars.                                           ·6   ··    ·working a traffic detail.
 ·7   Q.·   ·So, you needed somebody to go out on a dispatch.· He was   ·7   ··    · · · A call for an armed robbery came out.· If you're
 ·8   ··    ·towing, so the other officer would have to pick up all     ·8   ··    ·working a detail which isn't important -- it's an
 ·9   ··    ·the calls?· Is that what you're saying?                    ·9   ··    ·overtime detail --
 10   A.·   ·Right.· I would catch flack from the other officers that   10   Q.·   ·Right.
 11   ··    ·he was working with.                                       11   A.·   ·-- and something serious like that happens, it's an
 12   Q.·   ·Did you ever discuss this with Furman about the tows?      12   ··    ·officer safety issue.· You're supposed to stop what
 13   A.·   ·Yes.· I told him before.· I said, "Listen, if it's just    13   ··    ·you're doing and assist the responding officers.
 14   ··    ·the two of you out there, I can't have you tied up         14   Q.·   ·No, I get that.
 15   ··    ·towing cars all day.· If I've got a third guy and we're    15   A.·   ·He chose not to because towing the car was more
 16   ··    ·not super busy, that's fine."                              16   ··    ·important than helping his fellow officers with an armed
 17   ··    · · · There was an instance where he was working a          17   ··    ·gunman.
 18   ··    ·traffic detail, and we had an armed robbery.               18   Q.·   ·Okay.· I get that.
 19   ··    · · · In the middle of the armed robbery, he called out     19   ··    · · · But the point I'm asking you about is, am I correct
 20   ··    ·for a tow truck.                                           20   ··    ·that, when he towed a car, there would be money
 21   Q.·   ·What was that about?                                       21   ··    ·generated from that tow to Goch and to the City, as
 22   A.·   ·He had to tow a car, though we had somebody just commit    22   ··    ·compared to him taking a dispatch run on a possible --
 23   ··    ·an armed robbery.                                          23   ··    ·not your armed robbery, but just a normal dispatch run?
 24   Q.·   ·I see.                                                     24   ··    ·You're not generating revenue?
 25   A.·   ·His response should have been, help the other officers     25   A.·   ·No.· Most --

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 ·1   · · · · · MS. BALIAN:· Objection.· The testimony wasn't that    ·1   ··    · · · So, they eliminated a step, and that was just
 ·2   · · ·he was dispatched.                                         ·2   ··    ·within the -- like the last year, I believe.
 ·3   BY MS. GORDON:                                                  ·3   ··    · · · So, occasionally, he did call, but I did know that
 ·4   Q.· ·Go ahead.· I'm saying hypothetically.                      ·4   ··    ·he -- when he was on a traffic stop, I did know he was
 ·5   A.· ·Most often you're responding to the situation and taking   ·5   ··    ·on a traffic stop because he would log in the computer.
 ·6   · · ·report.                                                    ·6   Q.·   ·Right.
 ·7   Q.· ·And even if you stop somebody for speeding, I mean,        ·7   A.·   ·But he just took it upon -- they changed the procedure a
 ·8   · · ·there might be a little revenue from the speeding          ·8   ··    ·little bit recently, and, depending on how busy we were,
 ·9   · · ·citation, but you're not generating money for Goch &       ·9   ··    ·sometimes he would contact the tow driver directly
 10   · · ·Sons when you issue a speeding ticket; correct?            10   ··    ·because the tow driver was in town.
 11   A.· ·No.· Only when you tow a vehicle.                          11   ··    · · · In fact, if Furman was working traffic, the tow
 12   Q.· ·Okay.· So, did you wonder why it was that Furman was so    12   ··    ·driver would pretty much follow him around.
 13   · · ·obsessed with doing these tows that were generating        13   Q.·   ·Right.
 14   · · ·money?                                                     14   A.·   ·Because the tow driver got a commission for each tow
 15   A.· ·I don't know the reason why he was so obsessed with it.    15   ··    ·that he made, too.
 16   Q.· ·There --                                                   16   Q.·   ·I see.
 17   A.· ·I know he liked to brag about it.· He liked to talk        17   ··    · · · Okay.· Did you ever form -- you've already touched
 18   · · ·about it and, you know, tell everybody how he was          18   ··    ·on this a bit.
 19   · · ·making -- he was going to -- making all this money for     19   ··    · · · Did you form the opinion that by doing all these
 20   · · ·the City, and he's going out there to get us raises and    20   ··    ·tows, other road patrol duties that should have been
 21   · · ·whatnot.                                                   21   ··    ·handled may be left undone in some way?
 22   Q.· ·Were you aware that he was not calling dispatch --         22   A.·   ·Well, you're not getting the patrol coverage in the city
 23   · · ·strike that.                                               23   ··    ·that you normally would.· If you've got a guy that's
 24   · · · · · You've described a situation where if you stop a      24   ··    ·sitting on Schaefer Highway all day, he's not in the
 25   · · ·vehicle, you would know about it, a lieutenant back at     25   ··    ·neighborhoods making a visual presence or keeping an eye
                                                            Page 54                                                                  Page 56
 ·1   · · ·the station would know about it.· And then you would be    ·1   ··    ·on the houses while people are at work.· And I did, on
 ·2   · · ·contacted with regard to getting the tow to dispatch the   ·2   ··    ·several occasions, tell him to get on the side streets.
 ·3   · · ·tow truck; correct?                                        ·3   Q.·   ·Did he do it, or did you get a response?
 ·4   A.· ·Right.                                                     ·4   A.·   ·He would do it for a little while, and then get back out
 ·5   Q.· ·Were you aware that Furman bypassed that step of           ·5   ··    ·there and start towing cars again.
 ·6   · · ·contacting the desk?                                       ·6   Q.·   ·Did you have the ability to tell him, "Look, you know,
 ·7   A.· ·Well, if he was going to tow a vehicle, he would have      ·7   ··    ·you've got to be doing other stuff," or did you feel
 ·8   · · ·to -- I was normally the one that called the tow           ·8   ··    ·constrained to do that or explain that?
 ·9   · · ·company.· And if he were to tow a vehicle, then the tow    ·9   A.·   ·Well, there were numerous times I tried to coach him and
 10   · · ·driver would come into the station for the paperwork, so   10   ··    ·give him advice and whatnot, and times I would try and
 11   · · ·I don't know how that would work.                          11   ··    ·teach him -- try and tell him he needed to use
 12   Q.· ·Well, he testified that he, on his cell phone, would       12   ··    ·discretion in a lot of things that he did and whatnot.
 13   · · ·contact --                                                 13   ··    ·And most of the time he just -- he acted like he knew
 14   · · · · · · ·(Discussion held off the record.)                  14   ··    ·better and didn't want to hear it.
 15   BY MS. GORDON:                                                  15   Q.·   ·Do you recall Councilwoman Nicole Barnes contacting
 16   Q.· ·-- Briscoe directly --                                     16   ··    ·Chief Hayse with Officer Furman's request that the chief
 17   A.· ·Oh, all right.· Just --                                    17   ··    ·assign Furman to traffic 100 percent of the time?· Does
 18   Q.· ·Just on his own, he would make the contact.                18   ··    ·that ring a bell?
 19   A.· ·Okay.· Just recently, within the last year or so, the      19   A.·   ·I had heard something that he was speaking to Nicole
 20   · · ·procedure did change a little bit.· Sometimes I will       20   ··    ·Barnes about wanting to try and negotiate his own
 21   · · ·call or sometimes he will call a tow driver because now    21   ··    ·contract, and the patrol -- he was a member of the
 22   · · ·the officer is filling out the tow slip in the car and     22   ··    ·patrol union board, and they kicked him off.
 23   · · ·handing the tow slip directly to the driver, but the       23   Q.·   ·What's --
 24   · · ·driver would still come into the station and turn over     24   A.·   ·He was the treasurer, and they voted him out because of
 25   · · ·the keys.                                                  25   ··    ·it.

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 ·1   Q.·   ·Okay.· So, explain that.                                   ·1   ··    ·lieutenant.
 ·2   ··    · · · What's the patrol officer's board?                    ·2   Q.·   ·Did you see the tow tags that Furman filled out?
 ·3   A.·   ·Well, they have -- it's a union position.                  ·3   A.·   ·Yes.
 ·4   Q.·   ·Okay.                                                      ·4   Q.·   ·Okay.
 ·5   A.·   ·And you have POAM for the patrolmen, and that is the       ·5   A.·   ·Well, normally I filled them out.· The portion about
 ·6   ··    ·main -- the main representation and then each department   ·6   ··    ·damage or property, he would come in, because -- I
 ·7   ··    ·has their own reps in the department.                      ·7   ··    ·didn't physically see the vehicle, so he would fill in
 ·8   ··    · · · So, they would have a sergeant at arms, a             ·8   ··    ·that section.
 ·9   ··    ·president, vice president and treasurer.                   ·9   ··    · · · But as far as the vehicle identification, all the
 10   ··    · · · At that time, Matt Furman was the treasurer for the   10   ··    ·identifiers for the vehicle, the location and whatnot, I
 11   ··    ·patrol union.· And after all that stuff happened, the      11   ··    ·would fill out that, and then he would come in and fill
 12   ··    ·patrol union voted him off the board.                      12   ··    ·out the vehicle search section or damage section and
 13   Q.·   ·And why was that as far as you could tell?                 13   ··    ·then the tow tag would be filed.
 14   A.·   ·Because he was trying to circumvent their own contract.    14   Q.·   ·He testified that -- I was asking him about people who
 15   Q.·   ·By getting his own contract?                               15   ··    ·he stopped where there were warrants and he didn't
 16   A.·   ·Correct.                                                   16   ··    ·arrest them, even if they were Melvindale, and he said
 17   Q.·   ·Do you recall Nicole Barnes facilitating or trying to      17   ··    ·he would just tell people, you know, "You've got an
 18   ··    ·facilitate a grant on behalf of Goch & Sons for the        18   ··    ·arrest warrant out," and sometimes we could see that was
 19   ··    ·purchase of a new computer for a patrol car?· Were you     19   ··    ·written on the bottom of the tow tag by him.
 20   ··    ·aware of that?                                             20   A.·   ·Right.
 21   A.·   ·I don't know if directly.                                  21   Q.·   ·He said that was his writing.
 22   ··    · · · I know that there were a couple instances where       22   ··    · · · Were you aware of that?
 23   ··    ·Goch was trying to do things for the department. I         23   ··    · · · MS. BALIAN:· Objection.· That wasn't his testimony.
 24   ··    ·don't know if that was under the lines of a grant.· I'm    24   ··    · · · But go ahead and answer.
 25   ··    ·not sure.                                                  25   ··    · · · MS. GORDON:· I'm paraphrasing.
                                                              Page 58                                                                  Page 60
 ·1   Q.·   ·What do you mean by "do things for the department"?        ·1   BY MS. GORDON:
 ·2   A.·   ·Help them obtain equipment and whatnot.                    ·2   Q.· ·Go ahead.
 ·3   Q.·   ·What documentation had to be filled out at the time of a   ·3   A.· ·I would -- after he would come in to fill out the slip
 ·4   ··    ·tow?                                                       ·4   · · ·and after the vehicle was towed and the person was
 ·5   ··    · · · We've got something in this case called "tow tags."   ·5   · · ·already gone, there were times that he did write on
 ·6   A.·   ·Uh-huh.                                                    ·6   · · ·there that the person had Melvindale warrants or Allen
 ·7   Q.·   ·What's that?                                               ·7   · · ·Park warrants or whatnot.
 ·8   A.·   ·For the desk officer?                                      ·8   Q.· ·Okay.· But you're saying that really he should have
 ·9   Q.·   ·Whatever the paperwork is that's generated either by the   ·9   · · ·arrested them at the scene?
 10   ··    ·officer or the desk officer.                               10   A.· ·Unless there were extenuating circumstances, especially
 11   A.·   ·All right.· Well, what -- there is a document that is      11   · · ·a Melvindale warrant.
 12   ··    ·our tow slip.· It has spots to fill in all the vehicle     12   · · · · · MS. GORDON:· Okay.· I'm just going to take like a
 13   ··    ·information, the vehicle, year, the make, the VIN, the     13   · · ·3-minute break, run down hall.
 14   ··    ·color.· There's a little graph of a vehicle on the tow     14   · · · · · · · (Short recess at 11:10 a.m.)
 15   ··    ·slip to mark any damage -- preexisting damage or list      15   · · · · · · · · · · · ·*· ·*· ·*
 16   ··    ·any property that was in the tow slip.                     16   · · · · · · (Record resumed at 11:17 a.m.)
 17   ··    · · · And the person that filled out the tow slip would     17   BY MS. GORDON:
 18   ··    ·normally -- the desk officer would sign their name to      18   Q.· ·Okay.· You mentioned earlier, Lieutenant, some
 19   ··    ·it, and then the officer that towed the vehicle would      19   · · ·discipline with regard to Officer Furman.· I've got a
 20   ··    ·sign it also.· Or they would -- or the desk officer        20   · · ·few questions a little more specifically about that.
 21   ··    ·would put that officer's name as the towing officer on     21   · · · · · We have some paperwork on the discipline as well,
 22   ··    ·it.                                                        22   · · ·and I can see that on February 28, 2016, Furman towed a
 23   Q.·   ·Did you typically see those when you were working your     23   · · ·woman named Cecilia -- I've got her as Cecilia W. I
 24   ··    ·shift?                                                     24   · · ·think it was Wielichowski or something to that effect
 25   A.·   ·That was part of my responsibilities as the desk           25   · · ·and that she had a newborn and that the weather was

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 ·1   · · ·inclement.                                                   ·1   Q.·   ·And Corporal Hinojosa was --
 ·2   · · · · · Is that the incident you mentioned earlier?             ·2   A.·   ·Right.· Dispatched to the call.
 ·3   A.· ·I believe so, yes.                                           ·3   ··    · · · So, this would be the incident, yes.
 ·4   Q.· ·Okay.· And --                                                ·4   Q.·   ·Okay.· On the second page, it says:
 ·5   · · · · · · ·(Discussion held off the record.)                    ·5   ··    · · · · · ·"You arrested the driver and failed to
 ·6   BY MS. GORDON:                                                    ·6   ··    · · · follow the listed rules and regulations as
 ·7   Q.· ·Okay.· So, I've got some paperwork.· I'll start with the     ·7   ··    · · · adopted by the Public Safety Commission,
 ·8   · · ·investigation paperwork.· It's from Chad Hayse -- I'm        ·8   ··    · · · Section 2, Number 4, Handcuff; Number 5, Search
 ·9   · · ·sorry.· Yeah.                                                ·9   ··    · · · the Prisoner; and 6, Transport Prisoner to
 10   · · · · · From Chad Hayse.· It's with regard to a Furman          10   ··    · · · Police Station."
 11   · · ·investigation.· I'm going to hand you this document.         11   ··    · · · Do you see that?
 12   · · ·It's Bates stamp 1440 and 1441.                              12   A.·   ·Yes.
 13   · · · · · I don't know whether you've seen that before or         13   Q.·   ·Do you recall being aware of Furman not having done
 14   · · ·not.· Take a second and look at it.                          14   ··    ·these things?
 15   · · · · · MS. GORDON:· (Producing document.)                      15   A.·   ·Yes.· This is the woman that came into the station and
 16   · · · · · MS. BALIAN:· Thank you.                                 16   ··    ·stated that Officer Furman had thrown her on the ground
 17   A.· ·I believe I'm familiar with some of the circumstances        17   ··    ·and she had her child with her, and she was waiting for
 18   · · ·but I do not think that I saw this document.                 18   ··    ·someone to pick her up.
 19   BY MS. GORDON:                                                    19   Q.·   ·Okay.· If you go back to the first page, the third
 20   Q.· ·Do you remember Furman being suspended in April for          20   ··    ·paragraph talks about:
 21   · · ·three days?                                                  21   ··    · · · · · ·"Lieutenant Welch and other supervisors
 22   A.· ·I don't remember if he actually got the time off or if       22   ··    · · · have Advised you in the past about towing
 23   · · ·they took it -- he was able to forfeit the time out of       23   ··    · · · vehicles with sick, elderly or children in
 24   · · ·his bank.· I don't remember.                                 24   ··    · · · the vehicle."
 25   Q.· ·He was later.· He was later.· That is correct.               25   A.·   ·Yes.
                                                              Page 62                                                                  Page 64
 ·1   A.·   ·Okay.· I think those are the circumstances I remember,     ·1   Q.·   ·And it says:
 ·2   ··    ·but I --                                                   ·2   ··    · · · · · ·"On February 28, you towed a vehicle after
 ·3   Q.·   ·Okay.                                                      ·3   ··    · · · removing children.· The driver was on her cell
 ·4   A.·   ·-- as far as him being off.                                ·4   ··    · · · phone.· You ordered her from the vehicle several
 ·5   ··    · · · But I thought he had just lost time.                  ·5   ··    · · · times and forcibly removed her by using a
 ·6   Q.·   ·Okay.· So, if you go to the bottom of this first page,     ·6   ··    · · · transport wrist lock and secured both of her
 ·7   ··    ·it says:                                                   ·7   ··    · · · wrists behind her back while forcing her over
 ·8   ··    · · · · · ·"The driver came to the police station           ·8   ··    · · · the hood of the vehicle.· You placed the driver
 ·9   ··    · · · and complained to Lieutenant Welch that you           ·9   ··    · · · under arrest.· You failed to report the arrest
 10   ··    · · · had assaulted her in front of her children."          10   ··    · · · to your supervisor, Lieutenant Welch.· You did
 11   ··    · · · Is that what you were talking about earlier,          11   ··    · · · not process the prisoner, but instead released
 12   ··    ·Lieutenant?                                                12   ··    · · · her with a citation for no insurance.
 13   A.·   ·No.· I was --                                              13   ··    · · · · · ·In my opinion, it was not necessary to
 14   Q.·   ·Somebody coming to the station, or is this somebody        14   ··    · · · remove the woman from the vehicle instead of
 15   ··    ·different?                                                 15   ··    · · · allowing her to complete her telephone call."
 16   A.·   ·I'm trying to remember if this is the same -- is this      16   ··    · · · I'll stop right there.
 17   ··    ·the -- is this the incident on Schaefer Highway?           17   ··    · · · Is this paragraph accurate that you and other
 18   Q.·   ·Well, yes.                                                 18   ··    ·supervisors had advised Furman in the past about towing
 19   A.·   ·Or is this something else?                                 19   ··    ·vehicles with sick, elderly or children?
 20   Q.·   ·The stop was conducted on Schaefer.                        20   A.·   ·Yes.
 21   A.·   ·Okay.· Then this was probably -- and what was the name     21   Q.·   ·Okay.· And is it correct with regard to he -- Furman
 22   ··    ·of the person?                                             22   ··    ·failed to report the arrest to his supervisor?
 23   Q.·   ·This document shows her as "Cecilia."                      23   A.·   ·Well, he -- the issue was there he used force against
 24   A.·   ·That sounds like maybe that might be the name of the       24   ··    ·the citizen.
 25   ··    ·person, and then they're talking about --                  25   Q.·   ·Uh-huh.

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 ·1   A.·   ·Any time that you use force, the circumstances -- to       ·1   · · ·Lieutenant Welch from Corporal -- no.· I'm sorry.
 ·2   ··    ·properly use force, the circumstances have to be           ·2   · · · · · · ·(Discussion held off the record.)
 ·3   ··    ·appropriate to use that force.· And if they're to that     ·3   BY MS. GORDON:
 ·4   ··    ·level where you have to use physical force against         ·4   Q.· ·Okay.· So, now I've got a document dated 3-1-2016.· This
 ·5   ··    ·someone, they better be under arrest.· You just can't      ·5   · · ·is a different event where apparently Chief Hayse had
 ·6   ··    ·put your hands on people in the street and play catch      ·6   · · ·requested that Furman explain himself.· And it starts
 ·7   ··    ·and release.· If that person did something to the level    ·7   · · ·with -- I'm going to give you a different Bates number.
 ·8   ··    ·that required you to use physical force against them,      ·8   · · ·It starts with 1454.· It's a memo to you from Corporal
 ·9   ··    ·then you need to bring them to jail.                       ·9   · · ·Hinojosa.
 10   Q.·   ·What is a transport wrist lock?                            10   A.· ·Yes, I remember this document.
 11   A.·   ·There is a -- it's a technique where you basically take    11   Q.· ·Okay.· All right.· And here is Bates stamp 1448 to
 12   ··    ·control of the person's arm, and you're able to use        12   · · ·Lieutenant Welch from Corporal Furman, 3-1-16.
 13   ··    ·leverage or pain compliance to get them to come out or     13   · · · · · Take a look at that and just refresh your
 14   ··    ·do what you want them to do.                               14   · · ·recollection.
 15   Q.·   ·Did you become aware that this discipline was being        15   A.· ·Yeah, I remember this document.
 16   ··    ·issued to Furman at some point?                            16   Q.· ·So, was Furman asked to give you an explanation?
 17   A.·   ·Well, yeah.· I did -- I did hear that he had lost some     17   A.· ·I requested that Furman give me a letter about what
 18   ··    ·time later on.                                             18   · · ·happened on that traffic stop after the lady had come in
 19   Q.·   ·Okay.                                                      19   · · ·to complain.
 20   A.·   ·But other than advising Chad Hayse about the situation,    20   · · · · · And then, because Corporal Hinojosa was also
 21   ··    ·he took -- he took the situation and handled it from       21   · · ·dispatched to that call, I requested that he document
 22   ··    ·there.· And then I believe I heard later on that Furman    22   · · ·what happened also.
 23   ··    ·had lost a couple days in regards to the situation.        23   Q.· ·If you don't mind, take a look at this document.· I'm
 24   Q.·   ·Okay.· As you understood it, was part of the goal of the   24   · · ·just going to ask you your reaction to what -- how
 25   ··    ·memo to Furman, even though he didn't actually end up      25   · · ·Furman explained himself as his commanding officer.
                                                              Page 66                                                                Page 68
 ·1   · · ·using days, to advise him to use better judgment and to      ·1   A.· ·After reading his statement, I would come to the
 ·2   · · ·listen to --                                                 ·2   · · ·conclusion that there would be a better way to handle
 ·3   A.· ·Of which memo?                                               ·3   · · ·this.· You could probably let the lady calm down a
 ·4   Q.· ·The one I just -- that you've got in front of you.           ·4   · · ·little bit and give her an opportunity to get out of her
 ·5   A.· ·This one?                                                    ·5   · · ·vehicle and not use physical force.· This -- it wasn't
 ·6   Q.· ·Yeah.                                                        ·6   · · ·handled properly.
 ·7   · · · · · MS. BALIAN:· Objection.· Lack of foundation.            ·7   Q.· ·Okay.
 ·8   BY MS. GORDON:                                                    ·8   A.· ·And if she -- he had already called for Corporal
 ·9   Q.· ·Do you view that as a memo that is giving, you know,         ·9   · · ·Hinojosa to respond to the situation.· Oftentimes if a
 10   · · ·counseling to Furman, as well as discipline, which he        10   · · ·citizen is angry with an officer, if someone else comes
 11   · · ·didn't end up having to lose time for?                       11   · · ·to the location, you can normally get them to cooperate
 12   · · · · · MS. BALIAN:· Objection.· Lack of foundation and         12   · · ·because they're not mad at the other officer.
 13   · · ·calls for speculation.                                       13   · · · · · · ·(Discussion held off the record.)
 14   A.· ·Well, this document would be advising Matt Furman as         14   BY MS. GORDON:
 15   · · ·this -- for the circumstances of why he was being            15   Q.· ·Okay.· So, here I have a memo to Furman from Chad Hayse
 16   · · ·disciplined, and the circumstances around it and telling     16   · · ·with regard to tow requests.
 17   · · ·that officers -- supervisors have made multiple efforts      17   A.· ·Yeah.· I'm familiar with that document.· I spoke with
 18   · · ·to get him to use better discretion.                         18   · · ·him about it before it was issued.
 19   BY MS. GORDON:                                                    19   Q.· ·You spoke to --
 20   Q.· ·Do you agree that that memo dated April 25th, 2016,          20   A.· ·Chad Hayse about it.
 21   · · ·Bates stamp 1440, produced to us by the City, would have     21   Q.· ·Okay.· And what did you discuss?
 22   · · ·been an appropriate thing for the chief to give Furman       22   A.· ·I thought it was a good idea.
 23   · · ·under these circumstances?                                   23   Q.· ·Explain.
 24   A.· ·Yes.                                                         24   A.· ·He refused to use any common sense.· He was out there
 25   Q.· ·Let me hand you Bates stamp produced by the City 1448 to     25   · · ·working like a robot.· I mean, every traffic stop, every

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 ·1   ··    ·encounter with a citizen, I think you should weigh the     ·1   A.·   ·Well, there were multiple situations where he was
 ·2   ··    ·circumstances, and some situations have some compassion    ·2   ··    ·putting people out on the street that he shouldn't.
 ·3   ··    ·for the people that you're dealing with.· It didn't        ·3   ··    · · · So, if you made him stop and think about what he
 ·4   ··    ·matter to him what their circumstances were.· He was       ·4   ··    ·was doing before he did it, because if he knew he had to
 ·5   ··    ·putting old ladies out on the street, people that had      ·5   ··    ·let us know and there's a chance we might tell him no,
 ·6   ··    ·just had surgery, people with kids.· You can't be a        ·6   ··    ·then maybe he would make the right decision on the
 ·7   ··    ·robot out there.· You have to use discretion.· And the     ·7   ··    ·street before calling the station to let us know.· That
 ·8   ··    ·purpose of this letter was to make him stop and think      ·8   ··    ·was the purpose of it.
 ·9   ··    ·about what he was doing instead of working like a robot.   ·9   Q.·   ·What about gender and age?
 10   ··    ·Stop, think about what you're doing, and if you've got     10   A.·   ·He --
 11   ··    ·to call in and explain yourself, then you should be able   11   Q.·   ·You're talking about --
 12   ··    ·to justify what you're doing, because he wouldn't          12   A.·   ·There had better be a darn good reason why you're
 13   ··    ·listen.                                                    13   ··    ·putting a 70-some-year-old lady, frail old lady on the
 14   Q.·   ·Okay.· And with regard to driver gender and age, number    14   ··    ·street miles from her home.· A real good reason.
 15   ··    ·of occupants and ages, the reason for the tow, what was    15   Q.·   ·And how about children?· Same thing?
 16   ··    ·that about?                                                16   A.·   ·Yes.
 17   ··    · · · What was --                                           17   Q.·   ·Number of occupants, what is that going to?· What are
 18   A.·   ·That was to get him to consider the circumstances          18   ··    ·you trying to avoid there?
 19   ··    ·surrounding his traffic stop and to use some judgment      19   A.·   ·Well, that would probably tie into having a car load of
 20   ··    ·and some common sense.· Just because you can tow the car   20   ··    ·kids.
 21   ··    ·doesn't always mean you should.                            21   ··    · · · My years on the road, there were many times on just
 22   ··    · · · It was an attempt to get him to think about what      22   ··    ·a simple traffic stop or driving on suspended, based
 23   ··    ·he's doing and not just worry about getting a stat.        23   ··    ·upon who was in the vehicle, the circumstances
 24   Q.·   ·So, the City -- I'm paraphrasing the City's position in    24   ··    ·surrounding it, I let them drive away.
 25   ··    ·this case, but I've sat through a lot of depositions and   25   Q.·   ·And why would you do that?
                                                              Page 70                                                                  Page 72
 ·1   ··    ·what people like Nicole Barnes and the mayor say is this   ·1   A.·   ·Because it was the right thing to do.
 ·2   ··    ·would have caused Furman to have to discriminate against   ·2   Q.·   ·For their safety?· For their well-being?· Because they
 ·3   ··    ·people on the basis of gender, "race" -- I heard the       ·3   ··    ·weren't a threat?· What?
 ·4   ··    ·word "race" used in here -- and age.                       ·4   A.·   ·Yeah.· So, you've got a mother that's got three kids in
 ·5   ··    · · · So, what is your takeaway on that?                    ·5   ··    ·the car that has an unpaid speeding ticket, so has a
 ·6   A.·   ·That's not accurate.· That's not the intent of this        ·6   ··    ·failure to comply with judgment and suspension out of
 ·7   ··    ·letter, and that's not what he was told.                   ·7   ··    ·30 -- out of the Detroit court, 36th District Court, for
 ·8   ··    · · · You can take and spin it any way you want, but it     ·8   ··    ·example.
 ·9   ··    ·is an attempt to get him to use discretion, which he       ·9   ··    · · · So, you're going to put a mother and children out
 10   ··    ·refused to do.                                             10   ··    ·on the street over something like that?
 11   Q.·   ·So, he says, "Well, I was the only one that had to call    11   ··    · · · It's wrong.
 12   ··    ·in."                                                       12   Q.·   ·Okay.· Did you hear of any pushback from Furman about
 13   A.·   ·Because he was the one not using discretion.· He was the   13   ··    ·this memo that was issued on April 26th?· Did you get a
 14   ··    ·one getting all the complaints, and he was the one that    14   ··    ·reaction from him or anybody else?
 15   ··    ·was assaulting people.                                     15   A.·   ·I don't recall him saying -- I kind of got the
 16   Q.·   ·Was this memo designed, from what you could tell, to try   16   ··    ·impression that he didn't like it, but I don't think he
 17   ··    ·to protect the department in some way from complaints,     17   ··    ·stated anything specifically to me about it.
 18   ··    ·lawsuits and the like?                                     18   Q.·   ·Okay.· Did he start calling, if you remember, or no?
 19   A.·   ·Yes.· This was for the best interests of the department    19   A.·   ·I -- yeah, I recall him calling in.
 20   ··    ·and for his career.                                        20   Q.·   ·Do you remember him being denied tows and being told,
 21   Q.·   ·And how would gender and age come into play with regard    21   ··    ·"Hey, no, don't tow"?· Do you remember that happening?
 22   ··    ·to calling in?                                             22   A.·   ·Not that I can remember off the top of my head.
 23   A.·   ·Putting --                                                 23   Q.·   ·Okay.
 24   Q.·   ·I know you did have one older woman.· I don't know if      24   A.·   ·Which would probably indicate that it was working.
 25   ··    ·that's what triggered this or not --                       25   Q.·   ·Okay.· Okay.· Then Furman was suspended without pay on

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 ·1   · · ·July 5th, 2016.                                              ·1   ··    · · · I took the initial statements from the officers
 ·2   · · · · · I'm sorry.· With pay originally, and then I think       ·2   ··    ·that were there with him and turned them over to the
 ·3   · · ·it was later changed.                                        ·3   ··    ·chief.
 ·4   · · · · · This involves an individual named Richard Crosslin.     ·4   Q.·   ·You see from the exhibit that I just handed you, Hayse
 ·5   A.· ·Okay.· Is Crosslin the guy that he tackled?                  ·5   ··    ·940, Corporal Furman responded in writing to Chief Hayse
 ·6   · · · · · MS. BALIAN:· You can't ask questions.                   ·6   ··    ·about what he had been -- a complaint that had been
 ·7   BY MS. GORDON:                                                    ·7   ··    ·filed against him; correct?· At the very top?
 ·8   Q.· ·I'm going to let you look at this.                           ·8   A.·   ·Correct.
 ·9   A.· ·Okay.                                                        ·9   ··    · · · I believe what this is, is Chief Hayse addressed
 10   Q.· ·And then we'll see if I can refresh your recollection.       10   ··    ·the matter to him and advised Corporal Furman to respond
 11   · · · · · This is to Hayse from Furman.· It's Bates stamp 940     11   ··    ·in writing his account of the incident.
 12   · · ·through 943?                                                 12   Q.·   ·Okay.· And then here is the other one.
 13   · · · · · MS. BALIAN:· Can I just see -- I'm sorry.               13   ··    · · · This is -- I think you've discussed this briefly
 14   A.· ·Go ahead.                                                    14   ··    ·before that the state police investigated.· I'll hand
 15   · · · · · Yeah.· That is the incident that I'm speaking of.       15   ··    ·you Hayse 928.· It's a series of e-mails.· I don't know
 16   BY MS. GORDON:                                                    16   ··    ·if you've seen these before or not.
 17   Q.· ·That is the incident.                                        17   A.·   ·No.· No, I have not.
 18   · · · · · Were you aware of a suspension over this?               18   Q.·   ·Who is Brandon Nolin, if you look at the very bottom of
 19   A.· ·Yes.                                                         19   ··    ·the page?
 20   Q.· ·Okay.· Did you discuss that with the chief?                  20   A.·   ·He's an officer with Melvindale.
 21   A.· ·Yes, I did.                                                  21   Q.·   ·Okay.· So, have you ever seen this write-up from Brandon
 22   Q.· ·Okay.· Tell me what you discussed.                           22   ··    ·Nolin, which is attached?
 23   A.· ·Well, at that time, he was under investigation from the      23   ··    · · · If you go on to the next page, he's writing to
 24   · · ·state police for another assaultive incident.· This one      24   ··    ·Sunshine Ponzetti about what occurred.
 25   · · ·happened.· This is the incident that I spoke of earlier      25   A.·   ·I've never seen this document, no.
                                                              Page 74                                                                  Page 76
 ·1   ··    ·that Officer Lane and Officer Ginther responded to, and    ·1   Q.· ·Okay.· It does reference Lieutenant Allen.
 ·2   ··    ·they brought their concerns to me about it.                ·2   · · · · · Were you aware that Lieutenant Allen observed the
 ·3   Q.·   ·What did they say?                                         ·3   · · ·events with this particular individual whose head was
 ·4   A.·   ·They said what he did was wrong.· It was unnecessary       ·4   · · ·bounced against the car or whatever the verbiage is that
 ·5   ··    ·force used against that person that they were compliant.   ·5   · · ·goes with that?
 ·6   ··    · · · That he was compliant.· I'm sorry.                    ·6   A.· ·Yes.· Yes.· He was present.
 ·7   Q.·   ·Okay.· So, this is now the third one you've had in -- I    ·7   · · · · · The -- Brandon Nolin -- Lieutenant Allen, at the
 ·8   ··    ·think since April 2016.                                    ·8   · · ·time, was in charge of the detective bureau.· Brandon
 ·9   ··    · · · Does that sound correct?                              ·9   · · ·Nolin was assigned to the detective bureau.· When they
 10   A.·   ·Approximately, yeah.                                       10   · · ·called out that they were in a foot chase, the
 11   Q.·   ·Okay.· So, you had a concern about what to do about        11   · · ·detectives responded from the station to assist.
 12   ··    ·him --                                                     12   Q.· ·Did you hear any -- did you get any pushback or hear of
 13   A.·   ·Yes.                                                       13   · · ·any pushback about Furman -- either from Furman or
 14   Q.·   ·-- with regard to --                                       14   · · ·anybody else involved with the City of Melvindale with
 15   A.·   ·I -- I expressed to Chad Hayse that this situation has     15   · · ·regard to these disciplines or counselings that he was
 16   ··    ·gotten out of control, and it's something that needed to   16   · · ·receiving?
 17   ··    ·be addressed.                                              17   · · · · · MS. BALIAN:· On what?
 18   Q.·   ·And did the chief agree?                                   18   · · · · · MS. GORDON:· On the counselings or disciplines
 19   A.·   ·Yes.                                                       19   · · ·Furman was receiving.
 20   Q.·   ·Did you become aware that Furman was then suspended --     20   · · · · · MS. BALIAN:· For this?
 21   ··    ·or not suspended, but at least put off work with pay?      21   · · · · · MS. GORDON:· No.· Any of these that we've covered.
 22   A.·   ·Yes.                                                       22   A.· ·I don't recall any -- from City officials or anything?
 23   Q.·   ·Was there an investigation; if you recall?                 23   · · ·I don't --
 24   A.·   ·I did not have a hand in the investigation.· I'm not       24   BY MS. GORDON:
 25   ··    ·sure what transpired in regards to this incident.          25   Q.· ·Any -- well, from Furman or from any city council

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 ·1   · · ·members that expressed displeasure or anybody else?          ·1   A.·   ·I had heard that the city council had approved funds to
 ·2   A.· ·I -- I did not have contact with any city council            ·2   ··    ·do so, but I don't know who Lawrence Jackson is.
 ·3   · · ·members or really anyone from the City in regards to         ·3   Q.·   ·Did you know he was interviewing officers?
 ·4   · · ·this, no.                                                    ·4   A.·   ·No, I did not.
 ·5   · · · · · · ·(Discussion held off the record.)                    ·5   Q.·   ·Were you aware that towing -- strike that.
 ·6   BY MS. GORDON:                                                    ·6   ··    · · · Did you ever hear Furman say he was not going to do
 ·7   Q.· ·Okay.· Did you become aware that there was a request for     ·7   ··    ·towing?
 ·8   · · ·Furman, as part of his discipline or counseling, to          ·8   A.·   ·When Matt Furman would get complaints -- citizen
 ·9   · · ·obtain a psychological evaluation by the city                ·9   ··    ·complaints or he was being disciplined, he would state
 10   · · ·psychologist?                                                10   ··    ·that he wasn't going to "because if I don't tow
 11   · · · · · MS. BALIAN:· Objection.· Misstates facts not in         11   ··    ·anything, I don't have contact with the public, then I
 12   · · ·evidence.                                                    12   ··    ·can't get in trouble."· So --
 13   BY MS. GORDON:                                                    13   Q.·   ·So, how did you view that position on his part?
 14   Q.· ·Go ahead.                                                    14   A.·   ·Well, the logic is pretty silly, but if you just were
 15   A.· ·I believe that he was sent to see Dr. Clark.· I think it     15   ··    ·doing your job, then you wouldn't get in trouble.· If
 16   · · ·was something that Chad Hayse did to try and figure          16   ··    ·you were using discretion, you wouldn't get complaints.
 17   · · ·things out.                                                  17   ··    · · · I take that back.· You will always get some
 18   Q.· ·Okay.· Who did you understand Dr. Clark was at the time?     18   ··    ·complaints because you're telling people what they don't
 19   A.· ·Dr. Clark is the -- and still is the police department       19   ··    ·want to hear and doing things that they don't want to
 20   · · ·psychologist used for our hiring process or whatever         20   ··    ·do, but they're very infrequent if you handle yourself
 21   · · ·that we may need.                                            21   ··    ·and you treat people with respect.
 22   Q.· ·Okay.· So, he is somebody that is paid by the City to        22   Q.·   ·When did you first meet Larry Coogan?
 23   · · ·evaluate officers or potential officers when necessary?      23   A.·   ·I met Larry Coogan when he started working for the City
 24   A.· ·Right.· Or if involved in a critical situation, you          24   ··    ·as the one of the corporate counsel.
 25   · · ·know, for counseling and whatnot.· He's who we use.          25   Q.·   ·Did you work with him from time to time?
                                                              Page 78                                                                  Page 80
 ·1   Q.·   ·Okay.· And does that happen from time to time that         ·1   A.·   ·In the detective bureau occasionally I would deal with
 ·2   ··    ·officers need counseling?                                  ·2   ··    ·him at court if we had a City case, a hearing.
 ·3   A.·   ·Yes.                                                       ·3   Q.·   ·Any other times later or toward the end of your career
 ·4   Q.·   ·Okay.· And is it possible for a supervisor to recommend    ·4   ··    ·when you dealt with him?
 ·5   ··    ·them for counseling?                                       ·5   A.·   ·He oversaw a disciplinary hearing that I undertook.
 ·6   A.·   ·A supervisor would probably speak to the chief about it,   ·6   Q.·   ·Okay.· Were you aware -- well, I'll hand you Hayse
 ·7   ··    ·and the chief would do so.                                 ·7   ··    ·Exhibit 172.
 ·8   Q.·   ·Do you understand that the chief has the ability to have   ·8   ··    · · · It's a letter to Chief Chad Hayse from Lawrence
 ·9   ··    ·an officer be evaluated or go for counseling as part of    ·9   ··    ·Coogan with a copy to mayor and council and Ortiz and
 10   ··    ·a discipline or something else?                            10   ··    ·Public Safety, stating:
 11   A.·   ·I've seen it happen where officers have been in            11   ··    · · · · · ·"On July 25th, I wrote a letter to you
 12   ··    ·situations and that the chief has requested that they      12   ··    · · · requesting you provide me all documents or
 13   ··    ·speak with the psychologist, yes.                          13   ··    · · · writings regarding or concerning the alleged
 14   ··    · · · I've seen it a couple times during my career there.   14   ··    · · · misconduct of Officer Furman.· In addition, I
 15   Q.·   ·What's the purpose of that as you understand it?           15   ··    · · · requested the names and contact information
 16   A.·   ·Probably to help that officer, to see if they have some    16   ··    · · · of all persons and governmental agencies who
 17   ··    ·underlying issue that needs help.                          17   ··    · · · have performed any investigation."
 18   ··    · · · We had a situation where Chief Difatta had an         18   ··    · · · So, you see he's asking the chief for all
 19   ··    ·officer see Dr. Clark about his drinking problem.          19   ··    ·information regarding any alleged misconduct of Furman;
 20   Q.·   ·Okay.· Have you ever seen any reports from Dr. Clark --    20   ··    ·correct?
 21   A.·   ·No.                                                        21   A.·   ·Yes.
 22   Q.·   ·-- with regard to officers?                                22   Q.·   ·Okay.· Were you aware of this previously?
 23   ··    · · · Were you aware that Lawrence Jackson was hired by     23   A.·   ·I think I had heard that he requested.
 24   ··    ·the City of Melvindale to do an analysis of why towing     24   ··    · · · I've never seen the document, but I think I heard
 25   ··    ·was down?                                                  25   ··    ·Chad Hayse say that he requested it.

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 ·1   Q.·   ·Okay.· Do you know of any reason why the counsel for the   ·1   ··    ·for the weekend.· Furman was advised to contact Chief
 ·2   ··    ·City would be requesting from the chief all alleged        ·2   ··    ·Hayse when he got back into town, I believe on Monday.
 ·3   ··    ·misconduct -- documents relating to all alleged            ·3   ··    ·He was going out of town for a conference.
 ·4   ··    ·misconduct of Officer Furman based on your years with      ·4   ··    · · · It was alleged -- and I don't know if it was
 ·5   ··    ·the City?                                                  ·5   ··    ·true -- that he never received a written reason why he
 ·6   A.·   ·I've never seen this before.· Never seen it happen.        ·6   ··    ·was being suspended.· I don't know if that's true or
 ·7   Q.·   ·Do you -- sitting here today, can you -- I mean, we all    ·7   ··    ·not.
 ·8   ··    ·know what happened.· We all know that the end of the       ·8   Q.·   ·Which suspension was that?
 ·9   ··    ·story is all Furman's discipline was removed.              ·9   A.·   ·When he was suspended the second time with pay after the
 10   A.·   ·Yes.                                                       10   ··    ·Crosslin incident.
 11   Q.·   ·Made null and void.                                        11   Q.·   ·Was he told verbally?
 12   ··    · · · Do you have any idea why Lawrence Coogan would be     12   A.·   ·He was told verbally, yes.· John Allen was -- I was
 13   ··    ·trying to obtain information about Furman's proposed or    13   ··    ·present in the room, in the chief's office, and he was
 14   ··    ·alleged misconduct?                                        14   ··    ·told he was being suspended.· I don't remember exactly
 15   A.·   ·I don't know.· I heard rumblings.· And I don't have        15   ··    ·the verbiage that John Allen gave, but I remember
 16   ··    ·names, but I did hear people saying stuff to the effect    16   ··    ·advising Furman to get a hold of the chief Monday
 17   ··    ·that Furman was in contact with Coogan who was giving      17   ··    ·morning when he gets back into work.
 18   ··    ·him legal advice.                                          18   Q.·   ·Okay.· So, let's say hypothetically that he should have
 19   Q.·   ·And who was responsible for discipline of members of the   19   ··    ·been advised in writing.
 20   ··    ·police department?                                         20   ··    · · · I presume that could be corrected if it had not
 21   A.·   ·The police chief is responsible for doing the              21   ··    ·occurred by, at a later time, giving -- you know,
 22   ··    ·investigation, and then, if it rises to the level of       22   ··    ·holding off on his suspension and, at a later time,
 23   ··    ·suspension, termination, demotion, he is supposed to       23   ··    ·giving him something in writing?
 24   ··    ·turn that over to the Safety Commission who would then     24   A.·   ·Well, ideally, from -- looking at it from a union
 25   ··    ·have a hearing to determine his punishment.                25   ··    ·standpoint, they should have been -- the person should
                                                              Page 82                                                                  Page 84
 ·1   Q.· ·Okay.                                                        ·1   · · ·have been advised in writing.· But that would be
 ·2   A.· ·If it was a minor situation where he might get a day off     ·2   · · ·something that that officer might contest later on down
 ·3   · · ·or a couple days off, the chief would be able to do that     ·3   · · ·the line in a grievance procedure.
 ·4   · · ·arbitrarily.· But a major incident goes to the Safety        ·4   Q.· ·Okay.· All right.· Leave aside that procedural issue
 ·5   · · ·Commission.                                                  ·5   · · ·that you've raised.
 ·6   Q.· ·Were you aware that the mayor and members of city            ·6   · · · · · With regard to substance of what Hayse was trying
 ·7   · · ·council were also asking questions about why Furman was      ·7   · · ·to accomplish with regard to counseling and discipline
 ·8   · · ·being disciplined and looking into it?                       ·8   · · ·of Furman, was he acting appropriately based on your
 ·9   A.· ·I'm sorry.· Could you restate your question?                 ·9   · · ·experience with the department?
 10   Q.· ·Okay.· I will -- I'll rephrase it.                           10   A.· ·Was the chief acting properly based on the circumstances
 11   · · · · · Did there come a time when you became aware that        11   · · ·at that time?
 12   · · ·the city council was upset about Furman being criticized     12   Q.· ·Yes.
 13   · · ·or disciplined?                                              13   A.· ·Yes.
 14   · · · · · MS. BALIAN:· Objection.· States facts not in            14   · · · · · · ·(Discussion held off the record.)
 15   · · ·evidence.                                                    15   BY MS. GORDON:
 16   A.· ·I did not hear anything from -- about the city               16   Q.· ·Okay.· Did you know that one of the charges against the
 17   · · ·politicians in regards to Furman.· Not that I know of.       17   · · ·chief and the complaint against him to fire him was
 18   BY MS. GORDON:                                                    18   · · ·called "willful misconduct in office by improper
 19   Q.· ·Do you know of anything Chief Hayse did improperly or        19   · · ·issuance of discipline upon Corporal Matthew Furman" and
 20   · · ·incorrectly with regard to any of his counseling or          20   · · ·that that was a so-called "terminable offense"?
 21   · · ·discipline of Furman based on your years with the            21   A.· ·I'm -- I didn't -- I'm not aware of every specific
 22   · · ·department?                                                  22   · · ·charge that he was charged with.
 23   A.· ·The only thing that ever came to light -- and I don't        23   · · · · · I knew they had made an issue, but I didn't know
 24   · · ·know if -- whatever happened -- was that when Furman was     24   · · ·what the term was or whatnot.
 25   · · ·suspended, Chad Hayse had -- was on his way out of town      25   Q.· ·Uh-huh.

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 ·1   ··    · · · Did you ever see the Amended Formal Complaint         ·1   ··    · · · · · ·The factors within the control of the City
 ·2   ··    ·lodged against the chief by Nicole Barnes and the city     ·2   ··    · · · and police department include police staffing,
 ·3   ··    ·council?· You know, the packet of wrongdoing by Chief      ·3   ··    · · · policy, procedures, and possibly other internal
 ·4   ··    ·Hayse?                                                     ·4   ··    · · · factors.· The focus of this review was limited
 ·5   A.·   ·No.                                                        ·5   ··    · · · to those variables which can be controlled by
 ·6   Q.·   ·Okay.· Back to Lawrence Johnson -- Jackson, who was        ·6   ··    · · · the City."
 ·7   ··    ·hired by the city council and apparently knows Lawrence    ·7   ··    · · · So, I'll stop right there and ask you if you know
 ·8   ··    ·Coogan.· That's how he came to be retained for this job.   ·8   ··    ·what variables can be controlled by the City with regard
 ·9   ··    · · · He was given the job of determining the reason for    ·9   ··    ·to the number of tows?
 10   ··    ·the fluctuation in towing activity by the Melvindale       10   A.·   ·The variables that can be controlled by the City?
 11   ··    ·Police Department.                                         11   Q.·   ·That's what he's saying.· He wanted to look at that.
 12   ··    · · · Were you aware that somebody had been hired to        12   A.·   ·Well, the number of vehicles towed depends on the number
 13   ··    ·provide a report on that?                                  13   ··    ·of traffic stops made and the officer's discretion
 14   A.·   ·Yes.                                                       14   ··    ·whether or not to tow a car.· They can tow one car in a
 15   Q.·   ·Okay.· How did you become aware of that?                   15   ··    ·day; they can tow zero; they can tow ten.· It matters --
 16   A.·   ·I believe I heard people talking about it after            16   ··    ·it varies from day-to-day.
 17   ··    ·attending the city council meeting.· I was not present     17   Q.·   ·Okay.· The next paragraph says:
 18   ··    ·at that meeting.                                           18   ··    · · · · · ·"Interviews were conducted with members of
 19   Q.·   ·Okay.· As a lieutenant in the department, who was          19   ··    · · · the city administration and the police department.
 20   ··    ·managing road patrol officers and towing, were you ever    20   ··    · · · Information regarding Goch & Sons Towing was
 21   ··    ·contacted by Lawrence Jackson to -- for him to obtain      21   ··    · · · solicited from members of the patrol division."
 22   ··    ·information from you with regard to this issue of why      22   ··    · · · Again, you've already said you weren't interviewed;
 23   ··    ·there was a fluctuation in towing activity?                23   ··    ·correct?
 24   A.·   ·I've never met the gentleman.                              24   A.·   ·Correct.
 25   Q.·   ·Were you aware he did meet with certain selected           25   Q.·   ·Did you hear of anybody that was interviewed?
                                                              Page 86                                                                  Page 88
 ·1   · · ·officers in order to generate a report for Lawrence          ·1   A.·   ·No.
 ·2   · · ·Coogan and the council?                                      ·2   Q.·   ·How many officers are there at Melvindale, or were there
 ·3   A.· ·No, I was not aware.                                         ·3   ··    ·at this time, 2016, roughly?
 ·4   · · · · · If the gentleman wanted the tow stats, I could have     ·4   A.·   ·Maybe 25 from top to bottom.
 ·5   · · ·printed them off on the computer for him in about            ·5   Q.·   ·So, the next paragraph says:
 ·6   · · ·5 minutes.                                                   ·6   ··    · · · · · ·"During these interviews, all officers
 ·7   · · · · · Every vehicle that is towed is logged in the system     ·7   ··    · · · requested anonymity."
 ·8   · · ·with -- coinciding with the report, the officer that         ·8   ··    · · · Do you see that?
 ·9   · · ·towed the vehicle, the time, the location.· I could have     ·9   A.·   ·Yes.
 10   · · ·given him ten years of data.· He never asked me for it.      10   Q.·   ·(Reading.)
 11   Q.· ·Okay.· I'll hand you his "Policy Review."· It's -- it        11   ··    · · · · · ·"The one exception was Corporal Matthew
 12   · · ·begins with City Bates stamp 1273.                           12   ··    · · · Furman.· He agreed to be identified."
 13   · · · · · MS. GORDON:· I think I've got another one, Melinda.     13   ··    · · · Okay.· So, now let's look and see what he says he
 14   · · · · · MS. BALIAN:· Thank you.                                 14   ··    ·did, on the next page.
 15   BY MS. GORDON:                                                    15   ··    · · · He says:
 16   Q.· ·Have you ever seen that?                                     16   ··    · · · · · ·"Four members of the patrol division were
 17   A.· ·I've never seen this, no.                                    17   ··    · · · asked to interview, one declined."
 18   Q.· ·Okay.· So, let's go to the first page, under                 18   ··    · · · So, one of those was Furman.
 19   · · ·"Methodology."· The paragraph says:                          19   ··    · · · Do you have any idea why Mr. Jackson would pick
 20   · · · · · · · ·"Several different factors can affect the          20   ··    ·four officers out of the 24 to interview?
 21   · · · · · number of vehicles impounded and towed within           21   A.·   ·I have no idea, and I don't know why he would pick those
 22   · · · · · the City.· Outside factors include reduced              22   ··    ·ones.
 23   · · · · · traffic, reduction in the number of illegally           23   Q.·   ·Okay.
 24   · · · · · driven vehicles, environment conditions and             24   A.·   ·We don't even know who they are.
 25   · · · · · other factors which are impossible to quantify.         25   Q.·   ·Okay.· Okay.· Let's go down to "Interview Content."

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 ·1   ··    · · · Number one, you see your name appears there?          ·1   ··    · · · witness them calling the mayor a 'bitch,' 'whore,'
 ·2   A.·   ·(No verbal response.)                                      ·2   ··    · · · 'slut' and 'cunt' in the presence of other
 ·3   Q.·   ·(Reading.)                                                 ·3   ··    · · · officers."
 ·4   ··    · · · · · ·"All officers stated that Chad Hayse and         ·4   ··    · · · Now, as you well know, Lieutenant, this of course
 ·5   ··    · · · Lieutenant Welch 'hate' Mike Goch and his             ·5   ··    ·comes up at the Chad Hayse disciplinary hearing, right,
 ·6   ··    · · · company.· All relayed experiences where the           ·6   ··    ·where officers come to the stand and testify to that.
 ·7   ··    · · · chief and lieutenant ordered officers to not          ·7   ··    · · · So, I'm showing you this.· This is where this
 ·8   ··    · · · make that 'fucking Goch' more money."                 ·8   ··    ·originally appeared.
 ·9   ··    · · · See that?                                             ·9   ··    · · · Do you know who would have said this about you
 10   A.·   ·Yes.                                                       10   ··    ·and/or Chief Hayse?
 11   Q.·   ·Okay.· Obviously, you've already covered this, but I       11   A.·   ·I would probably assume it would be Patrick Easton or
 12   ··    ·want to make the record.                                   12   ··    ·Matt Furman.
 13   ··    · · · You were never asked about this by Lawrence           13   ··    · · · I was not in the hearing.· We were all sequestered.
 14   ··    ·Jackson; correct?· He never got your input --              14   ··    ·So --
 15   A.·   ·Never.                                                     15   Q.·   ·Okay.
 16   Q.·   ·-- on what you thought about Mike Goch, whether you        16   A.·   ·I don't know for sure.· I don't know who would say that.
 17   ··    ·hated Mike Goch or anything else?                          17   ··    ·That's my guess.
 18   A.·   ·I don't know who this gentleman is.                        18   Q.·   ·So, they're saying, whoever these interviewees are,
 19   Q.·   ·Okay.· Do you have any idea who from the department        19   ··    ·again, you were not asked about these statements by
 20   ··    ·would have said that you hated Mike Goch and that you      20   ··    ·Lawrence Jackson; correct?
 21   ··    ·ordered officers to not make that "fucking Goch" more      21   A.·   ·Correct.
 22   ··    ·money?· Do you have any idea who would have said that?     22   Q.·   ·Okay.· Had you learned previously that you were being
 23   ··    ·Anybody you can think of?                                  23   ··    ·accused of calling -- or strike that -- disparaging city
 24   A.·   ·My guess would either be Matt Furman or Patrick Easton.    24   ··    ·administrators as being on the take?
 25   Q.·   ·What was with Easton?· Who --                              25   A.·   ·I was not aware of -- that I was being investigated
                                                              Page 90                                                                  Page 92
 ·1   A.·   ·Patrick Easton is good friends with Mike Goch.             ·1   ··    ·until Chad Hayse's hearing when they started asking me
 ·2   Q.·   ·And what is Patrick Easton like as an officer?             ·2   ··    ·questions directly about me.
 ·3   A.·   ·Troubled.                                                  ·3   Q.·   ·Okay.· And what is your response to whether or not you
 ·4   Q.·   ·What do you mean by that?                                  ·4   ··    ·disparaged city administrators, including the city
 ·5   A.·   ·He's gotten in a lot of trouble.                           ·5   ··    ·council and the city attorney -- I guess that would be
 ·6   Q.·   ·Like what?                                                 ·6   ··    ·Coogan -- as being on the take?
 ·7   A.·   ·Demotion, suspension.· He's --                             ·7   A.·   ·I don't know where someone would have came up with that.
 ·8   Q.·   ·For what kind of things?                                   ·8   Q.·   ·Was there talk -- was there talk around the city of Goch
 ·9   A.·   ·He just had a trial board just recently.· He was demoted   ·9   ··    ·& Sons giving money or gifts to people in Melvindale in
 10   ··    ·from sergeant to the lowest ranking patrolman.             10   ··    ·order to retain business and get tows?
 11   Q.·   ·Why was that?                                              11   A.·   ·Well, there were situations where they were trying to
 12   A.·   ·Because of his charges in a hit and run and his conduct    12   ··    ·bring stuff in to the station for the officers, and Chad
 13   ··    ·within the department.                                     13   ··    ·Hayse said that we weren't going to do that and not to
 14   Q.·   ·Did you ever work with him?                                14   ··    ·accept gifts from them.
 15   A.·   ·I worked with him for years.                               15   Q.·   ·Okay.· Did you ever call the mayor a "bitch," "whore,"
 16   Q.·   ·What did you observe about his conduct that would make     16   ··    ·"slut" or "cunt" in the presence of other officers in
 17   ··    ·you think he was troubled?                                 17   ··    ·the department?
 18   ··    · · · Any examples?                                         18   A.·   ·No, I did not.
 19   A.·   ·I believe he was normally dishonest, and he did not have   19   Q.·   ·Did of you ever hear Chad Hayse call the mayor a
 20   ··    ·a good work ethic.                                         20   ··    ·"bitch," "whore," "slut," "cunt" in the presence of
 21   Q.·   ·Okay.· You go to the next page, page 3, paragraph 6:       21   ··    ·other officers in the department?
 22   ··    · · · · · ·"All interviewees related hearing Chief          22   A.·   ·No, not in the presence -- he had never said anything
 23   ··    · · · Hayse and Lieutenant Mike Welch disparaging city      23   ··    ·about anyone else disparaging in front of other
 24   ··    · · · administrators, including the city council, the       24   ··    ·officers.
 25   ··    · · · city attorney as 'being on the take.'· They also      25   Q.·   ·Let's go to 7.

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 ·1   ··    · · · · · ·"All people interviewed mentioned the            ·1   ··    · · · So, let's talk about the officers in general from
 ·2   ··    · · · background checks done by Chief Hayse on              ·2   ··    ·your knowledge in the department.
 ·3   ··    · · · Goch & Sons Towing during the contract bid            ·3   ··    · · · You were there from the time Furman arrived;
 ·4   ··    · · · process.· They felt this proved Chief Hayse           ·4   ··    ·correct?
 ·5   ··    · · · doesn't like Mike Goch since 'he didn't do            ·5   A.·   ·Correct.
 ·6   ··    · · · that for the old tow company.'"                       ·6   Q.·   ·Okay.· So, how did the other officers, from what you
 ·7   A.·   ·That's incorrect because he did.· He did all his           ·7   ··    ·observed, view Furman by 2015?
 ·8   ··    ·information -- he did all his background checks and all    ·8   A.·   ·I think a lot of the officers -- I mean, for the most
 ·9   ··    ·his investigation on both companies, and he presented      ·9   ··    ·part -- I think for the most part everyone got along
 10   ··    ·that, I'm told, to the city council to review, and they    10   ··    ·until all this stuff started coming to a head, and it
 11   ··    ·wouldn't even look at it.                                  11   ··    ·caused kind of a rift in the department.· I think we
 12   Q.·   ·Would it be an appropriate thing for the police            12   ··    ·pretty much had a decent working relationship, a pretty
 13   ··    ·department to do a background check on a contractor who    13   ··    ·good working environment.· Everyone seemed to get along.
 14   ··    ·is going to be working with the police department?         14   ··    ·We were able to joke around with each other back and
 15   A.·   ·It's very appropriate.                                     15   ··    ·forth.
 16   Q.·   ·Okay.· Go to Number 9.                                     16   ··    · · · Once all this stuff with Chad Hayse started
 17   ··    · · · · · ·"One interviewee complained that '4 or           17   ··    ·underway, it caused a lot of tension in the department
 18   ··    · · · 5 times' Lieutenant Welch skipped over the            18   ··    ·and caused a lot of division, and it was mainly Matt
 19   ··    · · · officers' names and assigned the overtime to          19   ··    ·Furman and Pat Easton and everyone else.· So, they kind
 20   ··    · · · himself."                                             20   ··    ·of became their own island.
 21   ··    · · · Who would be saying that?                             21   Q.·   ·So, those -- it was them and then it was everybody else?
 22   A.·   ·That would be Pat Easton.· He would complain that I        22   ··    ·Is that what you're saying?
 23   ··    ·wouldn't give him overtime that I was entitled to.         23   A.·   ·That's what it appeared to be, yes.· A lot of people
 24   Q.·   ·And what's the response to that?                           24   ··    ·separated themselves or just kind of stopped talking to
 25   ··    · · · What's your response?                                 25   ··    ·those two.
                                                              Page 94                                                                  Page 96
 ·1   A.·   ·My response is that it's not true, and I have never        ·1   Q.·   ·Do you know anything about "Snowgate"?
 ·2   ··    ·worked a minute of overtime that I was not contractually   ·2   ··    · · · Were you involved in that?
 ·3   ··    ·entitled to.                                               ·3   A.·   ·That was the situation where we had a snow emergency,
 ·4   Q.·   ·Do you know what -- if this is Easton, do you know what    ·4   ··    ·and they were supposed to go out and write tickets for
 ·5   ··    ·he's talking about when he says he was skipped over?       ·5   ··    ·vehicles that had not been moved off the roadway after a
 ·6   A.·   ·No.· Just knowing him for 20 years, it sounds like him.    ·6   ··    ·given -- a certain amount of time and proper warning.
 ·7   ··    · · · I don't know for sure if that is who that is, but     ·7   ··    · · · And Officer Furman took it upon himself to write on
 ·8   ··    ·if it was me working the overtime, then he's the only      ·8   ··    ·the ticket, "Per the mayor."
 ·9   ··    ·other one the overtime can go to, because he's also a      ·9   Q.·   ·Meaning what?
 10   ··    ·supervisor.                                                10   A.·   ·That -- he was -- he was implying that it was under
 11   Q.·   ·I see.                                                     11   ··    ·orders from the mayor to write those people the parking
 12   A.·   ·So, I wouldn't be skipping over patrolmen.· It would be    12   ··    ·tickets.
 13   ··    ·allegedly skipping over him.                               13   Q.·   ·I see.· So, that the recipient of the ticket would see
 14   Q.·   ·I see.                                                     14   ··    ·"per orders of the mayor"?
 15   ··    · · · He never filed a grievance, obviously, about that;    15   A.·   ·Yeah.· Probably because he didn't want to do it, so --
 16   ··    ·correct?                                                   16   Q.·   ·Okay.· Number 14 says:
 17   A.·   ·No.                                                        17   ··    · · · · · ·"Mike Goch said he has tried hard to
 18   Q.·   ·Nobody ever put anything in writing as far as you're       18   ··    · · · establish good relations with the MPD."
 19   ··    ·aware about you skipping over people so you could take     19   ··    · · · So, obviously he was interviewed.
 20   ··    ·overtime yourself?                                         20   ··    · · · · · ·"-- but he thinks that Hayse, Welch and
 21   A.·   ·Not that I am aware of, no.                                21   ··    · · · Officer Dietrich don't like him."
 22   Q.·   ·Number 10 says:                                            22   ··    · · · Do you know what that would be about?
 23   ··    · · · · · ·"All interviewees stated that some fellow        23   A.·   ·Well, I -- originally when the contract first started, I
 24   ··    · · · officers feared doing something to receive            24   ··    ·questioned some of the fees that he was charging, and I
 25   ··    · · · negative treatment similar to Corporal Furman."       25   ··    ·spoke to him in person about it and expressed to him

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 ·1   ··    ·that I -- that some of the stuff I didn't feel was right   ·1   Q.·   ·But you see -- go ahead.
 ·2   ··    ·or appropriate, and that we were charging people more      ·2   A.·   ·You could definitely lower the number of complaints that
 ·3   ··    ·than we should.                                            ·3   ··    ·you receive.
 ·4   ··    · · · I was under the impression we hashed everything out   ·4   Q.·   ·But you can see here that Furman definitely got the
 ·5   ··    ·and had -- really didn't have any problems with him        ·5   ··    ·attention of the city council because they actually
 ·6   ··    ·since.                                                     ·6   ··    ·hired somebody to do a written report on why impounds
 ·7   Q.·   ·Okay.                                                      ·7   ··    ·were down and to point out that it's because Furman
 ·8   A.·   ·He had always been polite and shook my hand every time I   ·8   ··    ·wasn't doing as many tows.
 ·9   ··    ·saw him, and -- "How are you doing?" and whatnot.          ·9   A.·   ·His -- are tows down for the year?· For the month?· For
 10   Q.·   ·Okay.                                                      10   ··    ·the week?
 11   A.·   ·So, I believe after we had a couple conversations, we      11   Q.·   ·Well, they're down for the time that he apparently was
 12   ··    ·had a pretty decent professional relationship.             12   ··    ·having his petulant moment.
 13   Q.·   ·Okay.· Let's go to the next page.                          13   A.·   ·Well, okay.
 14   ··    · · · You're going to see "Conclusion Number 1" from        14   Q.·   ·But you'll see here that what happened is that the
 15   ··    ·Lawrence Jackson.                                          15   ··    ·result of that was not to tell, by whoever commissioned
 16   ··    · · · And he says at the top of the page:                   16   ··    ·this, Furman to get back out there and do his job.· It
 17   ··    · · · · · ·"After reviewing the documents and speaking      17   ··    ·was to come down on the chief.
 18   ··    · · · to officers --"                                       18   A.·   ·If you're out there doing your job, and you're using
 19   ··    ·we don't know who they are other than Furman --            19   ··    ·discretion and common sense and being polite to people,
 20   ··    · · · · · ·"-- and civilians --"                            20   ··    ·the number of complaints you receive will be minimal.
 21   ··    ·I don't know who that would be --                          21   ··    · · · If you don't know how to talk to people and you
 22   ··    · · · · · ·"-- involved, it seems the recent change         22   ··    ·treat people like crap and you don't use discretion, you
 23   ··    · · · can be traced to two factors.                         23   ··    ·will get a lot of complaints.
 24   ··    · · · Then he has "Fewer Impounded Vehicles."               24   ··    · · · There are many ways to handle any situation.
 25   ··    · · · And if you'll read down a couple paragraphs -- take   25   Q.·   ·All right.· Let's go to the next page, which is Bates
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 ·1   ··    ·your time -- it talks about the absence of Corporal        ·1   ··    ·1277.
 ·2   ··    ·Furman on the day shift was an obvious contributor.        ·2   ··    · · · "Conclusion Number 2," your name comes up again.
 ·3   ··    · · · It says:                                              ·3   ··    · · · · · ·"Conclusion Number 2:· A vocal campaign
 ·4   ··    · · · · · ·"He was absent due to various circumstances      ·4   ··    · · · of negative comments and actions was reported
 ·5   ··    · · · August, September and October, and that he            ·5   ··    · · · by all officers."
 ·6   ··    · · · accounts for 79 percent of the impounds each          ·6   ··    · · · So, again, this is apparently three officers we're
 ·7   ··    · · · month."                                               ·7   ··    ·talking about here.· Four were requested to be
 ·8   ··    · · · Take your time.                                       ·8   ··    ·interviewed and three were interviewed, one of whom was
 ·9   A.·   ·Okay.                                                      ·9   ··    ·Furman.
 10   ··    · · · Well, this report just confirms that -- my            10   ··    · · · It says:
 11   ··    ·statement earlier that said when he got in trouble he      11   ··    · · · · · ·"Even Mr. Goch had heard some of the
 12   ··    ·would stop pulling people over, and he would just tow      12   ··    · · · stories regarding the rejection of his food
 13   ··    ·abandoned, unoccupied vehicles.· So, he thought he could   13   ··    · · · and flower donations."
 14   ··    ·stay out of trouble if he didn't have contact with         14   ··    · · · What do you make of that?
 15   ··    ·people.· Those were his words.                             15   ··    · · · Did you know -- was this part of the --
 16   ··    · · · So, if he wasn't making as many traffic stops         16   A.·   ·Well, Mike Goch knew, through his girlfriend, Katie
 17   ··    ·because he was trying to avoid citizen complaints, then    17   ··    ·Pope, who worked for the tow company, that we did not
 18   ··    ·that month there may be less.                              18   ··    ·want to receive items from the company.· He knew that,
 19   Q.·   ·Obviously, an officer can avoid citizen complaints and     19   ··    ·but they sent them anyways.· And I was told that if they
 20   ··    ·also do his job; is that correct?                          20   ··    ·brought them after being told not to, to throw them in
 21   A.·   ·Sure.                                                      21   ··    ·the garbage, and I did.
 22   Q.·   ·By conducting himself properly?                            22   Q.·   ·Okay.· Then it says:
 23   A.·   ·Yes.· Yes.                                                 23   ··    · · · · · ·"The anger and verbal directions from
 24   ··    · · · Using some discretion and some compassion and some    24   ··    · · · Chief Hayse and Lieutenant Welch are
 25   ··    ·common sense.                                              25   ··    · · · communicated very effectively.· The message

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 ·1   ··    · · · is, do not do anything to help Mike Goch in           ·1   A.·   ·It's -- it is the monthly totals of tows, and he's
 ·2   ··    · · · Melvindale."                                          ·2   ··    ·trying to show correlation between what's going on with
 ·3   ··    · · · And this goes to you throwing out the baskets, I      ·3   ··    ·Officer Furman and the number of tows per month.
 ·4   ··    ·guess.                                                     ·4   Q.·   ·So, there's nothing in this report analyzing Furman's
 ·5   ··    · · · But do you have a response to that?                   ·5   ··    ·alleged misconduct.· So, the report is geared toward why
 ·6   ··    · · · Since you were never asked at the time, I'm going     ·6   ··    ·tows are down.· And, obviously, the author finds that
 ·7   ··    ·to ask you today.                                          ·7   ··    ·tows are down because of Furman either not doing as many
 ·8   ··    · · · What is your response to the anger and verbal         ·8   ··    ·tows or being disciplined.
 ·9   ··    ·directions?                                                ·9   ··    · · · Were you, as a lieutenant, ever given, by Coogan or
 10   A.·   ·I am unaware of this.· And I -- like I had mentioned       10   ··    ·anybody else, the results of this to get your input or
 11   ··    ·before, I had had a couple conversations with him at the   11   ··    ·to have a discussion with you about the results?
 12   ··    ·beginning of the contract in regards to fees assessed to   12   A.·   ·No.
 13   ··    ·drivers, and I was under the impression we hashed that     13   Q.·   ·So, nobody came to you and said, "Look, Lieutenant,
 14   ··    ·out.· I do not have a problem with Mike Goch.· I never     14   ··    ·we've got this report.· We want these tows.· Get off
 15   ··    ·had a problem with Mike Goch.                              15   ··    ·Furman's back.· Let him be Furman," anything like that?
 16   Q.·   ·And what's the downside to taking gifts?                   16   A.·   ·No.
 17   ··    · · · I mean, why is the City -- why is any public person   17   Q.·   ·"We don't care if he's using excessive force.· We want
 18   ··    ·not supposed to take gifts?                                18   ··    ·him to do the tows"?
 19   A.·   ·Well, what is expected in return?                          19   A.·   ·No one ever said anything to me about it.
 20   Q.·   ·Yeah.                                                      20   Q.·   ·But what did happen is that then Chad Hayse was brought
 21   ··    · · · This author continues on the topic of the food in     21   ··    ·up on charges; correct?· Shortly after this?
 22   ··    ·that paragraph, saying:                                    22   A.·   ·Yeah.· Yes.
 23   ··    · · · · · ·"Such messages have a great impact on            23   Q.·   ·Having read part of the policy review by Lawrence
 24   ··    · · · officers when delivered by someone with the           24   ··    ·Jackson and having gone through the hearing, what
 25   ··    · · · power over your schedule, overtime, promotion         25   ··    ·conclusion do you reach as a long-time officer with the
                                                             Page 102                                                                 Page 104
 ·1   ··    · · · and even your employment.· When you see your          ·1   · · ·City of Melvindale about what Lawrence Coogan and the
 ·2   ··    · · · boss throwing out Christmas --"                       ·2   · · ·city council were trying to do here?
 ·3   ··    ·I'm sorry --                                               ·3   · · · · · MS. BALIAN:· Objection.· Calls for speculation.
 ·4   ··    · · · · · ·"-- Christmas flowers and trays of muffins       ·4   · · ·Lack of foundation.
 ·5   ··    · · · and cursing the sender, you get the message."         ·5   BY MS. GORDON:
 ·6   ··    · · · Were you trying to send a message?                    ·6   Q.· ·Go ahead.
 ·7   A.·   ·I know.· It's silly.                                       ·7   A.· ·It would appear to me that the City was going after Chad
 ·8   Q.·   ·Okay.· Okay.· Let's flip over to page 1278.· Let's go      ·8   · · ·Hayse for disciplining Matt Furman.
 ·9   ··    ·down to the bottom under "Lieutenant."                     ·9   Q.· ·Why?
 10   ··    · · · · · ·"A lieutenant calling the mayor a 'bitch,'       10   A.· ·Because Matt Furman made the City a lot of money.
 11   ··    · · · 'whore,' 'cunt,' 'slut' in front of                   11   · · · · · ·(Discussion held off the record.)
 12   ··    · · · subordinates -- would seem to conflict with           12   BY MS. GORDON:
 13   ··    · · · this section."                                        13   Q.· ·Is there a social media policy that you are aware of at
 14   ··    · · · Talking about obedience and so on.                    14   · · ·the City with regard to what you could post or not post
 15   ··    · · · Again, nobody asked you about that; correct?          15   · · ·anywhere?
 16   A.·   ·No.                                                        16   A.· ·I think there may be something, but I don't remember the
 17   Q.·   ·Okay.· And then if you'll go over to something that        17   · · ·guidelines of what is stated.
 18   ··    ·looks like this, Lieutenant.· This is "Appendix A,         18   Q.· ·Okay.· I want to go back to this Lawrence Jackson report
 19   ··    ·Towing Time Line," beginning with the Goch & Son           19   · · ·to Recommendation Number 4, page 1278.
 20   ··    ·contract.                                                  20   · · · · · This is under honesty and integrity.
 21   ··    · · · And apparently it shows that tows are down when       21   · · · · · Okay.· This report says under Recommendation 4,
 22   ··    ·Furman is either away or there's a -- something else       22   · · ·about the fourth paragraph down:
 23   ··    ·going on with Furman.· I'm not sure.                       23   · · · · · · · ·"First, the reports that the chief denied
 24   ··    · · · Do you understand what this shows, like May, June     24   · · · · · any involvement in either problem.· Then he is
 25   ··    ·and July?                                                  25   · · · · · reported to have recanted and admitted

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 ·1   · · · · · responsibility in both cases."                          ·1   · · ·because I was the one that wrote up Officer Furman,
 ·2   · · · · · I assume you don't know who is reporting this; is       ·2   · · ·which directly corresponds with the reason why they went
 ·3   · · ·that correct?                                                ·3   · · ·after Chad Hayse.
 ·4   A.· ·No.· I'm unaware of any reports regarding either             ·4   Q.· ·Okay.· So, I'm going to just go over with you your
 ·5   · · ·situation.                                                   ·5   · · ·questions and answers.· I think Elizabeth went to get
 ·6   Q.· ·Were you aware of the chief ever taking bribes?              ·6   · · ·another copy of this document, but here is the first
 ·7   A.· ·No.                                                          ·7   · · ·question from Chad Hayse:
 ·8   Q.· ·Okay.· So, you were suspended shortly after you gave         ·8   · · · · · · · ·"Question:· Lieutenant Welch, have you ever
 ·9   · · ·testimony at the Chad Hayse hearing; is that correct?        ·9   · · · · · heard me tell yourself or any other officer under
 10   A.· ·Yes.                                                         10   · · · · · your command not to tow cars?
 11   Q.· ·Did you testify more than once or one time?                  11   · · · · · · · ·"Answer:· --"
 12   A.· ·One time.                                                    12   · · · · · MS. BALIAN:· What page are you on, Deb?
 13   · · · · · ·(Discussion held off the record.)                      13   · · · · · MS. GORDON:· Yep.· This is page 144.
 14   BY MS. GORDON:                                                    14   BY MS. GORDON:
 15   Q.· ·Do you remember roughly how long you testified for?          15   Q.· ·(Reading.)
 16   A.· ·Might have been 15, 20 minutes long.                         16   · · · · · · · ·"Answer:· No, I have not."
 17   Q.· ·Okay.· So, you were questioned by Chad Hayse.                17   · · · · · Okay.· So, I'll stop right there.
 18   · · · · · Do you remember?                                        18   A.· ·That is accurate.
 19   A.· ·He attempted to ask me questions.                            19   Q.· ·Okay.· Next:
 20   Q.· ·Okay.· What do you mean by that?                             20   · · · · · · · ·"Question:· Okay.· And has anybody in your
 21   A.· ·Well, oftentimes when he would start asking me a             21   · · · · · command, be it a sergeant, corporal or officer
 22   · · ·question, I was told not to answer.                          22   · · · · · on your shift, ever come to you and said that I
 23   Q.· ·By?                                                          23   · · · · · advised them not to tow cars?
 24   A.· ·Or talked over.                                              24   · · · · · · · ·Answer:· They have not."
 25   · · · · · By corporate counsel.                                   25   · · · · · Is that correct?
                                                             Page 106                                                                 Page 108
 ·1   Q.·   ·Okay.· Do you remember "Official" -- somebody referred     ·1   A.·   ·That is correct.
 ·2   ··    ·to here as "Official Guzall," G-u-z-a-l-l, being           ·2   Q.·   ·Page 145:
 ·3   ··    ·present?                                                   ·3   ··    · · · · · ·"Question:· Lieutenant, have you ever heard
 ·4   A.·   ·There was a guy sitting up there with the city council.    ·4   ··    · · · me make disparaging remarks regarding any public
 ·5   ··    ·I had no idea who he was.                                  ·5   ··    · · · official, appointed official, or Michael Goch
 ·6   Q.·   ·Okay.· So, you were subsequently accused -- at least       ·6   ··    · · · from Goch & Sons Towing?
 ·7   ··    ·this is what I've been told in this room by people from    ·7   ··    · · · · · ·"Answer:· Not direct.
 ·8   ··    ·the City under oath -- of being a liar --                  ·8   ··    · · · · · · We've had personal conversations in regard
 ·9   A.·   ·Yes.                                                       ·9   ··    · · · to the way the tow contract had been warranted
 10   Q.·   ·-- based on what you said at this meeting.                 10   ··    · · · but no personal attacks in front of anybody
 11   A.·   ·Yes.                                                       11   ··    · · · else.· In personal conversation, yes."
 12   Q.·   ·That came to your attention, too, I assume; correct?       12   ··    · · · Is that a correct statement?
 13   A.·   ·Yes.                                                       13   A.·   ·That is correct.
 14   Q.·   ·Because you were disciplined; correct?                     14   Q.·   ·(Reading.)
 15   A.·   ·Correct.                                                   15   ··    · · · · · ·"Question:· Never heard me come up to the
 16   Q.·   ·You were disciplined -- I'll put it in my words.           16   ··    · · · front desk and make any sort of announcement or
 17   ··    · · · You were disciplined for coming in and saying         17   ··    · · · disparaging remark about not towing vehicles
 18   ··    ·things that did not comport with the city council's view   18   ··    · · · because Goch & Sons was our tow provider as of
 19   ··    ·of wanting to get rid of Chad Hayse?                       19   ··    · · · June 2015?"
 20   ··    · · · In other words, they were --                          20   ··    · · · · · ·"Answer:· Absolutely not.· In fact, you
 21   A.·   ·I was -- I attempted to testify in support of Chad         21   ··    · · · had offered an incentive to officers to tow
 22   ··    ·Hayse, yes.                                                22   ··    · · · cars."
 23   Q.·   ·Okay.· Did you feel you were retaliated against for        23   ··    · · · Is that correct?
 24   ··    ·offering such testimony after you did so?                  24   A.·   ·That is correct.
 25   A.·   ·Yes.· And I believe that I was retaliated against          25   Q.·   ·What was the incentive you were referring to?

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 ·1   A.·   ·I approached Chad Hayse with an idea.· We have a traffic   ·1   ··    · · · · · ·"Question:· And did he -- has he listened
 ·2   ··    ·detail.· While an officer is working, the officers are     ·2   ··    · · · to your suggestions, or did he continue in the
 ·3   ··    ·required to produce.· We can't pay them to just be out     ·3   ··    · · · way he --"
 ·4   ··    ·driving around.· Their minimum level of activity is two    ·4   ··    · · · Objection from Mr. Coogan:
 ·5   ··    ·moving violations per hour.                                ·5   ··    · · · · · ·"MR. COOGAN:· Okay.· This is not about
 ·6   ··    · · · I got -- I brought the idea to Chad that we would     ·6   ··    · · · Corporal Furman.· Ask you to move on, sir.
 ·7   ··    ·let the officers consider towing a vehicle part of their   ·7   ··    · · · not relevant."
 ·8   ··    ·stat, which would encourage people to tow more cars.       ·8   ··    · · · · · ·"OFFICER GUZALL:· We're not here to discuss
 ·9   Q.·   ·Okay.                                                      ·9   ··    · · · Corporal Furman's issues.· We're here to discuss
 10   ··    · · · · · ·"Question: --"                                   10   ··    · · · the issues of -- alleged against you, sir, so
 11   ··    · · · Also on page 145 of the transcript, and I should      11   ··    · · · you can keep to those issues within the
 12   ··    ·give the date.· October 26, 2017.                          12   ··    · · · complaint so we can move on, that would be great.
 13   ··    · · · · · ·"Question:· Okay.· Since I became chief --       13   ··    · · · · · ·"CHIEF HAYSE:· All right."
 14   ··    · · · interim chief in 2012 and named permanent chief       14   ··    · · · Question from Chief Hayse:
 15   ··    · · · in June of 2012, would you say we've towed more       15   ··    · · · · · ·"Question:· Have you read a memorandum --"
 16   ··    · · · cars or fewer cars since that time per year?"         16   ··    ·strike that.
 17   ··    · · · Your answer:                                          17   ··    · · · So, you never got to answer the question with
 18   ··    · · · · · ·"Answer:· We've probably went from around        18   ··    ·regard to the conversations you had had with Furman;
 19   ··    · · · 200 cars to year -- a year to well over 1,000."       19   ··    ·correct?
 20   ··    · · · Is that a --                                          20   A.·   ·I believe so.· I --
 21   A.·   ·Yes.                                                       21   Q.·   ·You've lost the train here?
 22   Q.·   ·-- correct statement?                                      22   ··    · · · So, the question --
 23   ··    · · · Okay.· Page 146.                                      23   A.·   ·Well, yeah.· No, did --
 24   ··    · · · · · ·"Question:· And the number of vehicles           24   ··    · · · MS. BALIAN:· I'll just say the document speaks for
 25   ··    · · · towed, is there -- is there any result of the         25   ··    ·itself.· We don't have to go over question, answer,
                                                             Page 110                                                                 Page 112
 ·1   ··    · · · number of vehicles towed with the amount of           ·1   · · ·question, answer, question, answer.
 ·2   ··    · · · work that you do as a lieutenant at the desk?         ·2   BY MS. GORDON:
 ·3   ··    · · · · · ·"Answer:· Working on the desk when someone       ·3   Q.· ·Go ahead.
 ·4   ··    · · · is towing eight or ten cars during the course         ·4   A.· ·Yeah.· I would assume that the document is correct. I
 ·5   ··    · · · of my day increases my workload dramatically."        ·5   · · ·don't remember the exact verbiage.
 ·6   ··    · · · Is that a correct statement?                          ·6   BY MS. GORDON:
 ·7   A.·   ·Yes.                                                       ·7   Q.· ·Okay.· So, next question is:
 ·8   Q.·   ·(Reading.)                                                 ·8   · · · · · · · ·"Question:· Have you read a memorandum put
 ·9   ··    · · · · · ·"Question:· Okay.· And as a result of            ·9   · · · · · out on April 26th?· It's labeled as Plaintiff's
 10   ··    · · · more cars being towed, does that also mean            10   · · · · · Exhibit 4.· Have you seen that document?
 11   ··    · · · there are more cars at the car auction?               11   · · · · · · · ·"Answer:· Yes, I have.· It was posted at
 12   ··    · · · · · ·"Answer:· Yes."                                  12   · · · · · the desk.
 13   ··    · · · Is that a correct statement?                          13   · · · · · · · ·"Question:· Did you have an opportunity to
 14   A.·   ·Yes.                                                       14   · · · · · discuss the history of that document with me,
 15   Q.·   ·Okay.                                                      15   · · · · · with myself?
 16   ··    · · · · · ·"Question:· Have you had any conversations       16   · · · · · · · ·"Answer:· I believe I spoke with you before
 17   ··    · · · with Corporal Furman regarding the number --"         17   · · · · · I put -- you put it out.
 18   ··    ·excuse me --                                               18   · · · · · · · ·"Question:· What was the basic synopsis of
 19   ··    · · · · · ·"-- regarding the manner in which he tows        19   · · · · · the discussion that we had?· Not necessarily
 20   ··    · · · vehicles?                                             20   · · · · · what's in the document but what we discussed
 21   ··    · · · · · ·"Answer:· Numerous conversations with            21   · · · · · back --
 22   ··    · · · Corporal Furman."                                     22   · · · · · · · ·"Answer:· Well, what we had discussed was
 23   ··    · · · Is that a correct statement?                          23   · · · · · an effort to try to get to have this officer
 24   A.·   ·Yes.                                                       24   · · · · · change the way that he does things and use
 25   Q.·   ·Question from Chief Hayse:                                 25   · · · · · better discretion."

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                                                             Page 113                                                                 Page 115
 ·1   ··    · · · Is that a correct answer on your part?                ·1   A.·   ·No.
 ·2   A.·   ·Yes.                                                       ·2   Q.·   ·Okay.· And then you went on to try to explain.
 ·3   Q.·   ·I'll hand you the deposition transcript, Lieutenant.       ·3   ··    · · · If you'll read the next several lines?
 ·4   ··    · · · Okay.· So, now --                                     ·4   ··    · · · Do you see that?
 ·5   A.·   ·Where are we here?                                         ·5   A.·   ·Yes.
 ·6   Q.·   ·We're on page 147, where you say:                          ·6   Q.·   ·And you were told you can't answer that question?
 ·7   ··    · · · · · ·"Answer:· Well, what we had discussed was        ·7   A.·   ·Yes, I recall -- I recall that part of the conversation.
 ·8   ··    · · · an effort to try to get to have this officer          ·8   Q.·   ·All right.· Now, let's go to page 149, where you are now
 ·9   ··    · · · change the way he does things and use better          ·9   ··    ·asked on the bottom of 149, line 23.· This is by
 10   ··    · · · discretion."                                          10   ··    ·Official Guzall.
 11   ··    · · · Is that a correct statement by you?                   11   ··    · · · · · ·"Question:· Okay.· And did -- in this
 12   A.·   ·Yes.                                                       12   ··    · · · personal conversation that you say you had with
 13   Q.·   ·Okay.· And was that document the one we referred to        13   ··    · · · the chief in regards to Goch & Sons, did he say
 14   ··    ·earlier in this deposition, instructing Officer Furman     14   ··    · · · any derogatory things about Goch & Sons?"
 15   ··    ·to contact the desk before he called for a tow?            15   ··    · · · Your answer was:
 16   A.·   ·Yes, that is the document.                                 16   ··    · · · · · ·"Answer:· No."
 17   Q.·   ·Okay.· Then we go down to 148, and Mr. Coogan is           17   ··    · · · Is that a correct statement?
 18   ··    ·questioning you.· And he says:                             18   A.·   ·What is -- define "derogatory."
 19   ··    · · · · · ·"Question:· I'll cut to the chase.· You're       19   Q.·   ·Okay.· At the time you said this, you believed your
 20   ··    · · · familiar with the Constitution of the United          20   ··    ·answer was correct?
 21   ··    · · · States?"                                              21   A.·   ·At the time, yes.
 22   ··    · · · You say:                                              22   Q.·   ·Okay.
 23   ··    · · · · · ·"Answer:· Absolutely."                           23   A.·   ·I don't -- you could say "he's wearing a silly hat
 24   ··    · · · And then he asks you:                                 24   ··    ·today" and you can consider that derogatory.· I don't
 25   ··    · · · · · ·"Question:· You understand -- can you            25   ··    ·know what he meant.
                                                             Page 114                                                                 Page 116
 ·1   · · · · · enforce laws based upon age and gender?"                ·1   Q.·   ·Okay.· On the next page, 150, the question is:
 ·2   · · · · · And you say:                                            ·2   ··    · · · · · ·"Question:· Okay.· So, what other officers
 ·3   · · · · · · · ·"Answer:· Laws based on gender?"                   ·3   ··    · · · have testified in regards to negative comments
 ·4   · · · · · And you say you would not do so.                        ·4   ··    · · · as to Goch & Sons being made by the chief of
 ·5   · · · · · Do you see that on there?                               ·5   ··    · · · police, you're saying you have not heard those
 ·6   · · · · · MS. BALIAN:· Where are you?                             ·6   ··    · · · comments; correct?"
 ·7   · · · · · MS. GORDON:· On page 148.                               ·7   ··    · · · Your answer:
 ·8   A.· ·Number -- line 10?                                           ·8   ··    · · · · · ·"Answer:· I have not heard those comments,
 ·9   BY MS. GORDON:                                                    ·9   ··    · · · no, sir."
 10   Q.· ·Line 18.                                                     10   ··    · · · Did you know what was being referred to there?
 11   A.· ·18.                                                          11   A.·   ·What other officers have testified with regard to
 12   · · · · · Okay.                                                   12   ··    ·negative comments -- I'm not exactly sure what he's
 13   Q.· ·Do you recall --                                             13   ··    ·talking about.
 14   · · · · · MS. BALIAN:· On page 148?                               14   Q.·   ·Okay.· And you say:
 15   · · · · · MS. GORDON:· Right.                                     15   ··    · · · · · ·"Answer:· I have not heard those comments,
 16   A.· ·All right.· I'm not sure if we're looking at the same        16   ··    · · · no,· sir."
 17   · · ·thing here.                                                  17   A.·   ·He's asking me if I'm aware of other officers testifying
 18   · · · · · You said line 18 on page 148?                           18   ··    ·in regards to negative comments.
 19   BY MS. GORDON:                                                    19   ··    · · · I wasn't in the hearing so I don't know what anyone
 20   Q.· ·Yeah.                                                        20   ··    ·else said.
 21   · · · · · You said you would not do so, that you would not        21   ··    · · · So, no, I haven't heard those comments because I
 22   · · ·enforce --                                                   22   ··    ·was not present in the room.
 23   A.· ·-- law based on age and gender.                              23   Q.·   ·Okay.· Then there's a question to you:
 24   Q.· ·-- on age and gender.                                        24   ··    · · · · · ·"Question:· So, Chief Hayse has not often
 25   · · · · · And you said you would not do so?                       25   ··    · · · ordered officers to not make that, quote,

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                                                             Page 117                                                               Page 119
 ·1   ··    · · · unquote, 'fucking Goch' any more money'?· You         ·1   Q.· ·Strike that.
 ·2   ··    · · · haven't heard that from --"                           ·2   · · · · · When did they tell you this?
 ·3   ··    · · · And you say:                                          ·3   A.· ·I didn't find out about it until the -- these
 ·4   ··    · · · · · ·"Answer:· No, I have not."                       ·4   · · ·accusations until they served me with the paperwork for
 ·5   A.·   ·That is correct.                                           ·5   · · ·a trial board.
 ·6   Q.·   ·(Reading.)                                                 ·6   Q.· ·This is obviously your first trial board?
 ·7   ··    · · · · · ·"Question:· You haven't heard that               ·7   A.· ·First time I had ever been in trouble.
 ·8   ··    · · · comment from any other officers?                      ·8   Q.· ·You brought some documents with you today per my
 ·9   ··    · · · · · ·"Answer:· From any other officers --             ·9   · · ·subpoena; is that correct?
 10   ··    · · · · · ·"Question:· Yeah.                                10   A.· ·Yes.· Some documents were requested, and I brought them
 11   ··    · · · · · ·"Answer:· -- or from Chad Hayse?                 11   · · ·with me.
 12   ··    · · · · · ·"Question:· Have any other officers told         12   Q.· ·Do you have them with you?
 13   ··    · · · you that Chief Hayse made those statements?"          13   A.· ·I have some -- the originals, yes.
 14   ··    · · · And you said:                                         14   · · · · · MS. GORDON:· Yeah, okay.· I'm going to mark a copy
 15   ··    · · · · · ·"Answer:· No, they have not."                    15   · · ·I have as Exhibit 1 and ask you if this is what you
 16   ··    · · · Was that a true statement?                            16   · · ·brought.
 17   A.·   ·Yes.                                                       17   · · · · · · · ·(Deposition Exhibit 1 marked
 18   Q.·   ·Okay.· Were you -- that's all I can see of your answers    18   · · · · · · · ·for identification.)
 19   ··    ·from this day in -- at the hearing.                        19   BY MS. GORDON:
 20   ··    · · · I guess there's one more from Councilman Louvet on    20   Q.· ·It's three pages.
 21   ··    ·page 151 -- I'm sorry.· I missed this -- where he says:    21   A.· ·It would be four pages total.
 22   ··    · · · · · ·"Question:· Lieutenant Welch?"                   22   Q.· ·Four pages.· Thank you.
 23   ··    · · · You say:                                              23   A.· ·Yes.· Those are the documents --
 24   ··    · · · · · ·"Answer:· Yes, sir.                              24   Q.· ·The first page is dated January 11, 2018.· It's a
 25   ··    · · · · · ·"Question:· You testified that not only the      25   · · ·letter.
                                                             Page 118                                                               Page 120
 ·1   ··    · · · chief never told anybody not to tow, but he gave      ·1   · · · · · MS. BALIAN:· Do you have a copy?
 ·2   ··    · · · him incentives.· And councilman just asked the        ·2   · · · · · MS. GORDON:· Yeah, that's your copy.
 ·3   ··    · · · question of the chief, and he said no.· So, could     ·3   · · · · · MS. BALIAN:· Yeah.
 ·4   ··    · · · you elaborate on the incentives --                    ·4   · · · · · MS. GORDON:· Okay.
 ·5   ··    · · · · · ·"Answer:· Towing the vehicles --"                ·5   BY MS. GORDON:
 ·6   ··    · · · You say:                                              ·6   Q.· ·The second is a "Complaint for Suspension, Demotion
 ·7   ··    · · · · · ·"Answer:· Yes, sir.· Towing the vehicles         ·7   · · ·and/or Termination of Michael Welch," and the third is
 ·8   ··    · · · while working traffic enforcement is you're           ·8   · · ·apparently a statement.
 ·9   ··    · · · allowed to consider that part of your stats.          ·9   · · · · · Have you got your originals there?
 10   ··    · · · · · ·"Question:· Okay.                                10   A.· ·I'll pull them back out.
 11   ··    · · · · · ·"Answer:· So, I guess you can't encourage        11   Q.· ·So, there has been testimony in this case, Lieutenant,
 12   ··    · · · people to tow and discourage them at the same         12   · · ·on multiple occasions that you retracted or recanted all
 13   ··    · · · time I guess is my point."                            13   · · ·of your -- all of your testimony at that hearing, and
 14   ··    · · · Is that a correct statement by you?                   14   · · ·that you cannot be believed because you went under oath
 15   A.·   ·Yes.                                                       15   · · ·and you lied.
 16   Q.·   ·Okay.· So, are you aware that you have been accused of     16   · · · · · That's been the testimony in this case from
 17   ··    ·lying under oath at that hearing?                          17   · · ·multiple people, including Furman.
 18   A.·   ·Yes.                                                       18   A.· ·Okay.
 19   Q.·   ·What did you become aware of in that regard?               19   Q.· ·And Barnes.
 20   A.·   ·Well, I was accused by the Safety Commission and           20   · · · · · And I believe Striz said that as well.
 21   ··    ·corporate counsel of lying in my testimony.                21   · · · · · So, I'd like to find out from you of what happened
 22   ··    · · · I really didn't know what they were talking about,    22   · · ·in that regard.
 23   ··    ·and I stand by what I testified to.                        23   · · · · · After the hearing, when you testified the way I
 24   Q.·   ·What did they tell you?                                    24   · · ·just read it into the record, in October, what was the
 25   A.·   ·Well, they --                                              25   · · ·next thing that you heard about the hearing?

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 ·1   · · · · · Did you hear that the chief -- I assume you heard,      ·1   ··    ·that you were aware of?
 ·2   · · ·obviously, that he was terminated?                           ·2   A.·   ·The department rules and regulations state that the
 ·3   A.· ·Chad had texted me the night that he was terminated and      ·3   ··    ·chief of police shall conduct an investigation of any
 ·4   · · ·he advised me that the City was coming after me next.        ·4   ··    ·complaints.· And therefore after conducting that
 ·5   Q.· ·Okay.· And were you surprised he was terminated?             ·5   ··    ·investigation, they are to submit their findings to the
 ·6   A.· ·No.· I -- regardless of what he said or did, I was           ·6   ··    ·Public Safety Commission.
 ·7   · · ·confident they were going to fire him.                       ·7   ··    · · · That never happened.· In my hearing, it was asked
 ·8   Q.· ·And why did you think they were going to fire him            ·8   ··    ·why that procedure was not followed.· Mr. Coogan's
 ·9   · · ·regardless of what he said or did?                           ·9   ··    ·statement was it was of his opinion that Interim Chief
 10   A.· ·Just based upon my observations in the hearing that he       10   ··    ·John Allen did not count because he was an interim
 11   · · ·wasn't going to get a fair shake.                            11   ··    ·chief, and they decided to conduct their own
 12   Q.· ·Okay.· Did anybody speak to you about your testimony         12   ··    ·investigation.
 13   · · ·before you went in there?· Did you get with -- did           13   ··    · · · However, during that time of John Allen being
 14   · · ·Coogan want to know from you what you were going to          14   ··    ·interim chief, he investigated and disciplined two other
 15   · · ·testify to?                                                  15   ··    ·officers.
 16   A.· ·I did not speak with Larry Coogan before the hearing.        16   Q.·   ·Who were they?
 17   Q.· ·So, you were then suspended -- I mean, the termination       17   A.·   ·It would be Zach Blunden and Robert McCoy.
 18   · · ·proceeding was --                                            18   Q.·   ·Okay.· And who -- so, when Larry Coogan said, "So, they
 19   · · · · · · ·(Discussion held off the record.)                    19   ··    ·did the investigation," do you know who he was referring
 20   BY MS. GORDON:                                                    20   ··    ·to?
 21   Q.· ·Okay.· I -- you know, the date I read into the record, I     21   A.·   ·I heard from other officers that Jason Ortiz had been
 22   · · ·think, was the date the transcript was typed.· I think       22   ··    ·into the station, interviewing officers.
 23   · · ·the hearing was actually August 29, 2016.· So, I             23   Q.·   ·Do you know who he interviewed?
 24   · · ·misspoke earlier.· The transcript is dated October.          24   A.·   ·I -- I believe John Ginther and maybe Rhman Hamayun,
 25   · · · · · So, August 29th was the termination proceeding.         25   ··    ·people that weren't even on my shift.· They were
                                                             Page 122                                                                 Page 124
 ·1   ··    ·That's when Chad Hayse was terminated.                     ·1   ··    ·afternoon-shift people.
 ·2   ··    · · · And then shortly thereafter, you learned he was       ·2   Q.·   ·You know, we covered a little bit earlier today with
 ·3   ··    ·gone and that you would be next.                           ·3   ··    ·regard to Mark Furman's discipline where Furman was
 ·4   ··    · · · What's the next thing that you heard?                 ·4   ··    ·asked to respond in writing by Hayse --
 ·5   ··    · · · Were you feeling uncomfortable around the station?    ·5   A.·   ·Yes.
 ·6   ··    ·Did anybody tell you they thought you were a liar?         ·6   Q.·   ·-- to the allegations against him.
 ·7   ··    · · · What happened?                                        ·7   ··    · · · Do you recall what I'm talking about --
 ·8   A.·   ·No one said anything directly, but I could feel there      ·8   A.·   ·Well, when --
 ·9   ··    ·was definitely a lot of tension because of his             ·9   Q.·   ·-- that Furman was given a chance to respond to the
 10   ··    ·termination in the station.· Things were pretty turned     10   ··    ·concerns that the chief had raised?
 11   ··    ·up on end, I guess you could say.· I didn't know for       11   A.·   ·Right.
 12   ··    ·sure until Larry Coogan came into the station and served   12   ··    · · · Whenever -- whenever there's an issue, there's a
 13   ··    ·me with papers.                                            13   ··    ·complaint or someone is being accused of something, they
 14   Q.·   ·Okay.· And when was that?                                  14   ··    ·are -- the officer is requested to respond in writing to
 15   A.·   ·Probably close to corresponding with the date on the       15   ··    ·the allegations.
 16   ··    ·form.· It was early September.                             16   Q.·   ·That never happened with you?
 17   Q.·   ·Okay.· And what did Larry Coogan say to you?               17   A.·   ·No.
 18   A.·   ·He passed it through the window and told me to call him    18   Q.·   ·Okay.· All right.· So, let's go through the document.
 19   ··    ·if I had any questions.                                    19   ··    ·Let's look at the Complaint.
 20   Q.·   ·And is page 2 of Exhibit 1 that document that he gave      20   ··    · · · So, here is what Mr. -- I don't know if Coogan
 21   ··    ·you?                                                       21   ··    ·wrote this up, but Bolton signed it.· It says:
 22   A.·   ·Yes.                                                       22   ··    · · · · · ·"The reason for discipline is including,
 23   Q.·   ·Had there been -- before you were handed this Complaint    23   ··    · · · but not limited to, the following:
 24   ··    ·for Suspension, Demotion and/or Termination, am I          24   ··    · · · · · ·1.· Making unprofessional comments in the
 25   ··    ·correct that there had never been an investigation done    25   ··    · · · · · · · ·presence of subordinates and others

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 ·1   ··    · · · · · · · ·that:                                        ·1   ··    · · · · · · · ·presence of subordinates and others that:
 ·2   ··    · · · · · · · ·A.· ·The owner of Goch & Sons Towing         ·2   ··    · · · · · · · ·A.· ·The owner of Goch & Sons Towing
 ·3   ··    · · · · · · · · · · Company is a crook."                    ·3   ··    · · · · · · · · · · Company is a crook."
 ·4   ··    · · · Okay.· So, you had already been questioned about      ·4   ··    · · · So, I'll stop there.
 ·5   ··    ·that at the hearing under oath; correct?· From whatever    ·5   ··    · · · Did you make that comment in the presence of
 ·6   ··    ·I read into the record?                                    ·6   ··    ·subordinates and others?
 ·7   A.·   ·Yes.                                                       ·7   A.·   ·The only statements I ever made about the tow company is
 ·8   Q.·   ·Okay.                                                      ·8   ··    ·that I believe that we were not charging people the
 ·9   ··    · · · MS. BALIAN:· Do you have a copy or not?· You said,    ·9   ··    ·money that we should or we were charging them too much.
 10   ··    ·"just a minute."                                           10   ··    · · · I took issue with that.
 11   ··    · · · MS. GORDON:· Oh.· I thought I handed one over         11   Q.·   ·Okay.
 12   ··    ·there.                                                     12   A.·   ·Mike Goch, as a person, I didn't really know him, and
 13   A.·   ·You gave one to me.                                        13   ··    ·I -- at that point, I -- I had nothing to base
 14   ··    · · · MS. BALIAN:· You did.· You marked one as an exhibit   14   ··    ·anything -- any type of statement like that on.· I had
 15   ··    ·and gave it to him.                                        15   ··    ·no real issue with him.
 16   ··    · · · MS. GORDON:· Okay.· Do you have your original         16   ··    · · · I had issue with the amount of money that we were
 17   ··    ·handy?                                                     17   ··    ·charging people, and I had run into issues with the
 18   ··    · · · If you don't, I'll get a copy.                        18   ··    ·ladies in the office and wanting to tack on fees and
 19   A.·   ·The original of my paperwork?                              19   ··    ·stuff.· And I had a few conversations with his
 20   ··    · · · MS. GORDON:· What you brought today.· Yeah.           20   ··    ·employees, and, you know, refused to collect some money
 21   A.·   ·Yes, I have the original.                                  21   ··    ·that I didn't feel was proper.
 22   ··    · · · MS. GORDON:· Okay.· So, where is the copy then?       22   Q.·   ·Okay.· (B), did you ever say the mayor of -- did you
 23   ··    · · · Right there, Melinda.· Right there.· You can look     23   ··    ·ever say in the presence of subordinates and others that
 24   ··    ·at the exhibit, and the witness has his own copy.          24   ··    ·"The mayor of Melvindale is taking bribes"?
 25   ··    · · · MS. BALIAN:· I just want to mark it up because I'm    25   A.·   ·No.
                                                             Page 126                                                                 Page 128
 ·1   · · ·going to question him on it, so I want to be able to         ·1   Q.·   ·C -- 1(C), did you ever say in the presence of
 ·2   · · ·make notes on it.· So --                                     ·2   ··    ·subordinates and others that the city council and the
 ·3   · · · · · MS. GORDON:· Okay.· Then I'll trade with you.           ·3   ··    ·city attorney are "on the take"?
 ·4   · · · · · MS. BALIAN:· Okay.· Thanks.                             ·4   A.·   ·No.
 ·5   · · · · · MS. GORDON:· Uh-huh.                                    ·5   Q.·   ·(D), did you ever make "vulgar, sexist comments about
 ·6   · · · · · (Discussion held off the record.)                       ·6   ··    ·the mayor and others" in the presence of subordinates
 ·7   · · · · · MS. GORDON:· Okay.· Does that have my notes on it?      ·7   ··    ·and others?
 ·8   · · ·I don't think I took any notes on that.                      ·8   A.·   ·No.
 ·9   · · · · · Is that highlighted?                                    ·9   ··    · · · The mayor has always actually been very nice to me.
 10   · · · · · MS. BALIAN:· "What about fees --"                       10   Q.·   ·Let's go to Number 2.
 11   · · · · · MS. GORDON:· Right here.· All right.· We'll get you     11   ··    · · · This is -- Number 2 says the following:
 12   · · ·a copy.· I'll just sit for a second.                         12   ··    · · · · · ·"2.· Lying to mayor and city council at a
 13   · · · · · Did you need a water or anything?                       13   ··    · · · · · · · ·public hearing on or about 8-29-2016."
 14   A.· ·I could use a restroom.                                      14   ··    · · · Did anybody tell you what your lies allegedly were?
 15   · · · · · MS. GORDON:· Yeah, let's take a restroom break          15   A.·   ·No.· No one told me what they were.
 16   · · ·while we get a copy.                                         16   Q.·   ·And this is the testimony that we've just covered a
 17   · · · · · · · (Short recess at 12:50 p.m.)                        17   ··    ·little while ago in this deposition.· We just went
 18   · · · · · · · · · · · ·*· ·*· ·*                                  18   ··    ·through the transcript?
 19   · · · · · · ·(Record resumed at 1:02 p.m.)                        19   A.·   ·Yes.
 20   BY MS. GORDON:                                                    20   Q.·   ·Okay.
 21   Q.· ·Okay.· Let's go to the document, which is Exhibit 1.         21   ··    · · · · · ·"3.· Violation of Melvindale Police
 22   · · · · · So, here we are.· It's the reasons for your             22   ··    · · · · · · · ·Department rules and regulations,
 23   · · ·discipline.· It's dated the 7th of September.· And the       23   ··    · · · · · · · ·Section 5-Lieutenant."
 24   · · ·first one is -- the first reason is you were apparently:     24   ··    · · · Do you know what that is referring to?
 25   · · · · · · · ·"1. Making unprofessional comments in the          25   A.·   ·I would assume that these sections listed are

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 ·1   ··    ·referencing the allegations in 1 and 2.                    ·1   ··    · · · · · · · ·"On the impounding of violators'
 ·2   Q.·   ·What do you mean?                                          ·2   ··    · · · · · · · ·vehicles."
 ·3   A.·   ·That -- that this -- this section in the rules and         ·3   ··    · · · That you somehow -- this goes back to "4.
 ·4   ··    ·regulations has to do with professional conduct and        ·4   ··    ·Violation of operating policy."
 ·5   ··    ·responsibilities, and they are tying this back to the      ·5   ··    · · · So, what would you have violated on operating
 ·6   ··    ·allegations in Number 1 and Number 2.                      ·6   ··    ·policy with regard to the impounding of violators'
 ·7   Q.·   ·Okay.                                                      ·7   ··    ·vehicles?
 ·8   ··    · · · · · ·"4.· Violation of operating policy of            ·8   A.·   ·I have no idea.
 ·9   ··    · · · · · · · ·the Melvindale Police Department:            ·9   Q.·   ·You don't know what that's talking about?
 10   ··    · · · · · · · ·On equal· protection of the law."            10   A.·   ·No.
 11   ··    · · · Did anybody tell you what that was referring to?      11   Q.·   ·Go down to the next paragraph.
 12   A.·   ·No.                                                        12   ··    · · · Did you ever form the opinion or belief that you
 13   Q.·   ·Did you ever violate anybody's equal protection of the     13   ··    ·had undermined morale and functionality of the
 14   ··    ·law that you were aware of?                                14   ··    ·department?
 15   A.·   ·No.                                                        15   A.·   ·No.
 16   Q.·   ·Did you ever instruct anybody else to do so?               16   Q.·   ·Did anybody ever tell you that?
 17   A.·   ·No.                                                        17   A.·   ·No.
 18   Q.·   ·Okay.· The next one is on loyalty.                         18   Q.·   ·Did you get along well with the officers that reported
 19   ··    · · · Did anybody ever tell you what your lack of loyalty   19   ··    ·to you, generally speaking?
 20   ··    ·was?                                                       20   A.·   ·I believe so, yes.
 21   A.·   ·No.                                                        21   Q.·   ·Okay.· Let's go to the last sentence, which is pretty
 22   Q.·   ·Next, on "Management of the Department," were you ever     22   ··    ·instructive, at least with regard to my point of view.
 23   ··    ·given any specifics of how you violated operating policy   23   ··    · · · · · ·"Further, such comments may have caused
 24   ··    ·of the Melvindale Police Department with regard to         24   ··    · · · some of the officers to be leery of towing
 25   ··    ·management of the department?                              25   ··    · · · vehicles for fear of reprimand by ranking
                                                             Page 130                                                                 Page 132
 ·1   A.·   ·No.                                                        ·1   · · · · · officers."
 ·2   Q.·   ·You've already testified you were never written up in      ·2   · · · · · Do you agree that goes directly to the fact that
 ·3   ··    ·any way.                                                   ·3   · · ·the City wanted Matthew Furman to continue to tow as
 ·4   ··    · · · Is that correct?                                      ·4   · · ·many vehicles as possible, no matter what his conduct
 ·5   A.·   ·Correct.                                                   ·5   · · ·was?
 ·6   Q.·   ·And that would include for management of the department;   ·6   A.· ·Well --
 ·7   ··    ·correct?                                                   ·7   · · · · · MS. BALIAN:· Objection.· Calls for speculation.
 ·8   A.·   ·Correct.                                                   ·8   · · ·Lack of foundation.
 ·9   Q.·   ·And you've worked for many other chiefs other than Chad    ·9   BY MS. GORDON:
 10   ··    ·Hayse; is that correct?                                    10   Q.· ·Go ahead.
 11   A.·   ·A sheriff with my prior job with Wayne County Sheriff's    11   A.· ·It would imply that they were worried about the total
 12   ··    ·Department, John Difatta and Rick Cadez.· So, yeah.        12   · · ·number department-wide.
 13   Q.·   ·Okay.· And then the next says:                             13   · · · · · I'd also like to comment that when we talked about
 14   ··    · · · · · ·"4.· Violation of operating policy of the        14   · · ·the incentive to write -- to tow vehicles, oftentimes
 15   ··    · · · · · · · ·Melvindale Police Department:                15   · · ·when Matt Furman was in on his days off, and he would
 16   ··    · · · · · · · ·On the responsibilities of supervision."     16   · · ·come in and work traffic, I would also let him leave
 17   ··    · · · Did anybody ever tell you what that was involving?    17   · · ·early.· So, oftentimes, he would come in and put in for
 18   A.·   ·No.                                                        18   · · ·eight hours when he may have only worked six.
 19   Q.·   ·Were you ever told you were not acting properly as a       19   · · · · · So, there was a whole lot of incentive for him.
 20   ··    ·supervisor?                                                20   · · ·And to say that I was trying to dissuade people from
 21   A.·   ·No.                                                        21   · · ·towing cars is completely false.
 22   Q.·   ·Did anybody ever complain about you as a supervisor        22   Q.· ·You just wanted it to be done in a manner --
 23   ··    ·other than perhaps Mark(sic) Furman?                       23   A.· ·Instead -- I just -- I wanted him to do his job, but I
 24   A.·   ·Not to my knowledge, no.                                   24   · · ·wanted him to do it right.
 25   Q.·   ·Next says:                                                 25   Q.· ·Okay.· Now, this statement says that your comments may

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 ·1   ··    ·have caused some of the officers to be leery of towing     ·1   ··    ·they agreed.· I gave them the offer of 30 days'
 ·2   ··    ·for fear of reprimand.                                     ·2   ··    ·suspension, and I would not grieve the suspension.· They
 ·3   ··    · · · Did anybody ever tell you that they were leery of     ·3   ··    ·went back and forth a couple times.· Two of them were
 ·4   ··    ·towing vehicles, leaving aside Furman?                     ·4   ··    ·openly calling for my dismissal, two of the five.· Come
 ·5   A.·   ·No.                                                        ·5   ··    ·to find out later, there were actually three, and my
 ·6   Q.·   ·Did any other officer ever really even talk about the      ·6   ··    ·assumptions were correct.
 ·7   ··    ·towing of vehicles?                                        ·7   Q.·   ·Who were they?
 ·8   ··    · · · I mean, was this a topic of conversation with         ·8   A.·   ·Well, the two that I know of that said it in front of me
 ·9   ··    ·anybody?                                                   ·9   ··    ·that they wanted me terminated was Martha McDaniels and
 10   A.·   ·Towing of vehicles was only an issue for Officer Furman,   10   ··    ·Jason Ortiz.
 11   ··    ·not any other officer in the department.                   11   ··    · · · I don't know who the third person was.· But Patty
 12   Q.·   ·Okay.· Let's go to the next page.                          12   ··    ·Hall, who also sits on the Safety Commission, told me
 13   ··    · · · Tell us what the -- it's a page and a half.· It's     13   ··    ·after the hearing while we were going in and out of
 14   ··    ·typed up.                                                  14   ··    ·chambers that there was a third person that was opting
 15   ··    · · · What is this, Lieutenant?                             15   ··    ·for me to be terminated.· So, my assumptions were
 16   A.·   ·When -- on the date of -- after consulting with the        16   ··    ·correct.
 17   ··    ·union attorney, my union rep, I come to the conclusion     17   Q.·   ·Did you have an idea on why these three people wanted
 18   ··    ·that, after seeing what happened to Chad Hayse, that       18   ··    ·you terminated?
 19   ··    ·irregardless of what I did or allegedly did, that they     19   ··    · · · Was it that they believed this write-up, or was it
 20   ··    ·were going to fire me and let me fight for my job back.    20   ··    ·for some other reason?
 21   ··    ·I was very confident of that.                              21   A.·   ·I don't know.
 22   ··    · · · I decided that we would try and get them to suspend   22   ··    · · · I know Martha McDaniels is a very close friend of
 23   ··    ·me so I could save my job and my pension.· I was about     23   ··    ·Pat Easton, so probably whatever Pat Easton said, she'd
 24   ··    ·less than two years from retirement.                       24   ··    ·probably buy.
 25   ··    · · · If I were to not leave on time, if I were to be       25   ··    · · · And I know that oftentimes the city council and the
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 ·1   ··    ·terminated, I would have to wait another nine and a half   ·1   ··    ·safety commissioners go back on -- make their decisions
 ·2   ··    ·years to draw my pension, 59 and a half versus 50.         ·2   ··    ·upon what the city attorney says.
 ·3   Q.·   ·And you thought they were serious about termination?       ·3   Q.·   ·And Coogan was in favor of you being terminated as far
 ·4   A.·   ·Oh, absolutely.· Yeah.· I was convinced they were going    ·4   ··    ·as you were aware?
 ·5   ··    ·to fire me.                                                ·5   A.·   ·Yes.
 ·6   ··    · · · So, we went into the hearing, and we offered to       ·6   Q.·   ·Okay.· Now, with regard to your statement, here you had
 ·7   ··    ·make a deal.· I prepared a statement, that we have here,   ·7   ··    ·been accused of lying under oath at a hearing; right?
 ·8   ··    ·in response to the allegations against me.· I read this    ·8   A.·   ·Correct.
 ·9   ··    ·to the city council and the city attorney.· They asked     ·9   Q.·   ·Okay.· You did not have a transcript, as I believe you
 10   ··    ·me some more follow-up questions that kind of correspond   10   ··    ·have said.
 11   ··    ·with this document here that they talked to anonymous      11   A.·   ·I wasn't allowed to see the transcript.
 12   ··    ·people.                                                    12   Q.·   ·Was there a transcript?
 13   Q.·   ·And by "this document here," you're referring to the       13   A.·   ·Well, there was a recording of Chad Hayse's hearing.
 14   ··    ·Jackson report?                                            14   Q.·   ·Okay.· So, when you're now writing your comments, you
 15   A.·   ·Yes.                                                       15   ··    ·are relying on what you are being told by the mayor
 16   Q.·   ·Lawrence Jackson?                                          16   ··    ·about what you said at the hearing.· Do I have that
 17   A.·   ·Yes.· There are quite a few things listed in that          17   ··    ·right?
 18   ··    ·document that they referenced in my disciplinary           18   A.·   ·Correct.· I had spoke with the mayor the day before my
 19   ··    ·hearing, and I did address those with the safety           19   ··    ·hearing, and she -- Dan Jones and Don Meador were
 20   ··    ·commissioners.                                             20   ··    ·present.· They're the other union guys.
 21   Q.·   ·Okay.· You said those were not true?                       21   Q.·   ·Okay.
 22   A.·   ·That what --                                               22   A.·   ·She said in that meeting that she believed that this was
 23   Q.·   ·The things you were accused of?                            23   ··    ·stupid and this needed to end, and she wanted to resolve
 24   A.·   ·The -- no, they're not true.                               24   ··    ·the matter.
 25   ··    · · · So, I addressed these allegations against me, and     25   ··    · · · She had stepped out for a little while and said she

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                                                             Page 137                                                                 Page 139
 ·1   ··    ·was going to call Larry Coogan, and she wanted me to       ·1   ··    ·mayor."
 ·2   ··    ·have the ability to go over the recording, and if there    ·2   A.·   ·Yes.
 ·3   ··    ·were any discrepancies for me to correct them.             ·3   Q.·   ·Okay.· So, let's go to your transcript and see what you
 ·4   ··    · · · The next day rolls around, and I believe -- I don't   ·4   ··    ·were asked.
 ·5   ··    ·know who contacted -- I think it was Don Meador got a      ·5   ··    · · · Do you have page 145 there?
 ·6   ··    ·call that they changed their mind and me having the        ·6   A.·   ·Yes.
 ·7   ··    ·ability to review the hearing is off and the               ·7   Q.·   ·Okay.· On page 145, you're asked:
 ·8   ··    ·disciplinary hearing was on for that day.                  ·8   ··    · · · · · ·"Question:· Lieutenant, have you ever heard
 ·9   Q.·   ·So, you are -- let me understand this.                     ·9   ··    · · · me make disparaging remarks regarding any public
 10   ··    · · · You were accused of lying to the mayor and city       10   ··    · · · official, appointed official or Mike Goch from
 11   ··    ·council at a public hearing on 8-29-16, and you were       11   ··    · · · Goch & Sons Towing?"
 12   ··    ·never given the opportunity to listen to what were the     12   ··    · · · You said:
 13   ··    ·alleged lies?                                              13   ··    · · · · · ·"Answer:· No direct.· We've had personal
 14   A.·   ·That is correct.                                           14   ··    · · · conversations in regards to the way the tow
 15   Q.·   ·So, when you wrote this statement, you had not had a       15   ··    · · · contract has been warranted, but no personal
 16   ··    ·chance to actually look to see or listen to hear whether   16   ··    · · · attacks in front of anybody else."
 17   ··    ·you had ever said anything incorrect?                      17   ··    · · · Do you see that?
 18   A.·   ·When I made this statement, I wasn't really sure --        18   A.·   ·Uh-huh.· Yes.
 19   ··    ·completely sure what they were talking about.              19   Q.·   ·Okay.· And you said -- told me earlier that was true;
 20   ··    · · · When I went into that hearing, there were parts       20   ··    ·correct?
 21   ··    ·that I was nervous, and I don't remember everything.       21   A.·   ·Correct.
 22   Q.·   ·Sure.                                                      22   Q.·   ·Okay.· So, let's go back to what you said in Exhibit 1.
 23   A.·   ·Reading this transcript over again refreshed my memory     23   ··    · · · You said:
 24   ··    ·about a few things.· But bits and pieces of it, when I     24   ··    · · · · · ·"The answer to that question is yes.
 25   ··    ·realized that the City was coming after me also, I         25   ··    · · · Hayse would vent to me at times.· I knew he
                                                             Page 138                                                                 Page 140
 ·1   ··    ·became very nervous.                                       ·1   ··    · · · did not have a good relationship with the
 ·2   Q.·   ·Okay.                                                      ·2   ··    · · · mayor and did not like Mike Goch.· He spoke to
 ·3   A.·   ·And while people were talking to me and asking me          ·3   ··    · · · me in his office and sometimes at the front desk
 ·4   ··    ·questions, I'm thinking in my mind whether I should be     ·4   ··    · · · while I was working.· I do not recall the exact
 ·5   ··    ·answering them or wait until I have a union rep or a       ·5   ··    · · · words he said about them, but I knew he did not
 ·6   ··    ·union attorney present.                                    ·6   ··    · · · like them."
 ·7   Q.·   ·Okay.                                                      ·7   ··    · · · Okay?
 ·8   A.·   ·So, my mind was running in a hundred different             ·8   A.·   ·Yes.
 ·9   ··    ·directions all at once.                                    ·9   Q.·   ·So, let's stop right there.
 10   Q.·   ·You mean, when you were being asked questions at the       10   ··    · · · Do you agree that what you said under oath at the
 11   ··    ·public hearing?                                            11   ··    ·hearing is, in fact, accurate in that you explained that
 12   A.·   ·Yes.                                                       12   ··    ·you have had personal conversations with the chief but
 13   Q.·   ·Yeah.                                                      13   ··    ·no personal attacks in front of anybody?
 14   ··    · · · All right.· Let's look at what they say you said      14   A.·   ·That matches up pretty good, I believe.
 15   ··    ·and let's look at per your statement.                      15   Q.·   ·Okay.· And then the next statement in your Exhibit 1 is:
 16   ··    · · · In the third paragraph, you say:                      16   ··    · · · · · ·"I admit I have said negative things about
 17   ··    · · · · · ·"I learned later in a discussion with the        17   ··    · · · Mike Goch.· I do not remember the words stated.
 18   ··    · · · mayor last night that I was asked if Chief Hayse      18   ··    · · · I believe that any comments that I made were in
 19   ··    · · · had ever said anything negative about Mike Goch       19   ··    · · · regard to fees charged and not about Mike Goch's
 20   ··    · · · and the mayor."                                       20   ··    · · · character.· I also think they may have been
 21   ··    · · · I'll stop right there.                                21   ··    · · · largely influenced by the comments of Chad Hayse
 22   ··    · · · So, you were meeting with the mayor.· You're trying   22   ··    · · · and not from personal knowledge.· I believe I
 23   ··    ·to figure out what it is you supposedly lied about, and    23   ··    · · · have a decent professional relationship with
 24   ··    ·she says something like, "Well, you were asked if Chief    24   ··    · · · him."
 25   ··    ·Hayse ever said anything negative about Goch and the       25   ··    · · · So, let's go back to what you're admitting you

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                                                             Page 141                                                                 Page 143
 ·1   · · ·said.· You say -- you admit you said negative things         ·1   ··    ·taking bribes?· That was your explaining the background
 ·2   · · ·about Goch.                                                  ·2   ··    ·to that?
 ·3   · · · · · Let me find it.                                         ·3   A.·   ·Yes.· Yes.
 ·4   · · · · · Okay.· I don't even know that you were asked            ·4   ··    · · · I never accused her.· In fact, apparently from what
 ·5   · · ·whether you had made personal statements, but if you         ·5   ··    ·I hear, she thought I was mean, but I don't think I
 ·6   · · ·did, you've already said what you said on the record was     ·6   ··    ·could have been nicer to her.
 ·7   · · ·accurate; correct?                                           ·7   Q.·   ·Okay.· And the next one, you're apparently explaining,
 ·8   A.· ·In regard to questioning for the -- from the transcript?     ·8   ··    ·again, from Number 1, that the city council and the city
 ·9   Q.· ·Yeah.                                                        ·9   ··    ·attorney are on the take, and you say:
 10   A.· ·Yes.                                                         10   ··    · · · · · ·"In regard to the allegation that the city
 11   Q.· ·Okay.· Next paragraph:                                       11   ··    · · · council and city attorney are on the take, I do
 12   · · · · · · · ·"In regard to Mayor Striz and the allegation       12   ··    · · · not come into contact with members of the city
 13   · · · · · of her taking bribes --"                                13   ··    · · · council on a regular basis."
 14   · · · · · Do you know what that's referring to?                   14   A.·   ·I -- some of them I don't even -- wouldn't even know
 15   A.· ·Yes.· There was a situation where Ellis Slaughter, who       15   ··    ·them if I saw them today.
 16   · · ·is our motor carrier officer, brought it to my --            16   Q.·   ·Okay.· And so you denied saying anything negative about
 17   · · · · · THE REPORTER:· I'm sorry?                               17   ··    ·the city council?
 18   A.· ·Ellis Slaughter, S-l-a-u-g-h-t-e-r.                          18   A.·   ·No.· I had -- I have nothing to say bad about them. I
 19   · · · · · He's our motor carrier officer.                         19   ··    ·don't know them.· I don't attend council meetings.
 20   BY MS. GORDON:                                                    20   Q.·   ·Okay.· And then you talk about towing because you were
 21   Q.· ·Okay.                                                        21   ··    ·also accused of that.· That's on the last page.
 22   A.· ·He brought to my attention at the front desk that he         22   ··    · · · You say, "I've never tried to prevent anyone from
 23   · · ·attended a Red Wings game.· At the game were a bunch a       23   ··    · · · towing," which is same thing you said at the
 24   · · ·guys from the City's DPW.· He found out at that game         24   ··    ·hearing.
 25   · · ·that these block of hockey tickets were a gift from Mike     25   A.·   ·Correct.
                                                             Page 142                                                                 Page 144
 ·1   ··    ·Goch to the mayor.· I was kind of concerned about that.    ·1   Q.·   ·You say:
 ·2   ··    ·This was going through a contract bidding process at the   ·2   ··    · · · · · ·"I have, however, had issues with Corporal
 ·3   ··    ·time, and didn't think it was really appropriate.          ·3   ··    · · · Furman with putting elderly people and mothers
 ·4   ··    · · · I had spoke to Corrine Galusky, who, at the time,     ·4   ··    · · · with young children out on the street."
 ·5   ··    ·was the other corporate counsel attorney.· She told me     ·5   ··    · · · I'll stop right there.
 ·6   ··    ·she was concerned about it, and she asked me if I would    ·6   ··    · · · From my review of the transcript, you were cut off
 ·7   ··    ·speak to the mayor about it, and I agreed.                 ·7   ··    ·from talking about the issues you had had with Corporal
 ·8   ··    · · · And on December 24th of that year, she had come in    ·8   ··    ·Furman at that hearing; correct?
 ·9   ··    ·in the morning.· We sat in the chief's conference room,    ·9   A.·   ·I --
 10   ··    ·and I talked to her about the situation.· I expressed my   10   Q.·   ·I guess the document will speak for itself.
 11   ··    ·concern because I was concerned for the -- I was           11   A.·   ·Yeah.
 12   ··    ·considering the welfare of the City.· It was nothing       12   Q.·   ·Okay.
 13   ··    ·against her personally but I thought that I should let     13   A.·   ·I'm assuming so.· I don't remember.
 14   ··    ·her know that people were talking about it.                14   Q.·   ·Okay.· So, here you're explaining that; correct?
 15   ··    · · · In that meeting, we talked about several different    15   A.·   ·Yes.
 16   ··    ·things, and she also told me at that time that Pat         16   Q.·   ·And you say you're looking out for the best interests of
 17   ··    ·Easton was politicking for the chief's job.· She told me   17   ··    ·the department, the City, and the citizens?
 18   ··    ·that she had been approaching politician -- he had been    18   A.·   ·Yes.
 19   ··    ·approaching politicians about being the chief, and she     19   Q.·   ·Okay.· So, this is your response.
 20   ··    ·stated that he had also made copies of the city charter    20   ··    · · · Now, let me ask you this:· You cut the deal on the
 21   ··    ·with the specifications, the requirements for chief, and   21   ··    ·30-day suspension?
 22   ··    ·placed it in his -- in her mailbox.                        22   A.·   ·Correct.
 23   Q.·   ·Okay.· And that goes with -- the Complaint for             23   Q.·   ·Do you -- at the end of all this, did you have any idea
 24   ··    ·Suspension and Demotion and Termination against you,       24   ··    ·that you actually ever did anything wrong that you
 25   ··    ·that goes to Number 1, saying the mayor of Melvindale is   25   ··    ·should have gotten a 30-day suspension for?

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                                                             Page 145                                                                 Page 147
 ·1   A.·   ·No.· I knew that it didn't matter.· It -- it didn't        ·1   A.·   ·No.
 ·2   ··    ·matter whether I had done anything wrong or not; that      ·2   Q.·   ·Did you ever say, "I lied under oath"?
 ·3   ··    ·they were going to fire me and they were going to make     ·3   A.·   ·No.
 ·4   ··    ·me fight for my job back.                                  ·4   Q.·   ·Did you ever say, "I said stuff that's not true" or
 ·5   ··    · · · So, it was a decision that I made to throw myself     ·5   ··    ·"that's false"?
 ·6   ··    ·on the sword there and just take it to not mess up my      ·6   A.·   ·No.· I read this document.
 ·7   ··    ·pension and not be able to keep a roof over my kids'       ·7   Q.·   ·Okay.
 ·8   ··    ·heads.                                                     ·8   A.·   ·I read this document.· They asked a couple unrelated
 ·9   Q.·   ·And they were going to -- and they were -- you were sure   ·9   ··    ·questions about taking overtime and about towing cars,
 10   ··    ·they were going to terminate you because of what you       10   ··    ·and we talked about Matt Furman for about 15 minutes.
 11   ··    ·said at the hearing and because of your disciplining       11   Q.·   ·Do you know why it is people like the president of the
 12   ··    ·Furman or counseling, whatever you did?                    12   ··    ·council and the mayor are walking around saying that
 13   A.·   ·Well, I had a pretty good idea, based upon the way that    13   ··    ·you're a liar and you recanted everything you said at
 14   ··    ·Chad Hayse was treated.· I -- I was confident that they    14   ··    ·the public hearing and are saying that under oath?
 15   ··    ·were going to do the exact same thing to me as they did    15   A.·   ·I did -- I did not do that.
 16   ··    ·to Chad.· I was convinced of it.                           16   Q.·   ·Do you know why they're walking around saying that?
 17   Q.·   ·Which is what, in your opinion?                            17   A.·   ·I have no idea.
 18   A.·   ·Terminate him.                                             18   ··    · · · Why did they say that I accused the mayor of
 19   Q.·   ·But -- okay.· So, it's not necessarily wrong to            19   ··    ·being -- taking bribes?
 20   ··    ·terminate somebody if there's good cause.                  20   ··    · · · That never happened.· It's a good story, but it
 21   ··    · · · So, when you say there were going to do the same      21   ··    ·never happened.
 22   ··    ·thing --                                                   22   ··    · · · The truth of the matter is what we just talked
 23   A.·   ·Right.· I believe that they were going to terminate me.    23   ··    ·about, and I spoke to her in regards to that situation,
 24   ··    · · · These people -- they don't -- if they terminate       24   ··    ·for the best interests of the City.
 25   ··    ·somebody, it's nothing -- no skin off their back.· They    25   Q.·   ·So, it sounds like you're saying here you believe that
                                                             Page 146                                                                 Page 148
 ·1   ··    ·go home and go to bed.                                     ·1   · · ·the City had a predetermined decision to terminate
 ·2   ··    · · · These are appointed positions.· If they make the      ·2   · · ·Furman(sic); is that correct?
 ·3   ··    ·wrong decision, there's no recourse.· So, therefore, I'm   ·3   A.· ·That the City had what now?
 ·4   ··    ·out of a job.· I can't feed my kids.· I've got to wait     ·4   Q.· ·A -- predisposed.
 ·5   ··    ·nine and a half years to get my pension.                   ·5   · · · · · They were predisposed before this hearing ever
 ·6   Q.·   ·Okay.· All right.· So, you explained all of this.· I can   ·6   · · ·occurred to get rid of Hayse?
 ·7   ··    ·see that from your statements, you covered pretty much     ·7   · · · · · I said "Furman."
 ·8   ··    ·all of their things and you offered up an explanation,     ·8   · · · · · MS. BALIAN:· Objection.· Calls for --
 ·9   ··    ·but you're saying you agreed to take the 30 days just to   ·9   BY MS. GORDON:
 10   ··    ·ensure your future?                                        10   Q.· ·Their minds were made up to get rid of the chief?
 11   A.·   ·That would be accurate, yes.                               11   · · · · · MS. BALIAN:· Calls for speculation.· Objection.
 12   Q.·   ·Okay.· Now, I have been told multiple times in this case   12   A.· ·Well, conversation that I had with Chad, he was
 13   ··    ·that you're a liar; that you recanted; that you admitted   13   · · ·confident they were going to fire him.· That's -- those
 14   ··    ·you were a liar.                                           14   · · ·were his words.
 15   A.·   ·Where?                                                     15   BY MS. GORDON:
 16   Q.·   ·At the Public Safety Commission; that you admitted that.   16   Q.· ·And then you thought after you testified, they were
 17   ··    · · · Is any of that true?                                  17   · · ·going to fire you no matter what the truth was?
 18   A.·   ·No.· I read this statement that I prepared, and I was      18   A.· ·Yes.· I don't think it mattered.
 19   ··    ·asked several random questions regarding this document.    19   Q.· ·There's a form that's been talked about in this case
 20   Q.·   ·That's the Lawrence Jackson report?                        20   · · ·that police officers are supposed to get before they're
 21   A.·   ·The Lawrence Jackson document, and that was it.· I was     21   · · ·disciplined, a form that is supposed to be filled out
 22   ··    ·told when to come back to work, and I walked out the       22   · · ·within the police department.
 23   ··    ·door.                                                      23   · · · · · Did you ever receive such a form setting forth
 24   Q.·   ·Did you ever say, "I'm recanting anything I said under     24   · · ·reasons from the police department?
 25   ··    ·oath"?                                                     25   A.· ·No.· I never received anything after I walked out of the

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 ·1   · · ·meeting.· No paperwork indicating what my punishment       ·1   · · · · · · · ·"Answer:· Absolutely not."
 ·2   · · ·was, what the -- nothing.                                  ·2   A.· ·That I never heard him make a statement of that sort?
 ·3   · · · · · MS. GORDON:· Okay.· That's all I have for you.        ·3   Q.· ·Correct.
 ·4   · · · · · MS. BALIAN:· Can I just have like 10 or 15 minutes,   ·4   A.· ·Yes.
 ·5   · · ·please, and then I'll do my questioning.                   ·5   Q.· ·Okay.· And then on --
 ·6   · · · · · MS. GORDON:· Okay.                                    ·6   · · · · · MS. BALIAN:· You said that was on what page,
 ·7   · · · · · · · (Short recess at 1:30 p.m.)                       ·7   · · ·Elizabeth?
 ·8   · · · · · · · · · · · ·*· ·*· ·*                                ·8   · · · · · MS. MARZOTTO TAYLOR:· That's 145 of our copy.· So,
 ·9   · · · · · · ·(Record resumed at 1:56 p.m.)                      ·9   · · ·145, line 14.
 10   · · · (Ms. Gordon is not present after the break.)              10   BY MS. BALIAN:
 11   · · · · · · · · · · · ·*· ·*· ·*                                11   Q.· ·Okay.· So, if you want to turn to page probably 149.
 12   · · · · · · · · · · · EXAMINATION                               12   · · · · · By -- questioning by Mr. Guzall, it says:
 13   BY MS. BALIAN:                                                  13   · · · · · · · ·"Question:· Okay.· In this personal
 14   Q.· ·I have a copy of the transcript as well, but I don't       14   · · · · · conversation that you say you had with the
 15   · · ·think my pages are lining up with the copy of the          15   · · · · · chief in regards to Goch & Sons, did he say any
 16   · · ·transcript that Deb provided you.· So, I'll just read      16   · · · · · derogatory things about Goch & Sons?"
 17   · · ·some of the testimony and you can say whether you recall   17   A.· ·I'm --
 18   · · ·testifying to that or not.                                 18   · · · · · MS. MARZOTTO TAYLOR:· 149, on to 150.
 19   · · · · · Do you recall being asked by Chief Hayse at his       19   BY MS. BALIAN:
 20   · · ·removal hearing whether -- the question was:               20   Q.· ·Right here.
 21   · · · · · · · ·"Question:· You never heard me come up to        21   A.· ·Yes.· I'm -- I got it.
 22   · · · · · the front desk and make any sort of announcement,     22   · · · · · In which conversation?· I --
 23   · · · · · disparaging remark about not towing vehicles          23   Q.· ·Because you testified earlier you had personal
 24   · · · · · because Goch & Sons was our tow provider as of        24   · · ·conversations with the chief.
 25   · · · · · June --"                                              25   A.· ·Yes, I did.· I did have personal conversations with the
                                                           Page 150                                                                 Page 152
 ·1   · · · · · Your response:                                        ·1   ··    ·chief.
 ·2   · · · · · · · ·"Answer:· Absolutely not."                       ·2   Q.·   ·And what's your response?
 ·3   · · · · · Do you remember that?                                 ·3   A.·   ·It says that I said "No."
 ·4   A.· ·The question is whether I heard Chad Hayse make a          ·4   Q.·   ·Okay.
 ·5   · · ·statement at the front desk stating not to tow cars.       ·5   A.·   ·Okay.
 ·6   · · · · · MS. MARZOTTO TAYLOR: It's on page 145 if that         ·6   Q.·   ·And then the following question is:
 ·7   · · ·helps.                                                     ·7   ··    · · · · · ·"Question:· So, what other officers have
 ·8   · · · · · MS. BALIAN:· Is it?                                   ·8   ··    · · · testified to in regards to negative comments
 ·9   A.· ·Okay.                                                      ·9   ··    · · · about Goch & Sons being made by the chief of
 10   · · · · · MS. MARZOTTO TAYLOR:· It's 145.· I think the          10   ··    · · · police, you are saying you have not heard
 11   · · ·question starts at line 14, that you're asking about.      11   ··    · · · those comments; correct?"
 12   A.· ·Okay.· The question --                                     12   ··    · · · And your response:
 13   BY MS. BALIAN:                                                  13   ··    · · · · · ·"Answer:· I have not heard those comments."
 14   Q.· ·(Reading.)                                                 14   ··    · · · Correct?
 15   · · · · · · · ·"Question:· Never heard me come up to the        15   A.·   ·The question was other officers testified in regards --
 16   · · · · · front desk and make any sort of announcement,         16   ··    ·is -- in regards from other officers?
 17   · · · · · disparaging remark about not towing vehicles          17   Q.·   ·The question is:
 18   · · · · · because Goch & Sons was our tow provider as           18   ··    · · · · · ·"Question:· So, what other officers have
 19   · · · · · of June of --"                                        19   ··    · · · testified to in regards to negative comments
 20   A.· ·Okay.                                                      20   ··    · · · about Goch & Sons being made by the chief of
 21   Q.· ·And then --                                                21   ··    · · · police, you are saying you have not heard
 22   A.· ·"2015."· Okay.                                             22   ··    · · · those comments; correct?"
 23   Q.· ·You see that?                                              23   A.·   ·I would --
 24   A.· ·Yes.                                                       24   Q.·   ·And your response was:
 25   Q.· ·And your response:                                         25   ··    · · · · · ·"Answer:· I have not heard those comments."

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                                                             Page 153                                                                 Page 155
 ·1   ··    · · · Correct?                                              ·1   Q.·   ·Okay.· So, what were the derogatory statements that the
 ·2   A.·   ·I would interpret that question and answer as he was       ·2   ··    ·chief said about Goch & Sons?
 ·3   ··    ·asking me about comments from other officers, that other   ·3   A.·   ·He said he didn't like the way that he was -- that he
 ·4   ··    ·officers have testified.                                   ·4   ··    ·was handling the business.· He thought he was being --
 ·5   ··    · · · I don't know what the other officers testified to.    ·5   ··    ·he was overcharging citizens.
 ·6   Q.·   ·Well, your response was you didn't hear those comments?    ·6   Q.·   ·Did he say that Mike Goch was a crook?
 ·7   A.·   ·Because I wasn't there to hear their testifying.           ·7   A.·   ·I don't recall him saying that.
 ·8   Q.·   ·So, if we go to the response that you submitted to --      ·8   Q.·   ·So, he could have?
 ·9   ··    ·well, it's Exhibit 1 here today, the response to your      ·9   A.·   ·He could have said anything.
 10   ··    ·Complaint for Suspension, Demotion and/or Termination of   10   Q.·   ·Could he have said that?
 11   ··    ·Michael Welch.· In the third paragraph down, it says:      11   A.·   ·Can he say those words?
 12   ··    · · · · · ·"I learned later in discussion with the          12   ··    · · · It's possible he could say those words.
 13   ··    · · · mayor last night that I was asked if Chief            13   ··    · · · I don't recall him ever saying that, no.
 14   ··    · · · Hayse had ever said anything negative about           14   Q.·   ·Okay.· What do you recall him saying other than he
 15   ··    · · · Mike Goch and the mayor.· The answer to that          15   ··    ·didn't like how he was charging the citizens?
 16   ··    · · · question is yes."                                     16   ··    · · · And it's not just Melvindale citizens.
 17   ··    · · · That differs from your testimony from the removal     17   A.·   ·The conversations -- no, I was talking about the public
 18   ··    ·hearing, correct, in which you responded, no, that you     18   ··    ·in general.
 19   ··    ·had never heard Chief Hayse say anything derogatory        19   Q.·   ·Okay.
 20   ··    ·about Goch & Sons?                                         20   A.·   ·The conversations we had about Mike Goch were the
 21   A.·   ·Which question is that?                                    21   ··    ·charging people for services they didn't receive, about
 22   Q.·   ·It was at the bottom of 149.                               22   ··    ·having to go back and forth with the city council about
 23   ··    · · · · · ·"Question:· Okay.· And did -- in this            23   ··    ·this tow dolly service that they had.
 24   ··    · · · personal conversation that you say you had with       24   ··    · · · He did not get along with Mike Goch, and he said he
 25   ··    · · · the chief in regards to Goch & Sons, did he say       25   ··    ·didn't like him.
                                                             Page 154                                                                 Page 156
 ·1   ··    · · · any derogatory things about Goch & Sons?"             ·1   ··    · · · So, it's wide open of what "negative" means.
 ·2   ··    · · · Your answer:                                          ·2   Q.·   ·Well, if we go back prior to Goch receiving the
 ·3   ··    · · · · · ·"Answer:· No."                                   ·3   ··    ·contract, why didn't he want Goch to receive the
 ·4   A.·   ·Okay.                                                      ·4   ··    ·contract?
 ·5   Q.·   ·So, you changed your testimony; correct?· You changed      ·5   ··    · · · You didn't -- none of this had happened with --
 ·6   ··    ·your response to that?                                     ·6   A.·   ·I don't --
 ·7   A.·   ·My response and my statement is different than what's on   ·7   Q.·   ·Just let me get my question out.
 ·8   ··    ·the transcript, yes.                                       ·8   A.·   ·I'm sorry.
 ·9   Q.·   ·Okay.· So, he did make derogatory statements about Goch    ·9   Q.·   ·None of this had happened with the dolly yet.
 10   ··    ·& Sons?                                                    10   A.·   ·Okay.
 11   A.·   ·In private, yes.                                           11   Q.·   ·So, why didn't he want Goch to receive the contract to
 12   Q.·   ·Well, apparently according to your statement here, he      12   ··    ·begin with?
 13   ··    ·also made them at the front desk?                          13   A.·   ·I don't know why he didn't want to.· That's -- you would
 14   A.·   ·No one else was around at that time.                       14   ··    ·have to pose the question to Chad Hayse.
 15   Q.·   ·Okay.· Do you know for certain that nobody overheard       15   Q.·   ·But you agree he was against Goch receiving the
 16   ··    ·what those statements were at the front desk?              16   ··    ·contract?
 17   ··    · · · Did you question each one of the officers?            17   A.·   ·Based upon his investigation, based upon the incidents
 18   A.·   ·How would I know to question them?                         18   ··    ·that have happened with the tow company in relation to
 19   Q.·   ·I'm sorry?                                                 19   ··    ·the department, it wasn't his first choice.
 20   A.·   ·How would I know to question them?· About what?            20   Q.·   ·The incidents?
 21   Q.·   ·I'm asking you if you did.                                 21   A.·   ·We've arrested their drivers before, and we've had to
 22   A.·   ·Did I question every officer in the department whether     22   ··    ·tow their tow trucks before for violating the law.
 23   ··    ·they heard Chad Hayse say something?                       23   Q.·   ·Has anybody at Gene's Towing ever been arrested?
 24   Q.·   ·Yes.                                                       24   A.·   ·By us?
 25   A.·   ·No.                                                        25   Q.·   ·I'm not asking by you.

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                                                             Page 157                                                               Page 159
 ·1   A.·   ·I don't know about by anyone but our personal              ·1   Q.· ·Did you FOIA the transcript of the removal hearing?
 ·2   ··    ·experience.                                                ·2   A.· ·No.
 ·3   Q.·   ·Okay.· So, somebody at Gene's also could have been         ·3   Q.· ·Why?
 ·4   ··    ·arrested.                                                  ·4   A.· ·I don't know.
 ·5   ··    · · · Does it matter if they were arrested by another       ·5   Q.· ·I mean, you made a big issue of it here today.
 ·6   ··    ·municipality?                                              ·6   · · · · · Why didn't you just FOIA it?
 ·7   A.·   ·It may.· But we're going upon our personal experience      ·7   A.· ·Because I did not.
 ·8   ··    ·with the company.· And at that time, it was not            ·8   · · · · · MS. BALIAN:· Can I have this marked, please?
 ·9   ··    ·favorable.                                                 ·9   · · · · · · · ·(Deposition Exhibit 2 marked
 10   Q.·   ·The background check that you say the chief completed,     10   · · · · · · · ·for identification.)
 11   ··    ·do you have personal knowledge about whether any of the    11   BY MS. BALIAN:
 12   ··    ·city council members actually received this written        12   Q.· ·I'm showing you this September -- dated September 21st,
 13   ··    ·background check?                                          13   · · ·2016, which are the minutes of the September 13th, 2016
 14   ··    · · · Because they've all testified they never received     14   · · ·Public Safety Commission.
 15   ··    ·it.                                                        15   · · · · · Was that the date of your trial board; if you
 16   A.·   ·Chad Hayse said he brought it into the city council        16   · · ·recall?
 17   ··    ·chambers.· I was not present.                              17   A.· ·It was in September sometime.
 18   Q.·   ·Okay.· So, based upon what Chad told you?                  18   Q.· ·Okay.· The top of the second page indicates:
 19   A.·   ·Correct.                                                   19   · · · · · · · ·"Moved by Bolton and supported by Hall
 20   Q.·   ·In terms of why -- the reasoning behind the suspension,    20   · · · · · to suspend Lieutenant Michael Welch for 30 days
 21   ··    ·do you agree that it was specifically regarding the        21   · · · · · without pay.· In addition, the Melvindale Police
 22   ··    ·false testimony that you provided at the removal hearing   22   · · · · · Supervisor's Association has agreed not to file
 23   ··    ·regarding statements that you admitted that you heard      23   · · · · · any and all grievances regarding Lieutenant
 24   ··    ·former Chief Hayse make?                                   24   · · · · · Welch's suspension and discipline.
 25   A.·   ·Can you rephrase that, please, for me?                     25   · · · · · · · ·Lieutenant Welch will render truthful
                                                             Page 158                                                               Page 160
 ·1   · · · · · MS. BALIAN:· Can you read the statement back,           ·1   · · · · · testimony if called upon to do so regarding
 ·2   · · ·please?                                                      ·2   · · · · · former police chief Chad Hayse and statements he
 ·3   · · · · · THE REPORTER:· Yes.                                     ·3   · · · · · admitted he heard the former chief make.
 ·4   · · · · · MS. BALIAN:· Question back, rather.                     ·4   · · · · · · · ·Upon notice of Lieutenant Welch's retirement,
 ·5   · · · · · ·(Record repeated by the reporter.)                     ·5   · · · · · the disciplinary action regarding this issue will
 ·6   A.· ·Now there's one question in -- in the whole deposition       ·6   · · · · · be removed from his personnel file."
 ·7   · · ·where I said "no" when I should have said "yes."             ·7   · · · · · Is that the agreement --
 ·8   · · · · · I don't know if that -- it wasn't intentional.          ·8   A.· ·Yes.
 ·9   · · · · · My intention was never to lie to anybody about          ·9   Q.· ·-- you made?
 10   · · ·anything.                                                    10   · · · · · Going on in your complaint, you indicate that Ellis
 11   BY MS. BALIAN:                                                    11   · · ·Slaughter informed you in December of 2014 that the
 12   Q.· ·But that was incorrect testimony; correct?                   12   · · ·mayor had accepted hockey tickets from Mike Goch.
 13   A.· ·I said "no" instead of "yes" on that question, in my         13   · · · · · Did Ellis Slaughter tell you how he became aware of
 14   · · ·questioning.· Yes, I did.                                    14   · · ·this?
 15   Q.· ·So, it was incorrect testimony?                              15   A.· ·He attended the game and found out that -- where they
 16   A.· ·That would be incorrect, yes.                                16   · · ·came from.
 17   Q.· ·Okay.· Now why don't you answer the question that I          17   · · · · · He was told by the people at the game.
 18   · · ·posed to you?                                                18   Q.· ·The mayor wasn't there; correct?
 19   A.· ·Okay.· Can you repeat it to me again?                        19   A.· ·No.
 20   · · · · · · (Record repeated by the reporter.)                    20   Q.· ·Who was there?
 21   A.· ·Well, they can -- that was an allegation that was made       21   A.· ·Ellis Slaughter and members of the city DPW.
 22   · · ·against me.· And did I say "no" instead of "yes"?· I did     22   · · · · · · (Discussion held off the record.)
 23   · · ·say "no" instead of "yes."· I didn't even know until         23   BY MS. BALIAN:
 24   · · ·now.· I've never seen the transcript.· I don't know.         24   Q.· ·And you chose to contact the mayor on Christmas Eve?
 25   BY MS. BALIAN:                                                    25   A.· ·No.

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                                                             Page 161                                                                 Page 163
 ·1   ··    · · · I spoke to Corrine Galusky, and Corinne Galusky       ·1   Q.· ·Did you create a report of this meeting?
 ·2   ··    ·asked me if I would speak to the mayor, and Corrine        ·2   A.· ·No.
 ·3   ··    ·Galusky contacted the mayor, and she came in the next      ·3   Q.· ·Why?
 ·4   ··    ·day.                                                       ·4   A.· ·I didn't think I needed to.
 ·5   Q.·   ·Why didn't you turn this over to the detective bureau or   ·5   Q.· ·Why?
 ·6   ··    ·the Michigan State police?                                 ·6   A.· ·Why would I?
 ·7   A.·   ·Should I have?                                             ·7   Q.· ·Well, you believed there was wrongdoing.· You're a
 ·8   Q.·   ·Well, you're not a detective; right?                       ·8   · · ·police officer.
 ·9   A.·   ·I would not investigate something in my department like    ·9   A.· ·I didn't -- I didn't know for sure.· I had heard someone
 10   ··    ·that anyways.                                              10   · · ·say something, and so I wanted to bring it to her
 11   Q.·   ·That's why I'm asking you.                                 11   · · ·attention.· And I left it at that.
 12   A.·   ·Okay.· I brought it --                                     12   Q.· ·So, you didn't put anything in writing after this?
 13   Q.·   ·You know the policies and procedures; right?               13   A.· ·No.
 14   A.·   ·I brought it -- I brought it to her attention that I had   14   Q.· ·Did you contact Corrine Galusky?
 15   ··    ·heard about it, and I was looking out for the best         15   · · · · · MS. MARZOTTO TAYLOR:· When?
 16   ··    ·interests of the City.                                     16   BY MS. BALIAN:
 17   Q.·   ·Okay.                                                      17   Q.· ·After the meeting?
 18   A.·   ·Okay.                                                      18   A.· ·She worked right down the hall.
 19   Q.·   ·And you believed it was appropriate for you to             19   Q.· ·Okay.
 20   ··    ·investigate it?                                            20   A.· ·And she spoke with me about it, yes.
 21   A.·   ·No, I didn't investigate it.                               21   Q.· ·Okay.· And what did you tell her?
 22   Q.·   ·How were you not investigating it when you had the mayor   22   A.· ·What did I tell her?
 23   ··    ·come into the station and asked her questions?             23   Q.· ·Yeah.
 24   ··    · · · That's not investigating it?                          24   A.· ·She -- well, she told me -- she came back and said,
 25   A.·   ·What questions --                                          25   · · ·"Yeah, the mayor said that you guys met."
                                                             Page 162                                                                 Page 164
 ·1   Q.·   ·What do you call that?                                     ·1   ··    · · · And I said, "Okay."
 ·2   A.·   ·What questions did I ask her?                              ·2   ··    · · · And she said, "Well, for some reason, the mayor
 ·3   Q.·   ·Did you ask -- did you have the mayor come into the        ·3   ··    ·thought that you were being mean to her."
 ·4   ··    ·station?· Isn't that what it says in your statement        ·4   ··    · · · I said, "Well, I was nice as could be.· I don't
 ·5   ··    ·here?                                                      ·5   ··    ·know why she would think that."
 ·6   A.·   ·I did not request the mayor to come into the station.      ·6   ··    · · · And that was the end of it.
 ·7   ··    · · · Corrine Galusky contacted the mayor and spoke with    ·7   ··    · · · I spoke with her because I didn't want there to be
 ·8   ··    ·her about it, and she came in unannounced.· I didn't       ·8   ··    ·any improprieties or make the City look bad.· I was
 ·9   ··    ·even know she was coming.· She showed up at the front      ·9   ··    ·concerned about that.· I wasn't trying to get someone
 10   ··    ·desk.                                                      10   ··    ·arrested or -- didn't accuse anybody of anything. I
 11   Q.·   ·Do you recall telling the mayor that she was going to be   11   ··    ·just brought it to her attention that I had heard about
 12   ··    ·sent to prison for corruption?                             12   ··    ·it and let her know that it's probably -- if it's going
 13   A.·   ·I never said that.                                         13   ··    ·on, it's probably not a good idea because people could
 14   Q.·   ·Did you record this?                                       14   ··    ·draw conclusions from it, and there could be problems.
 15   A.·   ·No.                                                        15   ··    ·And I was trying to look out for the best interests of
 16   Q.·   ·Was she in an interrogation room?                          16   ··    ·the City.
 17   A.·   ·No.                                                        17   Q.·   ·So, it's never been your opinion that the mayor was
 18   Q.·   ·Where was she?                                             18   ··    ·taking any bribes of any kind?
 19   A.·   ·We were sitting in the chief's conference room.            19   A.·   ·I have no evidence of anything happening like that.
 20   Q.·   ·Did the chief have knowledge of this meeting?              20   Q.·   ·I asked if it's ever been your opinion.
 21   A.·   ·Yes.                                                       21   A.·   ·No.
 22   Q.·   ·How so?                                                    22   Q.·   ·And then you say:
 23   A.·   ·I told him.                                                23   ··    · · · · · ·"I know that the mayor and Mike Goch are
 24   Q.·   ·Did you accuse the mayor of receiving a Rolex?             24   ··    · · · friends --"
 25   A.·   ·No.                                                        25   ··    · · · How do you know that?

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                                                           Page 165                                                               Page 167
 ·1   A.· ·Because they attend concerts together, and they go out     ·1   Q.· ·Did you ever hear Chief Hayse or former chief Hayse say
 ·2   · · ·together.                                                  ·2   · · ·anything about any city council members being on the
 ·3   Q.· ·When did they become friends?                              ·3   · · ·take?
 ·4   A.· ·I don't know.                                              ·4   A.· ·No.
 ·5   Q.· ·Did you hear they went to high school together?            ·5   Q.· ·What about Larry Coogan being on the take?
 ·6   A.· ·No.                                                        ·6   A.· ·No.
 ·7   Q.· ·Okay.· So, you don't know when they met?                   ·7   Q.· ·The mayor being on the take?
 ·8   A.· ·I have no idea.                                            ·8   · · · · · MS. MARZOTTO TAYLOR:· Asked and answered.
 ·9   Q.· ·And you say:                                               ·9   A.· ·No.
 10   · · · · · · · ·"I don't ever recall making any vulgar or        10   BY MS. BALIAN:
 11   · · · · · sexist comments about the mayor or anyone else."      11   Q.· ·Did you hear Chief Hayse, or did he tell you that he did
 12   · · · · · You don't recall, but you could have, because         12   · · ·not want officers making Goch money?
 13   · · ·anything is possible?                                      13   A.· ·I never heard him say that, no.
 14   A.· ·The mayor has always been very nice to me.· I have had     14   Q.· ·And close to your last statement here in your response
 15   · · ·no reason to ever say anything bad about her.              15   · · ·to the complaint, you talk about how you contacted John
 16   · · · · · MS. BALIAN:· Can you repeat my question, please?      16   · · ·Allen.
 17   · · · · · THE REPORTER:· Yes.                                   17   · · · · · Do you remember telling John Allen how you messed
 18   · · · · · · (Record repeated by the reporter.)                  18   · · ·up at the removal hearing?
 19   · · · · · MS. MARZOTTO TAYLOR:· Calls for speculation.          19   A.· ·I assumed that I messed up.· I didn't know.· I wasn't
 20   BY MS. BALIAN:                                                  20   · · ·sure, and I explained to him that I was really nervous
 21   Q.· ·You can answer the question.                               21   · · ·during the hearing.· And from the response I was getting
 22   A.· ·I never said anything bad about the mayor.                 22   · · ·that I had said something crazy, and I didn't know what
 23   · · · · · Is it possible for anyone to speak any word?· It's    23   · · ·it was.
 24   · · ·possible, but I'm denying ever saying anything vulgar      24   Q.· ·Did you admit to John Allen that you perjured yourself?
 25   · · ·about the mayor.                                           25   A.· ·No.
                                                           Page 166                                                               Page 168
 ·1   Q.· ·Did Chad Hayse ever say anything vulgar about the mayor?   ·1   Q.· ·Did you meet with Chad Hayse prior to his removal
 ·2   · · · · · MS. MARZOTTO TAYLOR:· Asked and answered.             ·2   · · ·hearing?
 ·3   BY MS. BALIAN:                                                  ·3   A.· ·Not that I can remember, no.
 ·4   Q.· ·You can answer it.                                         ·4   Q.· ·Do you know anyone that's been questioned in the Gasper
 ·5   A.· ·Vulgar in what way?· What do you consider vulgar?          ·5   · · ·Fiore investigation?
 ·6   Q.· ·Did he call her a "cunt"?                                  ·6   · · · · · MS. MARZOTTO TAYLOR:· Relevance.
 ·7   A.· ·No.                                                        ·7   A.· ·Gasper Fiore?
 ·8   Q.· ·Did he call her a "bitch"?                                 ·8   BY MS. BALIAN:
 ·9   A.· ·There was one incident where the mayor wanted to fire      ·9   Q.· ·Investigation for bribery?
 10   · · ·him for not giving her a police radio, and he said         10   A.· ·I don't -- I'm not really familiar with the case.
 11   · · ·something to the effect, in his office, about "she's       11   Q.· ·I didn't ask you if you were familiar with the case. I
 12   · · ·being a bitch about this."                                 12   · · ·just asked if you know anyone that's been questioned in
 13   Q.· ·Did he call her a "slut"?                                  13   · · ·it.
 14   A.· ·No.                                                        14   A.· ·Do I know anyone?
 15   Q.· ·Did he call her any other names?                           15   Q.· ·Uh-huh.
 16   A.· ·Not they I can remember now.                               16   A.· ·I don't know who has been questioned in that case.
 17   Q.· ·But he could have?                                         17   Q.· ·So, you don't know anyone that's been questioned in it?
 18   · · · · · MS. MARZOTTO TAYLOR:· Calls for speculation.          18   · · · · · MS. MARZOTTO TAYLOR:· Asked and answered.
 19   BY MS. BALIAN:                                                  19   A.· ·I'm not familiar with the case.· I have no idea.
 20   Q.· ·Is that true?· Could have?                                 20   BY MS. BALIAN:
 21   A.· ·Anything is possible.· I don't know.· I'm telling you      21   Q.· ·The Lawrence Jackson investigation, was today the first
 22   · · ·what I know.                                               22   · · ·time you've seen that document?
 23   Q.· ·That's all I want to know is what you know.· I don't       23   A.· ·Yes.
 24   · · ·want you to speculate.                                     24   · · · · · MS. MARZOTTO TAYLOR:· I'm going to need those
 25   A.· ·Okay.                                                      25   · · ·documents back at the end of the day.· Those are our

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                                                             Page 169                                                               Page 171
 ·1   · · ·documents.                                                   ·1   BY MS. BALIAN:
 ·2   · · · · · MS. BALIAN:· These were the copies that Deb gave        ·2   Q.· ·And if you go on to page 2, in the second -- well, the
 ·3   · · ·me.· She gave me this one.                                   ·3   · · ·first full paragraph, Ms. Wielichowski actually
 ·4   · · · · · MS. MARZOTTO TAYLOR:· Yeah.· We gave you the copies     ·4   · · ·confirmed that the vehicle was not insured to Furman;
 ·5   · · ·of the exhibit, but other than the exhibit, I'm going to     ·5   · · ·correct?
 ·6   · · ·need everything else back at the end of the day.             ·6   A.· ·Yes.· Yep.
 ·7   · · · · · MS. BALIAN:· Okay.· That's fine.                        ·7   Q.· ·And then at the bottom of that paragraph, Furman informs
 ·8   · · · · · MS. MARZOTTO TAYLOR:· Great.                            ·8   · · ·you that when he ran her through LEIN, it showed she had
 ·9   · · · · · MS. BALIAN:· This is mine.                              ·9   · · ·a warrant out of Detroit; correct?
 10   · · · · · MS. MARZOTTO TAYLOR:· Yeah.· Yeah.                      10   A.· ·Yes.
 11   BY MS. BALIAN:                                                    11   Q.· ·Okay.· Furman then goes on to advise you in the next
 12   Q.· ·You should have this in front of you.· It's the March        12   · · ·paragraph that he informed Ms. Wielichowski that he was
 13   · · ·1st, 2016 memo to you from Corporal Furman.                  13   · · ·going to be issuing her a ticket for no insurance and
 14   · · · · · I don't know --                                         14   · · ·give her a verbal warning on the license plate cover;
 15   · · · · · MS. MARZOTTO TAYLOR:· Okay.                             15   · · ·correct?
 16   · · · · · MS. BALIAN:· It might be here.                          16   A.· ·Yes.
 17   · · · · · Here it is.                                             17   Q.· ·In the next paragraph, Furman advises you that he told
 18   · · · · · MS. MARZOTTO TAYLOR:· Great.                            18   · · ·Ms. Wielichowski that vehicles with no insurance are
 19   BY MS. BALIAN:                                                    19   · · ·generally impounded.· He asked her if she had someone
 20   Q.· ·So, did you request this from him?                           20   · · ·available to pick her up; correct?
 21   A.· ·Yes.                                                         21   A.· ·"I decided to impound her vehicle.· She had a ride
 22   Q.· ·Okay.· And was that at the direction of Chad Hayse?          22   · · ·available --" yeah, she -- asked if she had someone
 23   A.· ·No.                                                          23   · · ·available to pick her up, yes.
 24   · · · · · That was my request to him.                             24   Q.· ·Okay.· And she stated that she did have somebody already
 25   Q.· ·And that was because the female came into the station?       25   · · ·on the way?
                                                             Page 170                                                               Page 172
 ·1   A.·   ·Yes.                                                       ·1   A.· ·Yes.
 ·2   ··    · · · I was unaware that there was really a situation       ·2   Q.· ·Okay.· And at that point he decided to impound the
 ·3   ··    ·that happened on the street, didn't really know what       ·3   · · ·vehicle because she had a ride available; correct?
 ·4   ··    ·happened until the lady came in hysterical and             ·4   A.· ·Yep.
 ·5   ··    ·complaining.                                               ·5   Q.· ·Okay.· And then he indicates the weather conditions were
 ·6   ··    · · · So, then I requested him to do a letter about the     ·6   · · ·warm and sunny with no rain or snow; correct?
 ·7   ··    ·incident.                                                  ·7   A.· ·Yes.
 ·8   Q.·   ·Okay.· So, in this memo, he advises you in the first       ·8   Q.· ·And then he indicates to you that he advised
 ·9   ··    ·paragraph that he's on patrol.· He's unable to make out    ·9   · · ·Ms. Wielichowski that she and her passengers will need
 10   ··    ·the lettering on the license plate.· And in addition,      10   · · ·to exit the vehicle and wait in the rear seat of his
 11   ··    ·the Secretary of State showed that there was no            11   · · ·patrol car for their ride; correct?
 12   ··    ·insurance on file for the vehicle; correct?                12   A.· ·Correct.
 13   A.·   ·Let's see.                                                 13   Q.· ·Okay.
 14   ··    · · · Yeah, it does say that he was unable to see the       14   · · · · · MS. MARZOTTO TAYLOR:· The document speaks for
 15   ··    ·plate, but he was able to run it, though.                  15   · · ·itself.
 16   ··    · · · But, yes, that's what it says.                        16   · · · · · Are we coming to a question?
 17   Q.·   ·Okay.· He said he had observed a cover over the license    17   · · · · · MS. BALIAN:· I've got lots of questions.
 18   ··    ·plate which was dirty and reflected a large amount of      18   · · · · · MS. MARZOTTO TAYLOR:· Well, you know, so far we're
 19   ··    ·sunlight making it difficult for him to see clearly;       19   · · ·just reading this document, which --
 20   ··    ·correct?                                                   20   · · · · · MS. BALIAN:· Yep, just like you did.· Thanks.
 21   A.·   ·Okay.                                                      21   BY MS. BALIAN:
 22   Q.·   ·Correct?                                                   22   Q.· ·Okay.· And then it goes on to say that Officer Furman
 23   ··    · · · MS. MARZOTTO TAYLOR:· The document speaks for         23   · · ·informed Wielichowski that he would give her a ride to
 24   ··    ·itself.                                                    24   · · ·White Castle and was also willing to transport her to
 25   A.·   ·Yes.· Right here, yes.                                     25   · · ·any other destination of her choice in Melvindale city

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 ·1   · · ·limits; correct?                                           ·1   · · ·she can either go to jail, or she can do as she was
 ·2   A.· ·Uh-huh.                                                    ·2   · · ·originally told, get her kids and things and have a seat
 ·3   · · · · · THE REPORTER:· I'm sorry.· Is that "yes"?             ·3   · · ·in the rear of his vehicle; correct?
 ·4   BY MS. BALIAN:                                                  ·4   · · · · · MS. MARZOTTO TAYLOR:· The document speaks for
 ·5   Q.· ·You have to say "yes" or "no."                             ·5   · · ·itself.
 ·6   A.· ·Yes.                                                       ·6   A.· ·Yes.
 ·7   · · · · · I'm sorry.                                            ·7   BY MS. BALIAN:
 ·8   Q.· ·Okay.· And then at that time, Goch Towing arrived.· He     ·8   Q.· ·Okay.· So, at this point, he still offered her the
 ·9   · · ·informed you of that; correct?                             ·9   · · ·choice of getting in the rear of his vehicle when, in
 10   A.· ·Yes.                                                       10   · · ·fact, he could have arrested her for being a disorderly
 11   Q.· ·Okay.· And then we go to the next paragraph.· And Furman   11   · · ·person for refusing to obey his directions or arrested
 12   · · ·tells you at this time, Wielichowski says, "No, I'm not    12   · · ·her for hindering and obstructing a police officer;
 13   · · ·getting out of the vehicle"; correct?                      13   · · ·correct?
 14   A.· ·Yes.                                                       14   A.· ·At the point that the situation escalated that he had to
 15   Q.· ·Okay.· And Furman says that he told Ms. Wielichowski at    15   · · ·use physical force against the citizen, he should have
 16   · · ·least four or five times to exit the vehicle; correct?     16   · · ·arrested her.
 17   A.· ·Correct.                                                   17   Q.· ·Okay.
 18   Q.· ·Going on to the next page, Furman informs you              18   A.· ·Not let her go.
 19   · · ·Ms. Wielichowski repeatedly refused to get out of the      19   Q.· ·But he chose not to.· He used his discretion; correct?
 20   · · ·vehicle; correct?                                          20   A.· ·That's different.
 21   A.· ·Yes.                                                       21   Q.· ·Okay.
 22   · · · · · MS. MARZOTTO TAYLOR:· The document speaks for         22   A.· ·You use physical force against somebody -- once you use
 23   · · ·itself.                                                    23   · · ·physical force against somebody, that situation is
 24   BY MS. BALIAN:                                                  24   · · ·escalated to the point where that person has to be
 25   Q.· ·And then he again told her that she needed to exit the     25   · · ·arrested.· If you use physical force against somebody
                                                           Page 174                                                                 Page 176
 ·1   · · ·vehicle and they needed to wait for their ride in the      ·1   ··    ·and you don't arrest them, you're wrong.
 ·2   · · ·back seat of his patrol vehicle, and they would be taken   ·2   Q.·   ·Well, in your opinion?
 ·3   · · ·to White Castle; correct?                                  ·3   A.·   ·I could probably pull hundreds of police officers that
 ·4   · · · · · MS. MARZOTTO TAYLOR:· The document speaks for         ·4   ··    ·would agree with me.
 ·5   · · ·itself.                                                    ·5   Q.·   ·Okay.· Well, he chose not to arrest her.
 ·6   BY MS. BALIAN:                                                  ·6   A.·   ·And his decision was incorrect.
 ·7   Q.· ·At the top paragraph?                                      ·7   Q.·   ·Okay.· In your opinion?
 ·8   A.· ·Yes.                                                       ·8   A.·   ·Well --
 ·9   Q.· ·And he explains the reason he wanted to do this was, he    ·9   Q.·   ·Correct?
 10   · · ·wanted to remove the vehicle from the roadway in a         10   A.·   ·It was my opinion.
 11   · · ·timely manner and he still needed to conduct an            11   Q.·   ·You would have arrested her, you're saying?
 12   · · ·inventory search; correct?                                 12   A.·   ·Because it was the right thing to do, yes.
 13   A.· ·Yes.                                                       13   Q.·   ·Okay.· So, you would have arrested her because she
 14   Q.· ·Okay.· He explains to you, in his memo, that she           14   ··    ·refused to remove herself from the vehicle?
 15   · · ·continued to refuse to exit the vehicle, and at this       15   A.·   ·If I had to use physical force --
 16   · · ·point he became more stern and loudly and clearly          16   Q.·   ·Can you just answer my question, please?
 17   · · ·advised her that if she does not exit the vehicle, he      17   ··    · · · You would have arrested her in this situation?
 18   · · ·would be forced to physically remove her from it;          18   A.·   ·Could I have arrested her?
 19   · · ·correct?                                                   19   Q.·   ·Would you have arrested her?
 20   A.· ·Yes.                                                       20   A.·   ·No.· No.· I would have let Corporal Hinojosa finish
 21   Q.· ·Okay.· And at that point is when he used the transport     21   ··    ·responding to the situation, and I would have had
 22   · · ·wrist lock, secured both of her wrists behind her back     22   ··    ·Corporal Hinojosa speak to her to try and calm her down
 23   · · ·and placed her -- I'm sorry -- used the transport wrist    23   ··    ·to get her out of the vehicle, or I would have waited
 24   · · ·lock to remove her from the vehicle and then secured       24   ··    ·5 more minutes for the person that was picking her up
 25   · · ·both of her wrists behind her back and advised her that    25   ··    ·that was coming up Fort Street.

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 ·1   Q.·   ·Well, you just said he was wrong for not arresting her.    ·1   · · ·the middle?
 ·2   A.·   ·If he had to use physical force against her, if that       ·2   · · · · · MS. MARZOTTO TAYLOR:· They're right here.
 ·3   ··    ·situation escalated to the point that he had to put his    ·3   BY MS. BALIAN:
 ·4   ··    ·hands on that person, he should have arrested her and      ·4   Q.· ·So, on what day was Furman --
 ·5   ··    ·not let her go.                                            ·5   · · · · · MS. BALIAN:· Again, I don't have the dates in front
 ·6   Q.·   ·Okay.· Okay.· Instead he used his discretion, allowed      ·6   · · ·of me, so -- the date that he was suspended.
 ·7   ··    ·her to go, and she was driven to White Castle; correct?    ·7   · · · · · MS. MARZOTTO TAYLOR:· Okay.
 ·8   A.·   ·I believe so.                                              ·8   · · · · · MS. BALIAN:· This will go a lot faster, Elizabeth,
 ·9   Q.·   ·Okay.· And at no point in this memo to you does Furman     ·9   · · ·if you could just not hold the documents back.
 10   ··    ·indicate that she was placed on the ground at all;         10   BY MS. BALIAN:
 11   ··    ·correct?                                                   11   Q.· ·So, it looks like Officer Furman was suspended on April
 12   A.·   ·That was the statement of the person.                      12   · · ·25th -- is that correct -- according to the memo?
 13   Q.·   ·Correct.                                                   13   A.· ·I'll have to look at it.
 14   ··    · · · So, Furman does not indicate she was on the ground    14   · · · · · The date on this document is April 25th, 2016.
 15   ··    ·at all; correct?                                           15   Q.· ·And on April 26th of 2016, the day after the memo is
 16   A.·   ·Yes.                                                       16   · · ·issued --
 17   Q.·   ·So, he used his discretion in not arresting her.· She      17   A.· ·The date on that is April 26th, yes.
 18   ··    ·was transported to the White Castle, and he was            18   · · · · · MS. BALIAN:· This wasn't the one that was
 19   ··    ·suspended but allowed to take vacation days because he     19   · · ·referenced.· The one that was referenced in this dep was
 20   ··    ·chose to impound the vehicle.                              20   · · ·to All Staff.
 21   ··    · · · Is that correct?                                      21   · · · · · MS. MARZOTTO TAYLOR:· That was what was in the
 22   A.·   ·No, that's not correct.· He --                             22   · · ·middle.· That's what we had out.· I don't see another
 23   Q.·   ·Was he suspended?                                          23   · · ·one.
 24   A.·   ·Yes.· He lost days because he improperly used force.       24   BY MS. BALIAN:
 25   Q.·   ·Because he improperly used force.                          25   Q.· ·So, Matthew Furman is informed that:
                                                             Page 178                                                                 Page 180
 ·1   · · ·And at the very same time that he allegedly                  ·1   ··    · · · · · ·"Effective immediately, when you request a
 ·2   improperly used force, the --                                     ·2   ··    · · · tow truck, you will notify the desk officer via
 ·3   · · ·MS. BALIAN:· Can I have the rest of those?                   ·3   ··    · · · radio the conditions which merit towing the
 ·4   · · ·Where are the rest of the --                                 ·4   ··    · · · vehicle, including driver gender, age, number
 ·5   · · ·MS. MARZOTTO TAYLOR:· What are you looking for?              ·5   ··    · · · of occupants and their ages, the reason for
 ·6   · · ·MS. BALIAN:· All of the documents that were                  ·6   ··    · · · the tow, et cetera."
 ·7   referenced during the deposition that are not out in the          ·7   ··    · · · Correct?
 ·8   middle now.                                                       ·8   A.·   ·Yes, that's what that says.
 ·9   · · ·MS. MARZOTTO TAYLOR:· Do you have anything specific          ·9   Q.·   ·And you weren't there at the scene with Corporal Furman
 10   in mind?                                                          10   ··    ·to witness any of this; correct?
 11   · · ·MS. BALIAN:· Can you just put them out here so that          11   A.·   ·No.· I was working the desk that day.
 12   I can cross-examine the witness on them, please?                  12   Q.·   ·Were there regular staff meetings held with the police
 13   · · ·MS. MARZOTTO TAYLOR:· So, Melinda, they're our               13   ··    ·officers?
 14   documents.· So, if you want to see something specific,            14   A.·   ·We'd have one probably every several months.
 15   you can let me know and I'll pull it for you.                     15   Q.·   ·What is "several"?· "Every several months"?
 16   · · ·MS. BALIAN:· I don't have the Bates numbers in               16   A.·   ·Depending on when the chief scheduled one.· Three
 17   front of me, so --                                                17   ··    ·months, five months.· I don't know the exact dates, no.
 18   · · ·MS. MARZOTTO TAYLOR:· What document are you                  18   Q.·   ·So, it was irregular?
 19   referring to?                                                     19   A.·   ·Yeah.· Depending on what was going on.· If something
 20   · · ·MS. BALIAN:· The memo.                                       20   ··    ·needed to be addressed, one would probably be scheduled.
 21   · · ·MS. MARZOTTO TAYLOR:· Okay.· It's right here.                21   ··    · · · MS. BALIAN:· Can I have the memo regarding the
 22   · · ·MS. BALIAN:· But I have all of them that I'm going           22   ··    ·other incident of alleged excessive force?
 23   to question him on.                                               23   ··    · · · MS. MARZOTTO TAYLOR:· Sure.
 24   · · ·MS. MARZOTTO TAYLOR:· Okay.                                  24   ··    · · · There.· This is my work copy.· There you go.
 25   · · ·MS. BALIAN:· So, if you could just put them out in           25   ··    · · · MS. BALIAN:· And the e-mail.

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 ·1   · · · · · Thank you.                                            ·1   A.·   ·No.· No, he didn't.· I requested those officers to give
 ·2   BY MS. BALIAN:                                                  ·2   ··    ·me a letter about what happened.
 ·3   Q.· ·So, regarding the incident with the -- I can't remember    ·3   Q.·   ·Why?
 ·4   · · ·the -- the person's name, who was alleging that Furman     ·4   A.·   ·Because I'm the supervisor.· I had them give me a
 ·5   · · ·pushed his head into the car door, you didn't play any     ·5   ··    ·letter.
 ·6   · · ·role in that was your testimony; correct?                  ·6   Q.·   ·Do you ask that of all situations?
 ·7   A.· ·That was -- McClintock, I believe, was the guy's name.     ·7   A.·   ·They expressed their concerns to me about what happened,
 ·8   Q.· ·And you didn't play any role in that?                      ·8   ··    ·and depending on the situation, yes.
 ·9   A.· ·No.· That was Lieutenant Allen.                            ·9   Q.·   ·Okay.· Did you speak with Corporal Furman about it?
 10   Q.· ·Okay.                                                      10   A.·   ·I don't remember if I spoke with him that day about it.
 11   · · · · · MS. BALIAN:· By the way, Lieutenant Allen indicated   11   ··    · · · I don't remember having a conversation about the
 12   · · ·he was subpoenaed today.                                   12   ··    ·incident.· I took statements, and I turned them over to
 13   · · · · · He's a chief of police.· You can go through me for    13   ··    ·the chief is what I can recall.
 14   · · ·that.· You don't need to subpoena him, but he's out of     14   Q.·   ·Do you ever recall Corporal Furman indicating to you
 15   · · ·state.· He will not be here for the date that you          15   ··    ·whether he was unaware of whether the individual still
 16   · · ·subpoenaed him, and he's out of state for a few months.    16   ··    ·had the knife on his person when he arrived?
 17   · · · · · MS. MARZOTTO TAYLOR:· We can work on dates later.     17   A.·   ·I don't think I had discussion with Corporal Furman
 18   · · · · · MS. BALIAN:· Okay.· But he won't be back, so just     18   ··    ·about the incident.
 19   · · ·go through me, like I've asked several times.· Check       19   Q.·   ·Okay.· When did you -- I believe you testified you --
 20   · · ·with me on dates.                                          20   ··    ·let's see here.
 21   · · · · · MS. MARZOTTO TAYLOR:· We can talk about scheduling    21   ··    · · · You're an inactive employee.
 22   · · ·later, Melinda.                                            22   ··    · · · What was the date that you became an inactive
 23   · · · · · MS. BALIAN:· Okay.· Well, you don't seem to listen    23   ··    ·employee?
 24   · · ·to me, which is why I'm putting it on the record.          24   A.·   ·January 2nd of this year.
 25   · · · · · MS. MARZOTTO TAYLOR:· Okay.                           25   Q.·   ·Okay.· So, 1-2 of '18?
                                                           Page 182                                                                 Page 184
 ·1   BY MS. BALIAN:                                                  ·1   A.·   ·Yes.
 ·2   Q.· ·There was testimony or maybe questioning that these        ·2   Q.·   ·Okay.· So, between when Chad Hayse was terminated in
 ·3   · · ·incidents were turned over to the Michigan State Police    ·3   ··    ·August of 2016 and January of 2018, has Furman had any
 ·4   · · ·for investigation.                                         ·4   ··    ·disciplinary issues?
 ·5   · · · · · Do you have any knowledge about whether the state     ·5   A.·   ·Not to my knowledge.
 ·6   · · ·police found any wrongdoing on behalf of Furman?           ·6   Q.·   ·Do you believe John Allen to be an honest person?
 ·7   A.· ·No direct knowledge, no.                                   ·7   A.·   ·Yes.
 ·8   Q.· ·And with regard to this incident involving Richard         ·8   Q.·   ·Do you believe he's a good chief?
 ·9   · · ·Crosslin, was Corporal Furman the first officer on         ·9   A.·   ·Yes.
 10   · · ·scene?                                                     10   Q.·   ·Did Furman ever receive any commendations due to his
 11   A.· ·I don't know.                                              11   ··    ·work?
 12   Q.· ·Okay.· But you weren't there?                              12   A.·   ·I don't recall anything off the top of my head, no.
 13   A.· ·No.· I was working the desk.                               13   Q.·   ·So, you don't know?
 14   Q.· ·Okay.· Well, did Corporal Furman indicate to you -- or     14   A.·   ·I don't know.
 15   · · ·maybe he didn't indicate anything to you.                  15   Q.·   ·What period of time were you the road lieutenant?
 16   · · · · · Did you have anything to do with --                   16   A.·   ·From the time of my promotion to lieutenant, which is
 17   A.· ·I don't know if I spoke to Corporal Furman about the       17   ··    ·2013, until 1st of January of '17.· In January of 2017,
 18   · · ·incident.· I was approached by Officer Landin in regards   18   ··    ·I went to the detective bureau.
 19   · · ·to the situation, and I asked her to give me a letter in   19   Q.·   ·And what shift did you work --
 20   · · ·regards to the situation, which I forwarded to Chief       20   A.·   ·Dayshift.
 21   · · ·Hayse.                                                     21   Q.·   ·-- from 2013 to January of 2017?
 22   · · · · · I would assume Chief Hayse, since it's to him,        22   A.·   ·Dayshift.
 23   · · ·requested that Furman do the letter.                       23   Q.·   ·And what hours is that?
 24   Q.· ·Okay.· So, Chief Hayse asked you to get information from   24   A.·   ·When I was the road lieutenant, it was 8:00 till 4:00.
 25   · · ·the other two officers on the scene?                       25   ··    · · · As the lieutenant in the detective bureau, it was

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 ·1   ··    ·from 8:30 until 4:30.                                      ·1   · · ·third, the court gets a third and we get -- I mean,
 ·2   Q.·   ·Okay.· What days of the week?                              ·2   · · ·yeah -- the court gets a third, we get a third and Allen
 ·3   A.·   ·In the detective bureau, it was Monday through Friday.     ·3   · · ·Park gets a third.· That's how they divvy them up.
 ·4   ··    · · · The road varied because we picked days off with the   ·4   Q.· ·Is it equal?
 ·5   ··    ·sergeant.                                                  ·5   A.· ·It depends on what department is writing more tickets
 ·6   ··    · · · Oftentimes, I was off either Friday/Saturday or       ·6   · · ·would make it equal.· Sometimes their tickets may slow
 ·7   ··    ·Sunday/Monday, depending on the agreement with the road    ·7   · · ·down, and they would probably receive some of our
 ·8   ··    ·sergeant.                                                  ·8   · · ·revenue.· It could go either way.
 ·9   Q.·   ·When you were first promoted to lieutenant, did you have   ·9   Q.· ·So, you don't know the proportions?
 10   ··    ·to test?                                                   10   · · · · · MS. MARZOTTO TAYLOR:· Asked and answered.
 11   A.·   ·I did not test for lieutenant, no.                         11   A.· ·I just know it was a third, a third and a third. I
 12   Q.·   ·Why?                                                       12   · · ·don't know the monetary amount that was involved.· That
 13   A.·   ·Because there is a provision in our contract that states   13   · · ·wasn't part of my job.· I had no idea.
 14   ··    ·if no one else is able -- is eligible to test, then the    14   BY MS. BALIAN:
 15   ··    ·senior sergeant would be promoted so they don't have to    15   Q.· ·Did you know that from 2014 to 2015 there were 2,000
 16   ··    ·test against themselves.                                   16   · · ·fewer tickets written by the officers?
 17   Q.·   ·So, it was strictly based on seniority?                    17   A.· ·No.
 18   A.·   ·In those circumstances, yes, because there was no one      18   · · · · · MS. MARZOTTO TAYLOR:· Assumes facts not in
 19   ··    ·else available to test.                                    19   · · ·evidence.· Lack of foundation.
 20   Q.·   ·And you testified that, you know, generally how many       20   · · · · · MS. BALIAN:· I just asked him if he knew.
 21   ··    ·calls a day did you receive, and you said, you know,       21   BY MS. BALIAN:
 22   ··    ·generally about 15 calls a day, but was that just on       22   Q.· ·You review the reports; right?
 23   ··    ·your shift that you were testifying about?                 23   A.· ·I review my shift's reports and correct them, and
 24   A.·   ·Yeah.· It varies.· There could be a bunch of ordinance     24   · · ·occasionally spill over reports from the prior shift,
 25   ··    ·complaints.· No two days are normally the same.            25   · · ·I'll review and correct them.
                                                             Page 186                                                               Page 188
 ·1   Q.·   ·But you don't know what took place on other people's       ·1   · · · · · I don't normally make a practice of following
 ·2   ··    ·shifts; right?                                             ·2   · · ·everyone's ticket stats.· So, that statistic I did not
 ·3   A.·   ·Unless someone told me about it or I read the reports,     ·3   · · ·know.· That would be something more for the chief.
 ·4   ··    ·no.                                                        ·4   Q.· ·You had testified at the removal hearing that you
 ·5   Q.·   ·Okay.· How often did you read other people's reports of    ·5   · · ·believed tows had increased by over -- or impounds had
 ·6   ··    ·what occurred?                                             ·6   · · ·increased, I think, over a thousand.
 ·7   A.·   ·I would browse the reports occasionally because I was      ·7   · · · · · Did you know that from 2014 to 2015 tows decreased
 ·8   ··    ·responsible for approving the reports.                     ·8   · · ·by over a thousand?
 ·9   ··    · · · So, sometimes there would be leftover reports from    ·9   · · · · · MS. MARZOTTO TAYLOR:· Can you point us to the
 10   ··    ·the prior shift, and I would approve them.· So, I would    10   · · ·testimony?
 11   ··    ·come across reports from other shifts.                     11   A.· ·I'm not familiar with what you're talking about, ma'am.
 12   Q.·   ·If there was an assaultive call, say a domestic violence   12   BY MS. BALIAN:
 13   ··    ·or just an assault and battery or something worse like a   13   Q.· ·I'm just asking if you realize that.
 14   ··    ·felony, was it procedure to send two officers?             14   A.· ·I don't know what the tow stats are.· I was never
 15   A.·   ·Yes.                                                       15   · · ·concerned with it.
 16   ··    · · · And if there happens to be a third officer on the     16   · · · · · MS. MARZOTTO TAYLOR:· I think that mischaracterizes
 17   ··    ·road, we would send them also.                             17   · · ·his testimony at the hearing.
 18   Q.·   ·You said it was explained to you that when tickets are     18   BY MS. BALIAN:
 19   ··    ·written, some of the money is provided to the police       19   Q.· ·The question to you:
 20   ··    ·department from the court.                                 20   · · · · · · · ·"Question:· Since I became chief -- interim
 21   ··    · · · Who told you that?                                    21   · · · · · chief in 2012 and named permanent chief in January
 22   A.·   ·I believe it's common knowledge.· The way that it goes     22   · · · · · of 2012, would you say we have towed more cars or
 23   ··    ·is ticket revenue -- we share a court at 24th District     23   · · · · · fewer cars since that time per year?
 24   ··    ·Court with the City of Allen Park.· The tickets all go     24   · · · · · · · ·"Answer:· We probably went from around 200
 25   ··    ·into like a kitty, like an account.· The State gets a      25   · · · · · cars a year to well over a thousand."

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 ·1   · · · · · Is that your testimony?                                 ·1   ··    ·that has a boom on the back that lifts up the car, and
 ·2   A.· ·Uh-huh.· Yes.                                                ·2   ··    ·then you have a flatbed truck where you winch the
 ·3   Q.· ·Okay.· So, you had no knowledge that tows had decreased      ·3   ··    ·vehicle up onto the flat bed of the truck.
 ·4   · · ·by over a thousand from one year to the next?                ·4   ··    · · · The contention was -- normally the drivers would
 ·5   A.· ·They decreased from 2012?                                    ·5   ··    ·respond with a flatbed truck.· They have more of them.
 ·6   · · · · · I believe the question was, was asking me the           ·6   ··    ·They're more practical.· They can tow more stuff with
 ·7   · · ·numbers in 2012.                                             ·7   ··    ·them.
 ·8   Q.· ·I said from 2014 to 2015 tows decreased by over a            ·8   ··    · · · The contention was that if they responded with a
 ·9   · · ·thousand.                                                    ·9   ··    ·flatbed truck, and the vehicle, had it been a light-duty
 10   A.· ·I didn't know that.                                          10   ··    ·truck, would have warranted tow dollies, whether it be
 11   Q.· ·Do you have any explanation for that?                        11   ··    ·an all-wheel drive or four-wheel drive truck, even
 12   · · · · · MS. MARZOTTO TAYLOR:· Calls for speculation.            12   ··    ·though they came with the right vehicle to begin with to
 13   · · ·Assumes facts not in evidence.                               13   ··    ·tow it, they felt that they should be able to charge the
 14   A.· ·The -- want me to respond?                                   14   ··    ·extra fee with the truck they didn't drive.
 15   · · · · · MS. MARZOTTO TAYLOR:· You have to answer her            15   ··    · · · So, they were wanting to be paid for services that
 16   · · ·questions.                                                   16   ··    ·they did not render.
 17   A.· ·Okay.                                                        17   Q.·   ·Okay.· When was that?
 18   · · · · · The way I interpret the question posed --               18   A.·   ·It was shortly after they approved their contract.
 19   BY MS. BALIAN:                                                    19   Q.·   ·So, shortly after June of 2015?
 20   Q.· ·That -- that's not what I'm asking.                          20   A.·   ·Yes.
 21   A.· ·Well, no, I --                                               21   Q.·   ·Okay.· And apparently -- I'm guessing from your
 22   Q.· ·My question was, do you have any explanation for why         22   ··    ·testimony -- city council did not side in favor of
 23   · · ·tows decreased by over a thousand from 2014 to 2015?         23   ··    ·Goch & Sons because it was not in the contract; correct?
 24   A.· ·I have no idea.                                              24   A.·   ·I don't know what happened in the city council.· I just
 25   Q.· ·Who determines if the police officers get a raise?           25   ··    ·know that the ladies in the office --
                                                             Page 190                                                                 Page 192
 ·1   A.·   ·With their labor contract.                                 ·1   Q.·   ·The ladies in what office?
 ·2   Q.·   ·Okay.· And so who -- who determines that?· Who approves    ·2   A.·   ·The ladies that answer the phone at Goch & Sons --
 ·3   ··    ·that?                                                      ·3   Q.·   ·Okay.
 ·4   A.·   ·I'm sorry.· Who approves what?                             ·4   A.·   ·So, when you call for release and they would give you
 ·5   Q.·   ·Who approves the labor contract?                           ·5   ··    ·the amount of money due, because they set the fees, they
 ·6   A.·   ·Who approves it?                                           ·6   ··    ·stopped asking for it.
 ·7   Q.·   ·Yeah.                                                      ·7   ··    · · · So, I would assume that somehow, somewhere along
 ·8   A.·   ·The city council approves the contract.                    ·8   ··    ·the line, they resolved that issue because they stopped
 ·9   Q.·   ·Is Rich Ortiz on the city council?                         ·9   ··    ·tacking that fee on.
 10   A.·   ·No.                                                        10   Q.·   ·Okay.· Have there ever been any businesses, whether in
 11   Q.·   ·Are you aware that Furman has a personal relationship      11   ··    ·Melvindale or outside of Melvindale, that have dropped
 12   ··    ·with Paul Ott, Junior?                                     12   ··    ·off food or other things for the police department?
 13   A.·   ·Yes.                                                       13   A.·   ·There have been occasions where maybe a party store
 14   Q.·   ·They're close friends; right?                              14   ··    ·would drop off some pizza or some chicken or something.
 15   A.·   ·From what I understand they're friends, yes.               15   Q.·   ·Was it thrown in the garbage?
 16   Q.·   ·And where does Paul Ott, Junior, work?                     16   A.·   ·I don't know.
 17   A.·   ·For Gene's Towing.                                         17   Q.·   ·Did you ever see anybody eating it?
 18   Q.·   ·You testified that there was a blow-up with city council   18   A.·   ·I have seen people eating food, yes.
 19   ··    ·with Goch & Sons about the use of a dolly?                 19   Q.·   ·Eating the food that was dropped off by the party store?
 20   A.·   ·Yes.                                                       20   A.·   ·Yes.
 21   Q.·   ·Because they wanted to use a dolly but it wasn't in the    21   Q.·   ·Okay.· So, why wasn't that thrown in the garbage like
 22   ··    ·contract.                                                  22   ··    ·the food that was dropped off by Goch & Sons?
 23   ··    · · · Do I have that correct?                               23   A.·   ·I don't know.
 24   A.·   ·There was an issue -- there are two types of tow trucks.   24   Q.·   ·Was Furman ever disciplined for doing too much traffic
 25   ··    ·There's a light tow truck, which is a traditional truck    25   ··    ·control?

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                                                             Page 193                                                                 Page 195
 ·1   A.·   ·No.                                                        ·1   A.· ·Yes.
 ·2   Q.·   ·You had testified about him towing a vehicle during an     ·2   Q.· ·So, it was then up to the supervisor to make that
 ·3   ··    ·armed robbery that was going on.                           ·3   · · ·determination?· It was no longer up to Furman?
 ·4   ··    · · · Was he specifically dispatched to the armed           ·4   A.· ·Well, I believe the intent was to get him to stop and
 ·5   ··    ·robbery?                                                   ·5   · · ·think about what he was doing, and if he was doing the
 ·6   A.·   ·No.                                                        ·6   · · ·right thing, then he wouldn't have to worry about it,
 ·7   Q.·   ·Was he disciplined for not responding to the armed         ·7   · · ·and the car would be towed.
 ·8   ··    ·robbery?                                                   ·8   · · · · · MS. BALIAN:· Can you repeat my question, John?
 ·9   A.·   ·Not to my knowledge.                                       ·9   · · · · · · ·(Record repeated by the reporter.)
 10   ··    · · · He was spoke to -- he was talked to about it, but I   10   A.· ·Yes.
 11   ··    ·don't believe he was disciplined.                          11   BY MS. BALIAN:
 12   Q.·   ·What is his title now?· Sergeant or lieutenant?            12   Q.· ·Other than Furman, when Chad Hayse was chief, did you
 13   A.·   ·I think he got promoted to sergeant after I left.          13   · · ·ever see him refer anyone to Dr. Clark for a psych
 14   Q.·   ·There's no law against towing vehicles with children in    14   · · ·evaluation?
 15   ··    ·the vehicle; correct?                                      15   A.· ·Maybe Dave Taft -- David Taft, but I can't be for sure.
 16   A.·   ·No.                                                        16   Q.· ·You were asked questions about this letter dated August
 17   Q.·   ·And there's no law against towing vehicles of elderly      17   · · ·1st to Chad Hayse from Lawrence Coogan saying:
 18   ··    ·persons; correct?                                          18   · · · · · · · ·"Dear, Chief Hayse:
 19   A.·   ·No.                                                        19   · · · · · · · ·On July 25th, 2016, I wrote a letter to
 20   Q.·   ·And you understand that you can't discriminate against     20   · · · · · you, requesting that you provide· me all
 21   ··    ·people in enforcing laws; correct?                         21   · · · · · documents or writings regarding or concerning
 22   A.·   ·You should not discriminate against people, period.        22   · · · · · the alleged misconduct of Officer Furman.· In
 23   ··    ·Correct.                                                   23   · · · · · addition, I requested the names and contact
 24   Q.·   ·And you understand that you can't base a determination     24   · · · · · information of all persons and governmental
 25   ··    ·on whether to tow a person's vehicle based upon their      25   · · · · · agencies who have performed any investigation
                                                             Page 194                                                                 Page 196
 ·1   · · ·age and gender; correct?                                     ·1   ··    · · · and the names and contact information of all
 ·2   A.· ·Well, I believe that common sense and the totality of        ·2   ··    · · · persons who are or were involved in the
 ·3   · · ·circumstances should come into play, and an officer          ·3   ··    · · · investigation of this matter.
 ·4   · · ·needs to use discretion on whether or not they tow that      ·4   ··    · · · · · ·Upon receipt and review of what you've
 ·5   · · ·vehicle is what I believe.                                   ·5   ··    · · · provided my office, there is no contact
 ·6   · · · · · MS. BALIAN:· Can you repeat my question, please,        ·6   ··    · · · information listed of any other outside
 ·7   · · ·John?                                                        ·7   ··    · · · agencies, nor did you indicate who made contact
 ·8   · · · · · · ·(Record repeated by the reporter.)                   ·8   ··    · · · or initiated any communication regarding this
 ·9   A.· ·That's correct.                                              ·9   ··    · · · matter.
 10   · · · · · MS. BALIAN:· Where is the April 26th memo?· Is it       10   ··    · · · · · ·Please provide the requested information
 11   · · ·still here?                                                  11   ··    · · · forthwith."
 12   · · · · · MS. MARZOTTO TAYLOR:· It should be.                     12   ··    · · · As of August 1st of 2016, do you know if Officer
 13   · · · · · MS. BALIAN:· Maybe it's still here.                     13   ··    ·Furman had complained or lodged a complaint that he was
 14   BY MS. BALIAN:                                                    14   ··    ·being denied due process because he had not been
 15   Q.· ·You testified, referring to Bates stamp document 1442,       15   ··    ·informed in writing of why he had been suspended without
 16   · · ·which is the April 26th, 2016 memo to Corporal Furman,       16   ··    ·pay?
 17   · · ·that this was to get him to use common sense.                17   A.·   ·I'm unaware of any complaints lodged by Officer Furman.
 18   · · · · · Is that correct?                                        18   Q.·   ·So, you don't know?
 19   A.· ·To use common sense and discretion.                          19   A.·   ·No.
 20   Q.· ·Correct me if I'm wrong, but the memo indicates that         20   Q.·   ·And you testified that you and John Allen met with
 21   · · ·Furman is to contact the desk officer via radio the          21   ··    ·Furman about his suspension; correct?
 22   · · ·conditions which merit towing the vehicle, including         22   A.·   ·The day that he was suspended, he was called into the
 23   · · ·driver gender, age, number of occupants, their ages,         23   ··    ·chief's office.· I was present.· John Allen was present.
 24   · · ·et cetera, and the supervisor will determine if the tow      24   ··    ·And I believe -- it might have been John Thompson, who
 25   · · ·truck will be dispatched; correct?                           25   ··    ·was his union steward.

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                                                           Page 197                                                                 Page 199
 ·1   Q.· ·And was that the suspension with pay or without pay?       ·1   · · · · · MS. MARZOTTO TAYLOR:· Sure.
 ·2   A.· ·With pay.                                                  ·2   · · · · · This one is for you.
 ·3   Q.· ·You said "with pay"?                                       ·3   · · · · · There you go.
 ·4   A.· ·Yes.                                                       ·4   BY MS. BALIAN:
 ·5   Q.· ·What did you tell him?                                     ·5   Q.· ·Do you recall your testimony that typically after
 ·6   · · · · · MS. MARZOTTO TAYLOR:· Asked and answered.             ·6   · · ·Furman -- after corrective action would be taken against
 ·7   A.· ·I -- I believe Lieutenant Allen was doing most of the      ·7   · · ·Furman regarding how he treated people during stops or
 ·8   · · ·talking.· I was in the room.· I remember telling him to    ·8   · · ·the towing, that he would slow down his towing?· And
 ·9   · · ·get in contact with Chad Hayse on Monday.· That's all I    ·9   · · ·then Ms. Gordon's comments to you that, "Well, during
 10   · · ·remember about it.                                         10   · · ·his petulant moments, like in July, his towing went down
 11   BY MS. BALIAN:                                                  11   · · ·to 40," and she was referring to this right here, July,
 12   Q.· ·Did you have any further contact with Furman about the     12   · · ·where the tows went down to 40.
 13   · · ·suspension?                                                13   A.· ·Okay.
 14   A.· ·This suspension in particular?                             14   Q.· ·Furman wasn't working at all in the month of July,
 15   · · · · · No.                                                   15   · · ·correct, because he was suspended?
 16   Q.· ·What about when it became without pay?                     16   A.· ·I don't -- I'm not sure of the days that he went off and
 17   A.· ·He was suspended.· He wasn't in the station.· I had no     17   · · ·when he came back.· I don't know exact dates.
 18   · · ·contact with him.                                          18   Q.· ·Well, if the documents indicate that that's when he was
 19   Q.· ·Okay.· Furman lodged a complaint with you regarding        19   · · ·suspended, you don't have any reason to refute that, do
 20   · · ·then-Lieutenant Easton sometime prior to 2016; correct?    20   · · ·you?
 21   A.· ·Furman lodged a complaint with me regarding Sergeant       21   A.· ·If it says there were 40, I have no reason to doubt it.
 22   · · ·Easton?                                                    22   Q.· ·I'm talking about the days of his suspension.
 23   Q.· ·Yes.                                                       23   · · · · · If the documents indicate that he was suspended
 24   A.· ·Yes.                                                       24   · · ·starting on July 5th of 2016 --
 25   Q.· ·Do you recall what he was complaining about?               25   A.· ·Okay.
                                                           Page 198                                                                 Page 200
 ·1   A.· ·He was complaining that Sergeant Easton was telling him    ·1   Q.·   ·-- and he was not reinstated until August, you don't
 ·2   · · ·not to tow cars, and that he was trying to give him busy   ·2   ··    ·have any reason to refute that, do you?
 ·3   · · ·work to stop him from doing traffic enforcement.           ·3   A.·   ·No.
 ·4   Q.· ·Was it busy work, or that he was sending him on every      ·4   Q.·   ·Were you ever an administrator for the Melvindale Police
 ·5   · · ·complaint that came in?                                    ·5   ··    ·Department Facebook page?
 ·6   A.· ·I believe one of the complaints that he had was that       ·6   A.·   ·I had access to it, yes.
 ·7   · · ·Easton told him to visit every business in the city.       ·7   Q.·   ·Okay.· So, you could make posts on it?
 ·8   Q.· ·Do you recall Furman complaining that he had been sent     ·8   A.·   ·I could, yes.
 ·9   · · ·alone on an assault complaint that came in, and it was a   ·9   Q.·   ·Would you agree that, according to the rules and
 10   · · ·safety issue for him?                                      10   ··    ·regulations of the police department, you were not
 11   A.· ·I don't remember all the wording of his complaint.· It     11   ··    ·permitted to post political opinions on the Melvindale
 12   · · ·was a few years ago.                                       12   ··    ·Police Department website page?
 13   Q.· ·Do you remember Furman complaining about that?             13   A.·   ·I do not recall what the exact wording of the policy is,
 14   · · · · · MS. MARZOTTO TAYLOR:· Asked and answered.             14   ··    ·but I would assume it would be frowned upon.
 15   A.· ·Not at the moment, no, I don't.                            15   Q.·   ·During your testimony, you've referenced -- you asked
 16   BY MS. BALIAN:                                                  16   ··    ·how long -- strike that.
 17   Q.· ·Did you do anything with Furman's complaint when it came   17   ··    · · · You were questioned about your suspension.· You
 18   · · ·in?                                                        18   ··    ·testified that you felt retaliated against for
 19   A.· ·I advised Chad Hayse.                                      19   ··    ·testifying and for writing up Officer Furman.
 20   Q.· ·Do you know if anything was done?                          20   ··    · · · What write-up of Officer Furman?
 21   A.· ·I don't know the status of it, no.                         21   A.·   ·The incidents with the excessive force which caused him
 22   Q.· ·Did you investigate "Snowgate"?                            22   ··    ·to be suspended, which, in turn, caused the drop in
 23   A.· ·No.· I was not involved in it at all.                      23   ··    ·revenue for the City.
 24   · · · · · MS. BALIAN:· Do you have the Larry Jackson            24   Q.·   ·What write-up are you talking about?
 25   · · ·document?                                                  25   A.·   ·I was involved with the Wielichowski incident and --

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                                                             Page 201                                                                 Page 203
 ·1   Q.·   ·Wielichowski --                                            ·1   ··    · · · I don't remember his last name.· He's the POLC
 ·2   A.·   ·-- with Crosslin.                                          ·2   ··    ·attorney.
 ·3   ··    · · · Yes.                                                  ·3   Q.·   ·Larry Coogan didn't have a vote regarding Chad Hayse's
 ·4   Q.·   ·Okay.                                                      ·4   ··    ·termination, did he; if you know?
 ·5   A.·   ·Those happened on my shift while I was present.            ·5   A.·   ·I don't believe so, no.
 ·6   Q.·   ·You wrote him up regarding Crosslin?                       ·6   Q.·   ·And he didn't have any vote regarding terminating you or
 ·7   A.·   ·I was a supervisor on duty that day.· And, yes, that       ·7   ··    ·suspending you; correct?
 ·8   ··    ·paperwork did start with me when I had the other           ·8   A.·   ·No.
 ·9   ··    ·officers do letters on that.                               ·9   Q.·   ·Did Chad Hayse ever tell you that the mayor was having a
 10   Q.·   ·Okay.· But how did you write up Furman?                    10   ··    ·romantic relationship with Mike Goch?
 11   ··    · · · You testified that you wrote him up.                  11   A.·   ·No, he did not.
 12   A.·   ·I was a supervisor on duty.                                12   Q.·   ·You were asked questions about whether city council had
 13   ··    · · · Those officers brought those issues to my             13   ··    ·a predetermined decision to remove Chad Hayse at the
 14   ··    ·attention.                                                 14   ··    ·removal hearing.
 15   ··    · · · I informed them to do letters on that, which, in      15   ··    · · · Did you have any discussions with any of the city
 16   ··    ·turn, caused him to be suspended.                          16   ··    ·council members whether they had a predetermined
 17   Q.·   ·Okay.· But did you write him up?                           17   ··    ·decision to remove Chad Hayse prior to the removal
 18   A.·   ·Did I produce a document?· No.· That normally doesn't      18   ··    ·hearing?
 19   ··    ·always happen.                                             19   A.·   ·No.· I spoke to no one on the city council.
 20   Q.·   ·Okay.· So, you didn't write up Officer Furman in July of   20   Q.·   ·Do you have any knowledge of Chad Hayse embezzling money
 21   ··    ·2016?                                                      21   ··    ·from the City?
 22   A.·   ·Did I generate the documents?· No.· I put them -- put      22   A.·   ·No.
 23   ··    ·the situation into motion.                                 23   Q.·   ·Do you have any knowledge of Chad Hayse meeting with
 24   Q.·   ·Did Chad Hayse ever do evaluations on the officers?        24   ··    ·Gasper Fiore?
 25   ··    ·Annual evaluations of any kind?                            25   A.·   ·No.
                                                             Page 202                                                                 Page 204
 ·1   A.·   ·I'm not sure if we did them annually.                      ·1   Q.·   ·Has he ever been into the station?
 ·2   ··    · · · I know while Rick Cadez was chief, we did annual      ·2   A.·   ·I think he attended one of our auctions before and
 ·3   ··    ·evaluations for a couple years, and then they stopped.     ·3   ··    ·bought a couple cars years ago.· I met him once at that
 ·4   ··    · · · I don't recall them taking place with Chad Hayse.     ·4   ··    ·one auction, but that's the only time I've ever seen
 ·5   Q.·   ·Who is Jason Ortiz?                                        ·5   ··    ·him.
 ·6   A.·   ·Jason Ortiz used to sit on the Safety Commission.          ·6   Q.·   ·Have you ever been to Paul Ott's property up north?
 ·7   Q.·   ·For what time period?                                      ·7   A.·   ·Yes, on accident.· We've got a family cottage in
 ·8   A.·   ·I don't --                                                 ·8   ··    ·Houghton Lake, and come to find out we were driving
 ·9   Q.·   ·You said he "used to sit."                                 ·9   ··    ·around Lake James, which is right next door to Houghton
 10   ··    · · · When did he --                                        10   ··    ·Lake.· My wife and I were looking at cottages.· And when
 11   A.·   ·He -- I think he left maybe seven, eight months ago. I     11   ··    ·we were driving around the lake, I saw a Goch & Sons tow
 12   ··    ·heard he moved.· I don't know the dates.                   12   ··    ·truck -- not a tow truck, but it's a super duty with a
 13   Q.·   ·Was he on the Public Safety Commission at the time you     13   ··    ·Goch -- Gene's Towing -- I'm sorry.
 14   ··    ·were suspended?                                            14   Q.·   ·Yeah, you said "Goch & Sons."
 15   A.·   ·Yes.                                                       15   A.·   ·-- emblem.· Yeah.· A Gene's Towing emblem on the door,
 16   Q.·   ·You were represented by an attorney for your trial         16   ··    ·and I slowed down, and I saw it was Paul in his garage.
 17   ··    ·board; is that correct?                                    17   ··    ·And I stopped and said "hello" for about 5 minutes, and
 18   A.·   ·Yes.                                                       18   ··    ·I continued on my way.
 19   Q.·   ·And was that a personal attorney or the union attorney?    19   Q.·   ·Do you know if Chad Hayse has ever been up to Paul Ott's
 20   A.·   ·Union attorney.                                            20   ··    ·property?
 21   Q.·   ·And who was that?                                          21   A.·   ·No.
 22   A.·   ·First name is Brennan.                                     22   ··    · · · MS. BALIAN:· I don't have any other questions at
 23   ··    · · · I don't remember his last name.                       23   ··    ·this point.
 24   Q.·   ·Brennan?                                                   24   ··    · · · MS. MARZOTTO TAYLOR:· Okay.· So, I need about
 25   A.·   ·Brennan.· B-r-e-n-n-a-n, I believe, it's spelled.          25   ··    ·5 minutes.

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 ·1   · · · · · · · (Short recess at 3:26 p.m.)                         ·1   ··    ·you:
 ·2   · · · · · · · · · · · ·*· ·*· ·*                                  ·2   ··    · · · · · ·"I was asked if Chief Hayse had ever said
 ·3   · · · · · · ·(Record resumed at 3:41 p.m.)                        ·3   ··    · · · anything negative about Mike Goch.· The answer
 ·4   · · · · · · · · · · · · *· ·*· ·*                                 ·4   ··    · · · to that question is yes."
 ·5   · · · · · · · · · · ·RE-EXAMINATION                               ·5   ··    · · · Isn't it true that you had already admitted on
 ·6   BY MS. MARZOTTO TAYLOR:                                           ·6   ··    ·page 145 that there were negative things that were said
 ·7   Q.· ·So, I'm going to take you back to your testimony on          ·7   ··    ·about -- between you and Chief Hayse about Mike Goch?
 ·8   · · ·August 29th, and the letter that you wrote to the Public     ·8   A.·   ·Yes, in private.
 ·9   · · ·Safety Commission in September of 2016.                      ·9   Q.·   ·And you had already admitted that.· That was your sworn
 10   · · · · · So, why don't we just get those pages out and go        10   ··    ·testimony?
 11   · · ·through them.                                                11   A.·   ·Yes.
 12   · · · · · Okay.· So, you've already testified today that at       12   Q.·   ·Okay.· Now I want to draw your attention to the -- to
 13   · · ·the time you wrote this letter, which is, you know, the      13   ··    ·the wording, to the language that was used in these two
 14   · · ·letter in Exhibit 1, you had not seen or read or heard       14   ··    ·statements.
 15   · · ·back your testimony on August 29th?                          15   ··    · · · The mayor says that you were asked if Chief Hayse
 16   A.· ·That is correct.                                             16   ··    ·had ever said anything negative about Mike Goch.
 17   Q.· ·Okay.· Okay.· So, I'm going to direct your attention to      17   ··    · · · Okay.· Dictionary definition of "Negative":· "Not
 18   · · ·page 145 of our version of your testimony.                   18   ··    ·desirable or optimistic."
 19   · · · · · Okay.· So, specifically, line 7:                        19   ··    · · · Isn't it true that, on page 145, you testified
 20   · · · · · · · ·"Question:· Lieutenant, have you ever heard        20   ··    ·under oath that you and Chief Hayse had had private
 21   · · · · · me make disparaging remarks regarding any public        21   ··    ·conversations just between the two of you where you
 22   · · · · · official, appointed official or Mike Goch from          22   ··    ·discussed information or your opinions or beliefs about
 23   · · · · · Goch & Sons Towing?"                                    23   ··    ·the contract that were not desirable or optimistic?
 24   · · · · · Your answer starts at line 10:                          24   A.·   ·That is true.
 25   · · · · · · · ·"Answer:· We've had personal conversation          25   Q.·   ·Okay.· Dictionary definition of "Derogatory":· "Showing
                                                             Page 206                                                                 Page 208
 ·1   ··    · · · in regards to the way the tow contract has been       ·1   ··    ·a disrespectful attitude, disparaging, demeaning."
 ·2   ··    · · · warranted but no personal attacks in front of         ·2   ··    · · · In those personal conversations that are referenced
 ·3   ··    · · · anybody else.· In personal conversation, yes."        ·3   ··    ·on page 145 and page 149, did Chad Hayse ever say
 ·4   A.·   ·Yes, that's what that says.                                ·4   ··    ·anything that was disrespectful, disparaging or
 ·5   Q.·   ·Okay.· So, moving forward to pages 149 and 150, a          ·5   ··    ·demeaning about Mike Goch or Goch & Sons Towing?
 ·6   ··    ·question about the personal conversations that you         ·6   A.·   ·I believe that most of the conversation that we had in
 ·7   ··    ·referenced at 145 comes up again; in this personal         ·7   ··    ·regards to Mike Goch was trying to iron out our
 ·8   ··    ·conversation that you had, did you say derogatory          ·8   ··    ·differences of opinion with the contract and the fees
 ·9   ··    ·things?                                                    ·9   ··    ·that we were charging people that we didn't believe that
 10   ··    · · · You had already stated or admitted under oath that    10   ··    ·we should.
 11   ··    ·you had conversations with Chad that were critical of      11   Q.·   ·Is your opinion or is Chad Hayse's opinion or your
 12   ··    ·Mike Goch and Goch & Sons; isn't that correct?             12   ··    ·opinion about the -- the fee schedule and whether or not
 13   A.·   ·That is correct, yes.                                      13   ··    ·that's an appropriate fee schedule, is it disrespectful,
 14   Q.·   ·Okay.· So, you also note -- okay.· So, we're still on      14   ··    ·disparaging or demeaning to air those kinds of
 15   ··    ·page 149, starts at line 23:                               15   ··    ·critiques?
 16   ··    · · · · · ·"Question:· And did -- in this personal          16   A.·   ·I wouldn't think so.
 17   ··    · · · conversation that you say you had with the            17   ··    · · · It's an opinion.
 18   ··    · · · chief in regards to Goch & Sons, did he say           18   Q.·   ·Okay.
 19   ··    · · · any derogatory things about Goch & Sons?"             19   A.·   ·It's a feeling about something.
 20   ··    · · · Okay.· Turning then to the letter that you wrote to   20   Q.·   ·Okay.· Is it disrespectful to question the fee schedule
 21   ··    ·the Public Safety Commission without having had the        21   ··    ·of a city contractor?
 22   ··    ·chance to read your testimony or hear it back in context   22   A.·   ·No.
 23   ··    ·or in any completeness, you state that you were asked --   23   Q.·   ·Okay.· And does -- does what you said on page 149, where
 24   ··    ·well, the mayor tells you -- the mayor is trying to        24   ··    ·this personal conversation is referenced, does that not
 25   ··    ·isolate the lie you allegedly told and the mayor says to   25   ··    ·track back to page 145 where you stated "we've had

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                                                             Page 209                                                                 Page 211
 ·1   ··    ·personal conversations"?                                   ·1   · · ·28th?
 ·2   A.·   ·That did reiterate that we did have personal               ·2   A.· ·Once the incident escalated to the point where he saw
 ·3   ··    ·conversations in regard to Goch & Sons.                    ·3   · · ·the need to use physical force, once he effected that
 ·4   Q.·   ·The question on page 149 is made with specific reference   ·4   · · ·force, that person should have been arrested.
 ·5   ··    ·to the personal conversation or conversations that were    ·5   Q.· ·Do you believe that Furman was justified in putting his
 ·6   ··    ·referenced in 145?                                         ·6   · · ·hands on that woman that day?
 ·7   A.·   ·I would assume that that's what that person is asking me   ·7   A.· ·No.
 ·8   ··    ·about, about the question I had just been asked prior,     ·8   · · · · · MS. BALIAN:· Objection.· Calls for speculation.· He
 ·9   ··    ·yes.                                                       ·9   · · ·wasn't there.
 10   Q.·   ·So, you admitted under oath that Chad said things that     10   A.· ·I don't believe that he should have put his hands on
 11   ··    ·he -- that Chad stated to you in private that he found     11   · · ·her, no.· I believe it could have been resolved other
 12   ··    ·that there were things that were not desirable or          12   · · ·ways.
 13   ··    ·optimistic about the fee schedule?                         13   BY MS. MARZOTTO TAYLOR:
 14   A.·   ·That's --                                                  14   Q.· ·Okay.· And then we are going to look at the April 26th
 15   Q.·   ·You admitted that under oath?                              15   · · ·memo, which I think you might have in front of you
 16   A.·   ·That's correct.                                            16   · · ·already.
 17   Q.·   ·Is there a lie here, Lieutenant Welch?                     17   A.· ·The one from Chad Hayse?
 18   A.·   ·I don't believe so.· Because, I mean, I misstated "no"     18   Q.· ·Yeah.
 19   ··    ·instead of "yes" in one instance, and a couple questions   19   · · · · · So, this is the memo.
 20   ··    ·earlier I state what happened.· And then before, even      20   A.· ·Oh, okay.· All right.
 21   ··    ·seeing a record of my testimony, I stated it again in my   21   Q.· ·Okay.· Can I just see that real quickly?
 22   ··    ·written statement.                                         22   A.· ·Sure.
 23   Q.·   ·So, do you feel that your testimony -- across the board,   23   Q.· ·This is produced by the City, 1442.
 24   ··    ·your testimony on August 29th is consistent with the       24   · · · · · Having been involved with the -- with the
 25   ··    ·picture that you are giving to the Public Safety           25   · · ·background on this issue, as you were, how would this
                                                             Page 210                                                                 Page 212
 ·1   ··    ·Commission --                                              ·1   ··    ·memo help Furman develop and apply what you called
 ·2   A.·   ·Yes.                                                       ·2   ··    ·"common sense" on an everyday basis?
 ·3   Q.·   ·-- later in September?                                     ·3   A.·   ·The intent of the letter was to get him to stop and
 ·4   A.·   ·Yes.                                                       ·4   ··    ·think about what he was doing before he did it and not
 ·5   ··    · · · I never saw this document, and I don't -- I wasn't    ·5   ··    ·be a robot and just randomly just do things.
 ·6   ··    ·able to review it.· I didn't see it, and I wrote this      ·6   ··    · · · I wanted to try and teach him to use some
 ·7   ··    ·out of what I remembered from my testimony and my          ·7   ··    ·discretion and -- you know, and I think I stated before,
 ·8   ··    ·opinion and my feelings about the allegations that were    ·8   ··    ·just because you can, doesn't always mean you should.
 ·9   ··    ·made against me.                                           ·9   ··    · · · I've counseled him repeatedly on use of discretion,
 10   Q.·   ·Do you believe that you were untruthful at any time?       10   ··    ·and he normally did not listen or he would kind of
 11   A.·   ·No.· It was never my intent to be untruthful about         11   ··    ·comply for a little while and then go off and do
 12   ··    ·anything.                                                  12   ··    ·whatever he wanted.
 13   Q.·   ·Okay.· Okay.· So, going back in time, then, to April of    13   Q.·   ·Okay.· And as Counsel pointed out, that memo states that
 14   ··    ·2016, okay, the Cecilia Wielichowski -- somebody help me   14   ··    ·the supervisor, whoever is, you know, on duty at the
 15   ··    ·out here -- incident.                                      15   ··    ·time, that supervisor is going to be deciding to make
 16   A.·   ·Yeah.· I'm familiar with it.                               16   ··    ·the tow.
 17   Q.·   ·Okay.· Okay.                                               17   A.·   ·Right.
 18   ··    · · · Okay.· So, here is Chad Hayse's write-up, and that    18   Q.·   ·How would talking through those steps with that
 19   ··    ·is Bates -- produced by the City, 1440.· And here is,      19   ··    ·supervisor and observing that supervisor's
 20   ··    ·then-Corporal Furman's explanation of his perspective      20   ··    ·decision-making process, how would that help Matt
 21   ··    ·about what happened, 1448, also produced by the City.      21   ··    ·Furman?
 22   ··    · · · Okay.· So, you got some questions about this from     22   A.·   ·If Matt Furman knew that he had to run it by the
 23   ··    ·opposing counsel.                                          23   ··    ·supervisor, it would cause him to stop and think for a
 24   ··    · · · As a long-serving police lieutenant and a command     24   ··    ·couple minutes, and then maybe decide whether or not he
 25   ··    ·officer, what did Matthew Furman do wrong on February      25   ··    ·should do what he was going to do to begin with.

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 ·1   ··    · · · So, if he was towing a vehicle that shouldn't have    ·1   Q.· ·Okay.· You were asked some questions about -- and you
 ·2   ··    ·been towed and he knew it, he probably wouldn't contact    ·2   · · ·gave some testimony that a party store -- a local party
 ·3   ··    ·the supervisor and ask to do it.                           ·3   · · ·store gave some food to the police department.
 ·4   Q.·   ·Because he wouldn't be able to justify it to the           ·4   · · · · · Was that party store a City contractor at the time
 ·5   ··    ·supervisor?· Is that what you mean?                        ·5   · · ·when they gave you the food -- the police department the
 ·6   A.·   ·Yes.                                                       ·6   · · ·food?
 ·7   Q.·   ·Okay.                                                      ·7   A.· ·No.
 ·8   A.·   ·So, it was an effort to try and get him to think while     ·8   Q.· ·Okay.
 ·9   ··    ·he was working about what is the right thing to do and     ·9   A.· ·No.· There's a party store called Tomboys in town.
 10   ··    ·what is the best thing to do.                              10   · · ·Occasionally, they will send pizza.
 11   Q.·   ·And you thought this teaming aspect would get him there?   11   · · · · · THE REPORTER:· I'm sorry.· "-- called --"
 12   A.·   ·This was an attempt to help him, not hurt him.             12   A.· ·Tomboys, T-o-m-b-o-y-s.
 13   Q.·   ·Okay.· Did Richard Ortiz have a role to play in the        13   · · · · · Occasionally they will send a couple pizzas or some
 14   ··    ·contract negotiation process?                              14   · · ·fried chicken over for the guys to eat.
 15   A.·   ·Rich Ortiz is the guy that controls the money.· He's the   15   BY MS. MARZOTTO TAYLOR:
 16   ··    ·city administrator.· And probably he would have some       16   Q.· ·Does Tomboys giving that kind of donation to the police
 17   ··    ·influence in recommending whether or not the City would    17   · · ·department have the same implications as a municipal
 18   ··    ·be able to afford certain provisions in a contract,        18   · · ·contractor whose financial fate is directly tied with
 19   ··    ·whether it be wages, benefits or whatnot.· He would have   19   · · ·the police department's productivity giving a gift?
 20   ··    ·that knowledge, and he would give his advice to the city   20   · · · · · Do those two circumstances have the same
 21   ··    ·council on whether or not whatever contract proposal was   21   · · ·implications, ethical implications, to you?
 22   ··    ·a good idea or not.                                        22   A.· ·You would think that if -- if that person giving you
 23   Q.·   ·So, to go back to your testimony, you said that Ortiz's    23   · · ·that had a direct financial benefit, that the situation
 24   ··    ·comment was something to the effect of, "If you keep the   24   · · ·would be a little bit different than just a store in the
 25   ··    ·towing and ticket numbers up, I can justify a raise to     25   · · ·neighborhood, you know, bringing us something over on a
                                                             Page 214                                                               Page 216
 ·1   · · ·council"?                                                    ·1   · · ·holiday or something like that.
 ·2   A.· ·He -- yeah.· He said, "I may be able to justify getting      ·2   · · · · · It's -- there's a lot more involved.
 ·3   · · ·you guys a raise."                                           ·3   Q.· ·So, there were different ethical considerations involved
 ·4   Q.· ·And so putting that comment together with what you just      ·4   · · ·in Goch giving a sizeable donation or food --
 ·5   · · ·told us that you understand about his role, you              ·5   · · · · · MS. BALIAN:· Objection.· There's been no testimony
 ·6   · · ·understood that if the towing and ticket revenues were       ·6   · · ·about a sizeable donation.
 ·7   · · ·up, he could more easily say to the City, "Yes, we can       ·7   BY MS. MARZOTTO TAYLOR:
 ·8   · · ·afford to pay the police officers more."                     ·8   Q.· ·-- to the police department than, you know, the party
 ·9   · · · · · Is that what you understood?                            ·9   · · ·store across the street giving you guys some fried
 10   A.· ·Yes.                                                         10   · · ·chicken?
 11   · · · · · And at that time, I don't believe I had a raise for     11   · · · · · Those are two very different circumstances with
 12   · · ·about ten years, and he would be the one to tell the         12   · · ·different ethical considerations involved?
 13   · · ·city council whether or not we could afford to give any      13   A.· ·Yeah.· I think the circumstances are a little bit
 14   · · ·raises out.                                                  14   · · ·different.
 15   Q.· ·And do you believe that the city council acted upon his      15   Q.· ·Let's see here.
 16   · · ·guidance --                                                  16   · · · · · Do you believe that your -- and I'll use your
 17   · · · · · MS. BALIAN:· Objection.                                 17   · · ·words -- "putting things in motion" to discipline
 18   BY MS. MARZOTTO TAYLOR:                                           18   · · ·Matthew Furman on various occasions in 2016 led to your
 19   Q.· ·-- as a subject-matter expert?                               19   · · ·trial board and ultimate suspension?
 20   · · · · · MS. BALIAN:· Objection.· Lack of foundation.            20   A.· ·It had a large influence upon it, yes.
 21   BY MS. MARZOTTO TAYLOR:                                           21   Q.· ·Okay.· And what was that influence?
 22   Q.· ·To your understanding?                                       22   · · · · · Why would your putting things in motion to
 23   A.· ·Well, from what I understand, he has direct knowledge of     23   · · ·discipline Furman lead to you being -- lead to the call
 24   · · ·the City's finances, so he would be able to give his         24   · · ·for your termination?
 25   · · ·opinion on whether or not we could afford it.                25   A.· ·Well, if Matt Furman is suspended, he's not out towing

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 ·1   ··    ·cars, and he's not making revenue for the City.· And if    ·1   · · ·motion relative to the discipline of Matt Furman.
 ·2   ··    ·I was one of the causes of that to happen, then I          ·2   · · · · · Why is it you believe that rather than what's
 ·3   ··    ·believe that's why the City came after me.                 ·3   · · ·listed in this document, considering there were three
 ·4   Q.·   ·Okay.· You were asked a question about why you didn't      ·4   · · ·officers that testified at the Hayse removal hearing
 ·5   ··    ·FOIA the transcript of your testimony in between           ·5   · · ·that they heard you and Chad Hayse testify about telling
 ·6   ··    ·receiving the notification of your trial board and the     ·6   · · ·officers not to tow vehicles, calling the mayor names,
 ·7   ··    ·trial board actually taking place.                         ·7   · · ·et cetera?
 ·8   ··    · · · Is your chain of command responsible under your       ·8   A.· ·If they said that, I believe they're being untruthful.
 ·9   ··    ·contract for giving you notice of specifically why         ·9   Q.· ·Okay.· That wasn't my question.
 10   ··    ·you're going to be disciplined?                            10   · · · · · MS. BALIAN:· Can you repeat my question please,
 11   ··    · · · It that an obligation that your chain of command      11   · · ·John?
 12   ··    ·has?                                                       12   · · · · · THE REPORTER:· Yes.· One second, please.
 13   A.·   ·That they would tell me why we were disciplined?           13   · · · · · · (Record repeated by the reporter.)
 14   Q.·   ·That they would tell you why you were about to be          14   A.· ·I believe we've already touched on that, and I stated
 15   ··    ·disciplined.                                               15   · · ·earlier that myself or Chad Hayse has never told anyone
 16   ··    · · · Is it your responsibility to figure out why you're    16   · · ·not to tow vehicles.· And that any discussions that we
 17   ··    ·being disciplined, or is that the City's responsibility    17   · · ·ever had were in private and not in front of other
 18   ··    ·to tell you?                                               18   · · ·people for them to hear.
 19   A.·   ·It would be the City's responsibility to tell me.· It's    19   BY MS. BALIAN:
 20   ··    ·not mine.                                                  20   Q.· ·I understand that's your testimony.
 21   ··    · · · MS. MARZOTTO TAYLOR:· Okay.· I think I have no more   21   · · · · · There were three officers that testified
 22   ··    ·questions.                                                 22   · · ·contradictory to that.
 23   ··    · · · MS. BALIAN:· Okay.· I have questions.                 23   · · · · · So, my question to you is, you're saying that's not
 24   ··    · · · · · · · · · ·*· ·*· ·*                                24   · · ·why I was suspended or why they're coming after me.· The
 25   ··    · · · · · · · · ·RE-EXAMINATION                             25   · · ·real reason is because of my suspension or putting
                                                             Page 218                                                               Page 220
 ·1   BY MS. BALIAN:                                                    ·1   · · ·things in motion of Matt Furman.
 ·2   Q.· ·Can you pull out Exhibit 1, please?                          ·2   · · · · · So, my question to you is, considering there was
 ·3   · · · · · I think it's in here.                                   ·3   · · ·contradictory testimony to what you testified to by
 ·4   · · · · · Can you turn to the page right after that?              ·4   · · ·three officers at the Hayse removal hearing, what
 ·5   · · · · · You just said it was the City's responsibility to       ·5   · · ·evidence do you have that the reason that they came
 ·6   · · ·inform you of why you're being disciplined; correct?         ·6   · · ·after you was because you put in motion this Matt Furman
 ·7   A.· ·Yes.                                                         ·7   · · ·discipline?
 ·8   Q.· ·Okay.· The top paragraph right here, the last line says:     ·8   A.· ·That's what I believe.
 ·9   · · · · · · · ·"The reason for discipline is including,           ·9   Q.· ·Okay.· Do you believe that if officers -- three officers
 10   · · · · · but not limited to, the following:"                     10   · · ·testified contradictory to you at the Chad Hayse removal
 11   · · · · · And it lists those; correct?                            11   · · ·hearing that you and Hayse told officers not to impound
 12   A.· ·Yes.· That's the document that they served me.               12   · · ·vehicles, that the City has to consider that and look
 13   Q.· ·Okay.· And it's signed by Jeff Bolton; correct?              13   · · ·into it?
 14   A.· ·Yes.                                                         14   · · · · · MS. MARZOTTO TAYLOR:· Speculation.· Form.· Lack of
 15   Q.· ·And he's the chairman of the Public Safety Commission?       15   · · ·foundation.
 16   A.· ·Yes.                                                         16   A.· ·I guess they could look at it, but I know it's not true.
 17   Q.· ·And it's dated September 7th of 2016; correct?               17   BY MS. BALIAN:
 18   A.· ·Yes.                                                         18   Q.· ·And if there was also testimony from officers that you
 19   Q.· ·And that's a week before your trial board; correct?          19   · · ·and Chad Hayse referred to the mayor in disparaging
 20   A.· ·Yes.                                                         20   · · ·terms, that the City needs to look into it?
 21   Q.· ·So, they informed you of the reasons for your                21   · · · · · MS. MARZOTTO TAYLOR:· Lack of foundation.
 22   · · ·discipline; correct?                                         22   BY MS. BALIAN:
 23   A.· ·Yes.                                                         23   Q.· ·You can answer.
 24   Q.· ·Okay.· And you testified just now that you believe the       24   A.· ·I guess they can look into it, but it's not true.
 25   · · ·reason for your discipline was because you put things in     25   Q.· ·Okay.· And if they determined that there was testimony

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                                                           Page 221                                                                 Page 223
 ·1   · · ·given by you at the removal hearing that is                ·1   ··    ·what's marked as Exhibit 1?
 ·2   · · ·contradictory to what you put in your response to this,    ·2   A.·   ·The letter for the deposition, a copy of the subpoena,
 ·3   · · ·that's certainly relevant and important to the City;       ·3   ··    ·and there's a check for mileage.
 ·4   · · ·correct?                                                   ·4   Q.·   ·Do you have any other documents relative to the
 ·5   · · · · · MS. MARZOTTO TAYLOR:· Speculation.· Lack of           ·5   ··    ·Complaint for your Suspension, Demotion and/or
 ·6   · · ·foundation.                                                ·6   ··    ·Termination that you have?
 ·7   BY MS. BALIAN:                                                  ·7   A.·   ·No.· This is everything that I brought with me.
 ·8   Q.· ·Whether it was intentional or not intentional?             ·8   ··    · · · They made copies of the items that were entered
 ·9   A.· ·I would think so.· They can look at it, but I know what    ·9   ··    ·into evidence.
 10   · · ·I know.· I know what the truth is.                         10   Q.·   ·Okay.· Have you talked to anyone else about your
 11   Q.· ·Who supervises the police officers?                        11   ··    ·testimony here today?
 12   A.· ·The -- which -- there's the chief, then there's the        12   A.·   ·I spoke with Chad Hayse on a break.
 13   · · ·lieutenants that oversee a shift, and there's a sergeant   13   Q.·   ·And what did you talk about?
 14   · · ·on each shift that works on the road with the road         14   A.·   ·We talked about the -- how everything was coming along.
 15   · · ·patrol officers.                                           15   Q.·   ·And what did you say?
 16   Q.· ·And who oversees the police department?                    16   A.·   ·It seemed like it was going okay.
 17   A.· ·Safety Commission.                                         17   Q.·   ·Did you review any documents prior to testifying today?
 18   Q.· ·Okay.· So, Rich Ortiz doesn't have anything to do with     18   A.·   ·I reviewed the documents that were entered into evidence
 19   · · ·any of that, does he?                                      19   ··    ·today.· I looked at them last night.
 20   · · · · · MS. MARZOTTO TAYLOR:· Form.                           20   Q.·   ·By "the documents that were entered into evidence," do
 21   A.· ·No.                                                        21   ··    ·you mean Exhibit 1?
 22   · · · · · MS. MARZOTTO TAYLOR:· Any of what?                    22   A.·   ·Yes.· I looked at those documents yesterday before I
 23   · · · · · MS. BALIAN:· Okay.                                    23   ··    ·went to bed.
 24   · · · · · MS. MARZOTTO TAYLOR:· Any of what?                    24   Q.·   ·Okay.· Didn't review anything else?
 25   · · · · · MS. BALIAN:· Supervising the police officers or       25   A.·   ·No.
                                                           Page 222                                                                 Page 224
 ·1   · · ·overseeing the police department.                          ·1   Q.·   ·Have you consistently been in contact with Chad Hayse
 ·2   · · · · · MS. MARZOTTO TAYLOR:· Okay.                           ·2   ··    ·since his removal?
 ·3   · · · · · MS. BALIAN:· Did you not understand my questions?     ·3   A.·   ·We talk or text occasionally.
 ·4   · · · · · MS. MARZOTTO TAYLOR:· I didn't.                       ·4   ··    · · · We met up for -- at Andiamo's in Dearborn before
 ·5   · · · · · MS. BALIAN:· Okay.· He seemed to, and that's really   ·5   ··    ·Christmas, and Chad and our wives and I -- Chad and our
 ·6   · · ·all I care about.                                          ·6   ··    ·wives went to Greenfield Village for the holiday nights.
 ·7   BY MS. BALIAN:                                                  ·7   ··    · · · That was the last time I had seen him.
 ·8   Q.· ·So, when you say that he probably could influence          ·8   Q.·   ·So, it's fair to say you're personal friends with Chad?
 ·9   · · ·regarding raises, so Rich Ortiz has a responsibility to    ·9   A.·   ·Yes, we are friends.
 10   · · ·the city council to report the finances of the City; is    10   Q.·   ·How long have you had a personal friendship with him?
 11   · · ·that fair?                                                 11   A.·   ·Twenty years.
 12   A.· ·Yes.                                                       12   Q.·   ·Is it also fair to say you did not want him to be
 13   Q.· ·Okay.· And you don't have any evidence whatsoever that     13   ··    ·terminated?
 14   · · ·he influenced city council regarding giving raises or no   14   A.·   ·No, I did not want him to be terminated.
 15   · · ·raises whatsoever of the police officers; correct?         15   Q.·   ·Were you under oath at the time of your trial board?
 16   A.· ·No.· I just remember the statement that he had made at     16   A.·   ·I do not believe so, no.
 17   · · ·the front desk.                                            17   Q.·   ·You weren't sworn in?
 18   Q.· ·What time did you arrive here to the office of Deb         18   A.·   ·No.
 19   · · ·Gordon this morning?                                       19   Q.·   ·Witnesses were called; correct?
 20   A.· ·About 9:30.                                                20   A.·   ·No.
 21   Q.· ·Who did you talk to once you got here?                     21   Q.·   ·John Allen wasn't called as a witness?
 22   A.· ·I spoke briefly with Deb Gordon and Liz.                   22   A.·   ·I'm sorry.· He came in briefly, but no one else
 23   Q.· ·What did you talk about?                                   23   ··    ·testified in that matter.
 24   A.· ·We talked about the documents that I brought.              24   Q.·   ·So, there was testimony taken?
 25   Q.· ·Did you bring any other documents with you other than      25   A.·   ·Yes.· John Allen came in for a couple minutes.

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03/28/2018                                                                                                                Pages 225–228
                                                             Page 225                                                                   Page 227
 ·1   Q.· ·And you don't believe they were sworn in?                    ·1   ··    ·public.
 ·2   A.· ·No, I don't believe so.                                      ·2   Q.·   ·So, they went into closed session and then went back on
 ·3   · · · · · I believe Mr. Coogan said that this was going to be     ·3   ··    ·the record?
 ·4   · · ·an informal hearing at the beginning.                        ·4   A.·   ·Yes.
 ·5   Q.· ·And did you provide testimony?                               ·5   ··    · · · MS. MARZOTTO TAYLOR:· Okay.· That's it.
 ·6   A.· ·I read this form, and I answered questions that were         ·6   ··    · · · MS. BALIAN:· No more.
 ·7   · · ·posed to me by the Safety Commission.                        ·7   ··    · · ·(Deposition concluded at 4:15 p.m.)
 ·8   Q.· ·Okay.· Did you record it?                                    ·8   ··    · · · · · · · · · ·*· ·*· ·*
 ·9   A.· ·No.                                                          ·9
 10   · · · · · MS. BALIAN:· I don't have any other questions.          10
 11   · · · · · MS. MARZOTTO TAYLOR:· Okay.· Just a couple              11
 12   · · ·follow-ups.                                                  12
 13   · · · · · · · · · · · ·*· ·*· ·*                                  13
 14   · · · · · · · · · · ·RE-EXAMINATION                               14
 15   BY MS. MARZOTTO TAYLOR:                                           15
 16   Q.· ·Turning your attention back to Exhibit 1 -- the pages        16
 17   · · ·have gotten out of order, so --                              17
 18   A.· ·I've got it right here.                                      18
 19   Q.· ·Can you flip it?                                             19
 20   A.· ·Okay.                                                        20
 21   Q.· ·So, page 2 of Exhibit 1.                                     21
 22   · · · · · On page 2 of Exhibit 1, you are accused in              22
 23   · · ·paragraph 2 of:                                              23
 24   · · · · · · · ·"Lying to Mayor and City Council at a              24
 25   · · · · · public hearing --"                                      25
                                                             Page 226                                                                   Page 228
                                                                        ·1   STATE OF MICHIGAN )
 ·1   ··    · · · Does this document tell you what that lie was?
                                                                        ·2   COUNTY OF OAKLAND )
 ·2   A.·   ·No.
                                                                        ·3   · · · · · · · CERTIFICATE OF NOTARY PUBLIC
 ·3   Q.·   ·Okay.· And there was some testimony just now about three
                                                                        ·4   · · ·I do hereby certify that the witness, whose
 ·4   ··    ·individuals who gave testimony at the August 29th and
                                                                        ·5   attached testimony was taken in the above matter, was
 ·5   ··    ·30th termination proceeding, and their -- the testimony
                                                                        ·6   first duly sworn to tell the truth; the testimony
 ·6   ··    ·of those three individuals was contradictory to your
                                                                        ·7   contained herein was reduced to writing in the presence
 ·7   ··    ·own.
                                                                        ·8   of the witness by means of stenography; afterwards
 ·8   ··    · · · Were you ever told why the Public Safety
                                                                        ·9   transcribed; and is a true and complete transcript of
 ·9   ··    ·Commission, Lawrence Coogan, various other city
                                                                        10   the testimony given.
 10   ··    ·officials found those three individuals more credible
                                                                        11   · · ·I further certify that I am not connected by blood
 11   ··    ·than yourself?
                                                                        12   or marriage with any of the parties; their attorneys or
 12   A.·   ·No.· I -- I don't know why they considered them more
                                                                        13   agents; and that I am not interested, directly or
 13   ··    ·credible.
                                                                        14   indirectly, in the matter of controversy.
 14   Q.·   ·Okay.· So, your trial board in September 2016, you said
                                                                        15   · · ·In witness whereof, I have hereunto set my hand
 15   ··    ·earlier that there was someone there from the City who
                                                                        16   this day at Highland, Michigan, County of Oakland, State
 16   ··    ·was taking notes.
                                                                        17   of Michigan on Friday, March 30, 2018.
 17   ··    · · · Was that trial board recorded by the Public Safety
                                                                        18
 18   ··    ·Commission?· Was there an audio recording made of that?
                                                                        19
 19   A.·   ·I don't believe, because after the hearing was over,
                                                                        20   · · · · · _______________________________________
 20   ··    ·then it was open to the public and they went back on the
                                                                        21   · · · · · John J. Slatin, RPR, CSR-5180
 21   ··    ·record.
                                                                        22   · · · · · Certified Shorthand Reporter
 22   Q.·   ·Okay.· So, to clarify, this was a closed session of a
                                                                        23   · · · · · Notary Public, Oakland County, Michigan
 23   ··    ·previously scheduled Public Safety Commission meeting?
                                                                        24   · · · · · My commission expires:· July 25, 2023
 24   A.·   ·No.· This was a special -- this was at the end of a
                                                                        25
 25   ··    ·Safety Commission meeting, and it was closed to the

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